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     1    YNAHEABBBAJCA0G7R    EAB   S19 XP_134T
     2    YNAHEABBBABCA14TF    EAB   S19 XP_134T
     3   YNAHEAABBAABA0YYM     EAA   S19 XP_141T
     4   YNAHEABBBABCA0Y0N     EAB   S19 XP_134T
     5   YNAHEAABBABCA05WH     EAA   S19 XP_141T
     6    YNAHEAABBABCA01KT    EAA   S19 XP_141T
     7    HKYQEAABBAAJG0G92    EAA   S19 XP_141T
     8    YNAHEAABBABCA0FL9    EAA   S19 XP_141T
     9   YNAHEAABBAABA08ND     EAA   S19 XP_141T
    10    YNAHEAABBABCA0J08    EAA   S19 XP_141T
    11   YNAHEAABBABCA0HZ1     EAA   S19 XP_141T
    12   YNAHEAABBABCA0GXL     EAA   S19 XP_141T
    13   YNAHEAABBABCA0HD0     EAA   S19 XP_141T
    14   YNAHEABBBABCA0RPH     EAB   S19 XP_134T
    15    YNAHEABBBABCA0RPJ    EAB   S19 XP_134T
    16   YNAHEAABBABCA0HZG     EAA   S19 XP_141T
    17   YNAHEAABBABCA0J1M     EAA   S19 XP_141T
    18   YNAHEAABBABCA045A     EAA   S19 XP_141T
    19   YNAHEAABBABCA0459     EAA   S19 XP_141T
    20     HKYQEAABCJAJC05SX   EAA   S19 XP_141T
    21     HKYQEAABCJAJC05T5   EAA   S19 XP_141T
    22   YNAHEAABBABCA0YBH     EAA   S19 XP_141T
    23     HKYQEAABCJAJC05T0   EAA   S19 XP_141T
    24   YNAHEAABBABCA0HXA     EAA   S19 XP_141T
    25   YNAHEAABBABCA0HXF     EAA   S19 XP_141T
    26   YNAHEAABBAABA0830     EAA   S19 XP_141T
    27   YNAHEAABBABCA0HXH     EAA   S19 XP_141T
    28   YNAHEAABBABCA1FWJ     EAA   S19 XP_141T
    29    YNAHEAABBABCA0J1C    EAA   S19 XP_141T
    30   YNAHEAABBABCA0EEV     EAA   S19 XP_141T
    31   YNAHEAABBABCA1FWG     EAA   S19 XP_141T
    32   YNAHEAABBABCA054V     EAA   S19 XP_141T
    33   YNAHEAABBABCA08SW     EAA   S19 XP_141T
    34    YNAHEAABBABCA1FVL    EAA   S19 XP_141T
    35    YNAHEAABBABCA1FX3    EAA   S19 XP_141T
    36   YNAHEAABBABCA1FWB     EAA   S19 XP_141T
    37   YNAHEAABBABCA0WSA     EAA   S19 XP_141T
    38     HKYQEAABCJAJC05RY   EAA   S19 XP_141T
    39    YNAHEABBBABCA0P1K    EAB   S19 XP_134T
    40   YNAHEAABBABCA0HCH     EAA   S19 XP_141T
    41    YNAHEAABBABCA0FLD    EAA   S19 XP_141T
    42   YNAHEAABBABCA0HD1     EAA   S19 XP_141T
    43    YNAHEAABBABCA0J0E    EAA   S19 XP_141T
    44   YNAHEAABBABCA0HCA     EAA   S19 XP_141T
    45    YNAHEAABBABCA0J0F    EAA   S19 XP_141T
    46    YNAHEAABBABCA041L    EAA   S19 XP_141T
    47   YNAHEAABBABCA05G1     EAA   S19 XP_141T
    48   YNAHEAABBABCA0V5F     EAA   S19 XP_141T
    49   YNAHEAABBABCA05GG     EAA   S19 XP_141T
    50   YNAHEAABBABCA054K     EAA   S19 XP_141T

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                                             60

    51   YNAHEAABBABCA05EN     EAA   S19 XP_141T
    52    YNAHEAABBAJAJ04LV    EAA   S19 XP_141T
    53     YNAHEAABBAJAJ03ES   EAA   S19 XP_141T
    54    YNAHEAABBAJAJ0245    EAA   S19 XP_141T
    55    YNAHEAABBAJAJ03BV    EAA   S19 XP_141T
    56   YNAHEAABBABCA0KGX     EAA   S19 XP_141T
    57    YNAHEAABBAJAJ04HV    EAA   S19 XP_141T
    58     HKYQEAABCJAJC008P   EAA   S19 XP_141T
    59     HKYQEAABCJAJC00P4   EAA   S19 XP_141T
    60    HKYQEAABCJAJC00H3    EAA   S19 XP_141T
    61     HKYQEAABCJAJC00P9   EAA   S19 XP_141T
    62     HKYQEAABCJAJC00BT   EAA   S19 XP_141T
    63    HKYQEAABCJAJC00G5    EAA   S19 XP_141T
    64    HKYQEAABCJAJC035M    EAA   S19 XP_141T
    65    HKYQEAABCJAJC00G6    EAA   S19 XP_141T
    66    HKYQEAABCJAJC00NK    EAA   S19 XP_141T
    67    HKYQEAABCJAJC00BN    EAA   S19 XP_141T
    68    YNAHEABBBABCA0P21    EAB   S19 XP_134T
    69   YNAHEAABBABCA0VA3     EAA   S19 XP_141T
    70   YNAHEAABBABCA0HM1     EAA   S19 XP_141T
    71    YNAHEAABBABCA0E32    EAA   S19 XP_141T
    72   YNAHEAABBABCA0HW0     EAA   S19 XP_141T
    73   YNAHEAABBABCA0SVK     EAA   S19 XP_141T
    74   YNAHEAABBABCA06C3     EAA   S19 XP_141T
    75   YNAHEAABBABCA0PRG     EAA   S19 XP_141T
    76   YNAHEAABBABCA0D4F     EAA   S19 XP_141T
    77    YNAHEAABBABCA0RYZ    EAA   S19 XP_141T
    78   YNAHEAABBABCA0D53     EAA   S19 XP_141T
    79   YNAHEAABBABCA0D4C     EAA   S19 XP_141T
    80    YNAHEAABBABCA0PSY    EAA   S19 XP_141T
    81   YNAHEAABBABCA0HCB     EAA   S19 XP_141T
    82   YNAHEAABBABCA0HZP     EAA   S19 XP_141T
    83    YNAHEAABBABCA0FLB    EAA   S19 XP_141T
    84   YNAHEAABBABCA0FM3     EAA   S19 XP_141T
    85   YNAHEAABBABCA0HCG     EAA   S19 XP_141T
    86    YNAHEAABBABCA0HCJ    EAA   S19 XP_141T
    87   YNAHEAABBABCA0YAR     EAA   S19 XP_141T
    88   YNAHEAABBABCA0YBG     EAA   S19 XP_141T
    89    YNAHEAABBABCA0YBJ    EAA   S19 XP_141T
    90    YNAHEAABBABCA0YK5    EAA   S19 XP_141T
    91   YNAHEAABBABCA0YBK     EAA   S19 XP_141T
    92    YNAHEABBBAJCA15FC    EAB   S19 XP_134T
    93    YNAHEAABBAJAJ04KD    EAA   S19 XP_141T
    94    YNAHEAABBAJAJ0242    EAA   S19 XP_141T
    95    YNAHEAABBAJAJ04HF    EAA   S19 XP_141T
    96    YNAHEAABBAJAJ03EC    EAA   S19 XP_141T
    97    YNAHEAABBAJAJ04HC    EAA   S19 XP_141T
    98    YNAHEAABBAJAJ020Z    EAA   S19 XP_141T
    99    YNAHEAABBAJAJ0215    EAA   S19 XP_141T
   100    YNAHEAABBAJAJ03E0    EAA   S19 XP_141T



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                                            61

   101    YNAHEAABBAJAJ04HA   EAA   S19 XP_141T
   102    YNAHEAABBAJAJ03E9   EAA   S19 XP_141T
   103    YNAHEAABBAJAJ04KA   EAA   S19 XP_141T
   104    YNAHEAABBAJAJ03C0   EAA   S19 XP_141T
   105    HKYQEAABCJAJC00EP   EAA   S19 XP_141T
   106    HKYQEAABCJAJC00P6   EAA   S19 XP_141T
   107    HKYQEAABCJAJC00GB   EAA   S19 XP_141T
   108    HKYQEAABCJAJC00G2   EAA   S19 XP_141T
   109    HKYQEAABCJAJC00GH   EAA   S19 XP_141T
   110    HKYQEAABCJAJC00NY   EAA   S19 XP_141T
   111    HKYQEAABBAACJ01Y9   EAA   S19 XP_141T
   112    HKYQEAABBAACJ01LZ   EAA   S19 XP_141T
   113   HKYQEAABBAACJ01PK    EAA   S19 XP_141T
   114    HKYQEAABBAACJ0208   EAA   S19 XP_141T
   115   HKYQEAABBAAJG0EX8    EAA   S19 XP_141T
   116   HKYQEAABBAAJG0G95    EAA   S19 XP_141T
   117   HKYQEAABBAACJ01R9    EAA   S19 XP_141T
   118   HKYQEAABBAACJ01TW    EAA   S19 XP_141T
   119   HKYQEAABBAAJG0EWV    EAA   S19 XP_141T
   120   HKYQEAABBAAJG0GCK    EAA   S19 XP_141T
   121   HKYQEAABBAAJG0GC8    EAA   S19 XP_141T
   122   HKYQEAABBAAJG0GFW    EAA   S19 XP_141T
   123   HKYQEAABBAACJ02AR    EAA   S19 XP_141T
   124   HKYQEAABBAAJG0EXM    EAA   S19 XP_141T
   125   HKYQEAABBAAJG0HAE    EAA   S19 XP_141T
   126   YNAHEAABBABCA0KA3    EAA   S19 XP_141T
   127   HKYQEAABBAAJG0GZR    EAA   S19 XP_141T
   128   HKYQEAABBAAJG0G9C    EAA   S19 XP_141T
   129    HKYQEAABBAACJ01ZK   EAA   S19 XP_141T
   130   HKYQEAABBAAJG0EYT    EAA   S19 XP_141T
   131   HKYQEAABBAAJG0GZY    EAA   S19 XP_141T
   132   HKYQEAABBAAJG0H38    EAA   S19 XP_141T
   133   HKYQEAABBAAJG0GFB    EAA   S19 XP_141T
   134   YNAHEABBBABCA0PA5    EAB   S19 XP_134T
   135    HKYQEAABBAACJ0281   EAA   S19 XP_141T
   136   HKYQEAABBAACJ02BP    EAA   S19 XP_141T
   137   HKYQEAABBAACJ02AW    EAA   S19 XP_141T
   138   HKYQEAABBAACJ02BE    EAA   S19 XP_141T
   139   HKYQEAABBAACJ026A    EAA   S19 XP_141T
   140   HKYQEAABBAAJG0G93    EAA   S19 XP_141T
   141   HKYQEAABBAAJG0H5W    EAA   S19 XP_141T
   142   HKYQEAABBAAJG0GK8    EAA   S19 XP_141T
   143   HKYQEAABBAAJG0H27    EAA   S19 XP_141T
   144   HKYQEAABBAAJG0G8W    EAA   S19 XP_141T
   145   HKYQEAABBAAJG0H6L    EAA   S19 XP_141T
   146   HKYQEAABBAAJG0H5Z    EAA   S19 XP_141T
   147   YNAHEAABBAABA07V1    EAA   S19 XP_141T
   148   YNAHEAABBABCA0HYV    EAA   S19 XP_141T
   149   YNAHEAABBAABA08NA    EAA   S19 XP_141T
   150   YNAHEAABBAABA08J9    EAA   S19 XP_141T



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                                            62

   151   YNAHEAABBAABA08LT    EAA   S19 XP_141T
   152   YNAHEAABBAABA08M1    EAA   S19 XP_141T
   153   YNAHEAABBABCA053Y    EAA   S19 XP_141T
   154   YNAHEAABBABCA0546    EAA   S19 XP_141T
   155   YNAHEAABBAABA07T7    EAA   S19 XP_141T
   156    YNAHEAABBAJAJ04DC   EAA   S19 XP_141T
   157   YNAHEAABBAABA08LY    EAA   S19 XP_141T
   158   YNAHEAABBAABA073F    EAA   S19 XP_141T
   159    YNAHEAABBABCA0SJ9   EAA   S19 XP_141T
   160   YNAHEAABBABCA0SKY    EAA   S19 XP_141T
   161   YNAHEAABBABCA0SME    EAA   S19 XP_141T
   162    YNAHEAABBABCA0SL6   EAA   S19 XP_141T
   163    YNAHEAABBABCA0SJE   EAA   S19 XP_141T
   164   YNAHEAABBAABA08M6    EAA   S19 XP_141T
   165    HKYQEAABBAACJ02B5   EAA   S19 XP_141T
   166   YNAHEAABBAABA07V0    EAA   S19 XP_141T
   167    HKYQEAABBAAJG0GFE   EAA   S19 XP_141T
   168   YNAHEAABBAABA08M0    EAA   S19 XP_141T
   169   YNAHEAABBABCA02W3    EAA   S19 XP_141T
   170   HKYQEAABBAAJG0GM0    EAA   S19 XP_141T
   171   HKYQEAABBAAJG0G9A    EAA   S19 XP_141T
   172   HKYQEAABBAAJG0GGZ    EAA   S19 XP_141T
   173   HKYQEAABBAAJG0G9X    EAA   S19 XP_141T
   174    HKYQEAABBAAJG0H3L   EAA   S19 XP_141T
   175    HKYQEAABBAAJG0G9F   EAA   S19 XP_141T
   176    YNAHEAABBAJAJ03Y1   EAA   S19 XP_141T
   177    YNAHEAABBAJAJ03Y2   EAA   S19 XP_141T
   178    YNAHEAABBABCA0J19   EAA   S19 XP_141T
   179    YNAHEAABBAJAJ0406   EAA   S19 XP_141T
   180    YNAHEAABBAJAJ03ZV   EAA   S19 XP_141T
   181    YNAHEAABBAJAJ03ZY   EAA   S19 XP_141T
   182    YNAHEAABBAJAJ03Z1   EAA   S19 XP_141T
   183   YNAHEAABBAABA0KPM    EAA   S19 XP_141T
   184    YNAHEAABBAJAJ040A   EAA   S19 XP_141T
   185    YNAHEAABBAJAJ03ZN   EAA   S19 XP_141T
   186    YNAHEAABBAJAJ03YN   EAA   S19 XP_141T
   187    YNAHEAABBAJAJ03ZW   EAA   S19 XP_141T
   188   YNAHEAABBABCA0KDZ    EAA   S19 XP_141T
   189   YNAHEAABBABCA0K9W    EAA   S19 XP_141T
   190    YNAHEAABBAJAJ03Z0   EAA   S19 XP_141T
   191    YNAHEAABBAJAJ03YM   EAA   S19 XP_141T
   192   YNAHEAABBABCA0LC1    EAA   S19 XP_141T
   193    YNAHEAABBAJAJ03XN   EAA   S19 XP_141T
   194    HKYQEAABCJAJC00ZN   EAA   S19 XP_141T
   195    HKYQEAABCJAJC00SX   EAA   S19 XP_141T
   196    HKYQEAABCJAJC00K9   EAA   S19 XP_141T
   197    HKYQEAABCJAJC00W0   EAA   S19 XP_141T
   198    HKYQEAABCJAJC00YW   EAA   S19 XP_141T
   199    HKYQEAABCJAJC00BE   EAA   S19 XP_141T
   200   YNAHEAABBAABA08NC    EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2     Filed: 07/08/24   Page: 5 of 69 PageID #:
                                             63

   201     HKYQEAABCJAJC005Z   EAA   S19 XP_141T
   202    HKYQEAABCJAJC005D    EAA   S19 XP_141T
   203   HKYQEAABCJAJC00WN     EAA   S19 XP_141T
   204    HKYQEAABCJAJC00VW    EAA   S19 XP_141T
   205    HKYQEAABCJAJC00PD    EAA   S19 XP_141T
   206   YNAHEAABBABCA0Z2G     EAA   S19 XP_141T
   207    YNAHEAABBABCA0Z71    EAA   S19 XP_141T
   208   YNAHEAABBABCA0XRD     EAA   S19 XP_141T
   209    YNAHEAABBABCA0XRJ    EAA   S19 XP_141T
   210   YNAHEAABBABCA0PE8     EAA   S19 XP_141T
   211   YNAHEAABBABCA0NPV     EAA   S19 XP_141T
   212     HKYQEAABCJAJC02JH   EAA   S19 XP_141T
   213    HKYQEAABCJAJC02K0    EAA   S19 XP_141T
   214    HKYQEAABCJAJC03AS    EAA   S19 XP_141T
   215    HKYQEAABCJAJC00KW    EAA   S19 XP_141T
   216     HKYQEAABCJAJC033F   EAA   S19 XP_141T
   217    HKYQEAABCJAJC0339    EAA   S19 XP_141T
   218    HKYQEAABCJAJC039R    EAA   S19 XP_141T
   219    HKYQEAABCJAJC03A3    EAA   S19 XP_141T
   220    HKYQEAABCJAJC03AP    EAA   S19 XP_141T
   221    HKYQEAABCJAJC0330    EAA   S19 XP_141T
   222    HKYQEAABCJAJC00HT    EAA   S19 XP_141T
   223    HKYQEAABCJAJC03A2    EAA   S19 XP_141T
   224    YNAHEAABBAJBH029X    EAA   S19 XP_141T
   225    YNAHEAABBAJCA001V    EAA   S19 XP_141T
   226   YNAHEAABBABCA0HYW     EAA   S19 XP_141T
   227    YNAHEAABBAABA08LX    EAA   S19 XP_141T
   228    YNAHEAABBAJCA003Y    EAA   S19 XP_141T
   229    YNAHEAABBAJCA002D    EAA   S19 XP_141T
   230    YNAHEAABBAJBH081A    EAA   S19 XP_141T
   231   YNAHEAABBABCA0HZT     EAA   S19 XP_141T
   232   YNAHEAABBABCA065N     EAA   S19 XP_141T
   233    YNAHEAABBAJAJ00T4    EAA   S19 XP_141T
   234    YNAHEAABBAJCA003J    EAA   S19 XP_141T
   235    HKYQEAABBAACJ02B8    EAA   S19 XP_141T
   236    HKYQEAABCJAJC01BH    EAA   S19 XP_141T
   237    HKYQEAABCJAJC00MZ    EAA   S19 XP_141T
   238    HKYQEAABCJAJC01C1    EAA   S19 XP_141T
   239    HKYQEAABCJAJC011V    EAA   S19 XP_141T
   240    HKYQEAABCJAJC01C0    EAA   S19 XP_141T
   241     HKYQEAABCJAJC01BS   EAA   S19 XP_141T
   242    HKYQEAABCJAJC00BD    EAA   S19 XP_141T
   243    YNAHEAABBABCA0RKL    EAA   S19 XP_141T
   244    HKYQEAABCJAJC00WK    EAA   S19 XP_141T
   245    HKYQEAABCJAJC00KK    EAA   S19 XP_141T
   246    HKYQEAABCJAJC00C2    EAA   S19 XP_141T
   247     HKYQEAABCJAJC003F   EAA   S19 XP_141T
   248    YNAHEAABBABCA09ZL    EAA   S19 XP_141T
   249   YNAHEAABBABCA0A42     EAA   S19 XP_141T
   250   YNAHEAABBABCA09ZN     EAA   S19 XP_141T



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                                             64

   251    YNAHEAABBABCA0A04    EAA   S19 XP_141T
   252    YNAHEAABBABCA09ZK    EAA   S19 XP_141T
   253    YNAHEAABBABCA09ZH    EAA   S19 XP_141T
   254    YNAHEAABBABCA09ZR    EAA   S19 XP_141T
   255    YNAHEAABBABCA0A01    EAA   S19 XP_141T
   256    YNAHEAABBABCA0A00    EAA   S19 XP_141T
   257    YNAHEAABBABCA0A0A    EAA   S19 XP_141T
   258    YNAHEAABBABCA0A0J    EAA   S19 XP_141T
   259    YNAHEAABBABCA09ZS    EAA   S19 XP_141T
   260   YNAHEAABBABCA0RWM     EAA   S19 XP_141T
   261   YNAHEAABBABCA0RRM     EAA   S19 XP_141T
   262    YNAHEAABBABCA0D51    EAA   S19 XP_141T
   263    YNAHEAABBABCA0D3X    EAA   S19 XP_141T
   264    YNAHEAABBABCA0D6E    EAA   S19 XP_141T
   265    YNAHEAABBABCA09X2    EAA   S19 XP_141T
   266    YNAHEAABBABCA09VE    EAA   S19 XP_141T
   267    YNAHEAABBABCA0AF1    EAA   S19 XP_141T
   268    YNAHEAABBABCA0A05    EAA   S19 XP_141T
   269    YNAHEAABBABCA09ZM    EAA   S19 XP_141T
   270    YNAHEAABBABCA09ZZ    EAA   S19 XP_141T
   271     YNAHEAABBABCA0PJY   EAA   S19 XP_141T
   272    YNAHEAABBABCA0HYB    EAA   S19 XP_141T
   273    YNAHEAABBABCA0HXB    EAA   S19 XP_141T
   274     YNAHEAABBABCA0PJT   EAA   S19 XP_141T
   275    YNAHEAABBABCA1E63    EAA   S19 XP_141T
   276    YNAHEAABBABCA0HYH    EAA   S19 XP_141T
   277    YNAHEAABBABCA1E5B    EAA   S19 XP_141T
   278    YNAHEAABBABCA1E5E    EAA   S19 XP_141T
   279    YNAHEAABBABCA1E5G    EAA   S19 XP_141T
   280    YNAHEAABBABCA1E6L    EAA   S19 XP_141T
   281    YNAHEAABBABCA1E4R    EAA   S19 XP_141T
   282   YNAHEAABBABCA0HWW     EAA   S19 XP_141T
   283    YNAHEAABBABCA0FG5    EAA   S19 XP_141T
   284     YNAHEAABBABCA0FFJ   EAA   S19 XP_141T
   285    YNAHEAABBABCA0EHR    EAA   S19 XP_141T
   286    YNAHEAABBABCA0EAL    EAA   S19 XP_141T
   287     HKYQEAABCJAJC05R4   EAA   S19 XP_141T
   288    YNAHEAABBABCA0E4A    EAA   S19 XP_141T
   289    YNAHEAABBABCA0RS9    EAA   S19 XP_141T
   290    YNAHEAABBABCA0RS8    EAA   S19 XP_141T
   291    YNAHEAABBABCA0RVH    EAA   S19 XP_141T
   292    YNAHEAABBABCA0NF7    EAA   S19 XP_141T
   293    YNAHEAABBABCA0RCS    EAA   S19 XP_141T
   294    YNAHEAABBABCA0SWZ    EAA   S19 XP_141T
   295    YNAHEAABBABCA1E4X    EAA   S19 XP_141T
   296    YNAHEAABBABCA1E6N    EAA   S19 XP_141T
   297    YNAHEAABBABCA1E4Z    EAA   S19 XP_141T
   298    YNAHEAABBABCA1E61    EAA   S19 XP_141T
   299    YNAHEAABBABCA1E62    EAA   S19 XP_141T
   300    YNAHEAABBABCA1E4G    EAA   S19 XP_141T



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                                             65

   301   YNAHEAABBABCA1E51     EAA   S19 XP_141T
   302   YNAHEAABBABCA1E4P     EAA   S19 XP_141T
   303   YNAHEAABBABCA1E4H     EAA   S19 XP_141T
   304   YNAHEAABBABCA1E4K     EAA   S19 XP_141T
   305   YNAHEAABBABCA1E5N     EAA   S19 XP_141T
   306    YNAHEAABBABCA0FJ0    EAA   S19 XP_141T
   307   YNAHEAABBABCA0E4E     EAA   S19 XP_141T
   308   YNAHEAABBABCA0E4D     EAA   S19 XP_141T
   309   YNAHEAABBABCA0EJW     EAA   S19 XP_141T
   310   YNAHEAABBABCA0EAE     EAA   S19 XP_141T
   311   YNAHEAABBABCA0EHM     EAA   S19 XP_141T
   312   YNAHEAABBABCA0EHL     EAA   S19 XP_141T
   313   YNAHEAABBABCA0FG2     EAA   S19 XP_141T
   314    YNAHEAABBABCA0EAJ    EAA   S19 XP_141T
   315    YNAHEAABBABCA0FFC    EAA   S19 XP_141T
   316    YNAHEAABBABCA0FJ3    EAA   S19 XP_141T
   317   YNAHEAABBABCA0EHP     EAA   S19 XP_141T
   318    HKYQEAABCJAJC05XK    EAA   S19 XP_141T
   319    HKYQEAABCJAJC06D6    EAA   S19 XP_141T
   320   YNAHEAABBABCA02S1     EAA   S19 XP_141T
   321     HKYQEAABCJAJC05LC   EAA   S19 XP_141T
   322    HKYQEAABBAACJ02AX    EAA   S19 XP_141T
   323    HKYQEAABCJAJC05LW    EAA   S19 XP_141T
   324    HKYQEAABCJAJC04BF    EAA   S19 XP_141T
   325     HKYQEAABCJAJC00FX   EAA   S19 XP_141T
   326    HKYQEAABCJAJC02K2    EAA   S19 XP_141T
   327    HKYQEAABCJAJC03AN    EAA   S19 XP_141T
   328    HKYQEAABCJAJC04NP    EAA   S19 XP_141T
   329     HKYQEAABCJAJC04RL   EAA   S19 XP_141T
   330    HKYQEAABCJAJC04FG    EAA   S19 XP_141T
   331     HKYQEAABCJAJC02JC   EAA   S19 XP_141T
   332    HKYQEAABCJAJC05HV    EAA   S19 XP_141T
   333    HKYQEAABCJAJC04PM    EAA   S19 XP_141T
   334    HKYQEAABCJAJC04P9    EAA   S19 XP_141T
   335    HKYQEAABCJAJC04MT    EAA   S19 XP_141T
   336   HKYQEAABCJAJC04MM     EAA   S19 XP_141T
   337    HKYQEAABCJAJC04RN    EAA   S19 XP_141T
   338    HKYQEAABCJAJC03AD    EAA   S19 XP_141T
   339    HKYQEAABCJAJC02K4    EAA   S19 XP_141T
   340    HKYQEAABCJAJC05K0    EAA   S19 XP_141T
   341    HKYQEAABCJAJC04SB    EAA   S19 XP_141T
   342    HKYQEAABCJAJC06CX    EAA   S19 XP_141T
   343    HKYQEAABCJAJC026E    EAA   S19 XP_141T
   344    HKYQEAABCJAJC06CN    EAA   S19 XP_141T
   345    HKYQEAABCJAJC06D1    EAA   S19 XP_141T
   346    HKYQEAABCJAJC06D4    EAA   S19 XP_141T
   347    HKYQEAABCJAJC04EH    EAA   S19 XP_141T
   348   HKYQEAABCJAJC06DW     EAA   S19 XP_141T
   349    HKYQEAABCJAJC06HC    EAA   S19 XP_141T
   350    HKYQEAABCJAJC06HD    EAA   S19 XP_141T



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   351    HKYQEAABCJAJC0493    EAA   S19 XP_141T
   352    HKYQEAABCJAJC04FH    EAA   S19 XP_141T
   353   YNAHEAABBABCA0N20     EAA   S19 XP_141T
   354   YNAHEAABBABCA0N1D     EAA   S19 XP_141T
   355   YNAHEAABBABCA0YKW     EAA   S19 XP_141T
   356   YNAHEAABBABCA0YKK     EAA   S19 XP_141T
   357     HKYQEAABCJAJC049J   EAA   S19 XP_141T
   358   YNAHEAABBABCA0N3R     EAA   S19 XP_141T
   359    HKYQEAABCJAJC04DH    EAA   S19 XP_141T
   360   YNAHEAABBABCA0HL5     EAA   S19 XP_141T
   361   YNAHEAABBABCA0N88     EAA   S19 XP_141T
   362   YNAHEAABBABCA0N1G     EAA   S19 XP_141T
   363    YNAHEAABBABCA0J1T    EAA   S19 XP_141T
   364   YNAHEAABBABCA0HYT     EAA   S19 XP_141T
   365   YNAHEAABBABCA0N0S     EAA   S19 XP_141T
   366   YNAHEAABBAABA07YE     EAA   S19 XP_141T
   367    YNAHEAABBAJAJ04EA    EAA   S19 XP_141T
   368    HKYQEAABCJAJC06KY    EAA   S19 XP_141T
   369    YNAHEAABBABCA0YJS    EAA   S19 XP_141T
   370   YNAHEAABBABCA0N89     EAA   S19 XP_141T
   371   YNAHEAABBABCA0N3P     EAA   S19 XP_141T
   372   YNAHEAABBABCA0LWF     EAA   S19 XP_141T
   373   YNAHEAABBAABA085P     EAA   S19 XP_141T
   374   YNAHEAABBABCA0N1A     EAA   S19 XP_141T
   375   YNAHEAABBABCA0N36     EAA   S19 XP_141T
   376   YNAHEAABBABCA0N37     EAA   S19 XP_141T
   377    YNAHEAABBABCA0YLJ    EAA   S19 XP_141T
   378   YNAHEAABBABCA0YLM     EAA   S19 XP_141T
   379    YNAHEAABBABCA0YLL    EAA   S19 XP_141T
   380   YNAHEAABBABCA0YKH     EAA   S19 XP_141T
   381    YNAHEAABBAJAJ04CA    EAA   S19 XP_141T
   382    YNAHEAABBAJAJ04CL    EAA   S19 XP_141T
   383    YNAHEAABBAJAJ03DX    EAA   S19 XP_141T
   384    YNAHEAABBAJAJ04D4    EAA   S19 XP_141T
   385    YNAHEAABBAJAJ04EP    EAA   S19 XP_141T
   386    YNAHEAABBAJAJ04DD    EAA   S19 XP_141T
   387   YNAHEAABBABCA0ETF     EAA   S19 XP_141T
   388   YNAHEAABBABCA0ETH     EAA   S19 XP_141T
   389   YNAHEAABBABCA0ET6     EAA   S19 XP_141T
   390   YNAHEAABBABCA0F8X     EAA   S19 XP_141T
   391   YNAHEAABBABCA0F9A     EAA   S19 XP_141T
   392   YNAHEAABBABCA0FAD     EAA   S19 XP_141T
   393    YNAHEAABBABCA0T1J    EAA   S19 XP_141T
   394   YNAHEAABBABCA0T1E     EAA   S19 XP_141T
   395   YNAHEAABBABCA0T1L     EAA   S19 XP_141T
   396   YNAHEAABBABCA0T1D     EAA   S19 XP_141T
   397   YNAHEAABBABCA0T1F     EAA   S19 XP_141T
   398   YNAHEAABBABCA0T1C     EAA   S19 XP_141T
   399   YNAHEAABBABCA0YLC     EAA   S19 XP_141T
   400   YNAHEAABBABCA0YV9     EAA   S19 XP_141T



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   401    YNAHEAABBAJAJ04D9    EAA   S19 XP_141T
   402    YNAHEAABBAJAJ04DF    EAA   S19 XP_141T
   403     YNAHEAABBAJAJ04E9   EAA   S19 XP_141T
   404     YNAHEAABBAJAJ04BE   EAA   S19 XP_141T
   405    YNAHEAABBAJAJ04CD    EAA   S19 XP_141T
   406     YNAHEAABBAJAJ04BF   EAA   S19 XP_141T
   407    YNAHEAABBAJAJ04DE    EAA   S19 XP_141T
   408    YNAHEAABBAJAJ04DW    EAA   S19 XP_141T
   409     YNAHEAABBAJAJ04BJ   EAA   S19 XP_141T
   410     YNAHEAABBAJAJ04EX   EAA   S19 XP_141T
   411    YNAHEAABBABCA0FA8    EAA   S19 XP_141T
   412    YNAHEAABBABCA0F9C    EAA   S19 XP_141T
   413    YNAHEAABBABCA0F9B    EAA   S19 XP_141T
   414    YNAHEAABBABCA0ETV    EAA   S19 XP_141T
   415    YNAHEAABBABCA0J0B    EAA   S19 XP_141T
   416    YNAHEAABBABCA0ETE    EAA   S19 XP_141T
   417    YNAHEAABBABCA0F8K    EAA   S19 XP_141T
   418    YNAHEAABBABCA0F8S    EAA   S19 XP_141T
   419    YNAHEAABBABCA0F8P    EAA   S19 XP_141T
   420    YNAHEAABBABCA0F8Y    EAA   S19 XP_141T
   421   YNAHEAABBABCA0F8W     EAA   S19 XP_141T
   422    HKYQEAABBAACJ02C9    EAA   S19 XP_141T
   423    HKYQEAABBAACJ0217    EAA   S19 XP_141T
   424    HKYQEAABBAACJ021F    EAA   S19 XP_141T
   425    HKYQEAABBAACJ021W    EAA   S19 XP_141T
   426    HKYQEAABBAACJ02C8    EAA   S19 XP_141T
   427    HKYQEAABBAACJ0216    EAA   S19 XP_141T
   428    HKYQEAABBAACJ02CB    EAA   S19 XP_141T
   429    HKYQEAABBAACJ021Y    EAA   S19 XP_141T
   430    HKYQEAABBAACJ0211    EAA   S19 XP_141T
   431    HKYQEAABBAACJ02CD    EAA   S19 XP_141T
   432    HKYQEAABBAACJ01V6    EAA   S19 XP_141T
   433    HKYQEAABBAACJ0219    EAA   S19 XP_141T
   434     YNAHEAABBAJAJ04ES   EAA   S19 XP_141T
   435     HKYQEAABCJAJC04DY   EAA   S19 XP_141T
   436     YNAHEAABBAJAJ04K1   EAA   S19 XP_141T
   437   YNAHEAABBABCA0NGW     EAA   S19 XP_141T
   438     YNAHEAABBJGJF0ZG1   EAA   S19 XP_141T
   439   YNAHEAABBABCA0MGA     EAA   S19 XP_141T
   440   YNAHEAABBAABA0ZWN     EAA   S19 XP_141T
   441    HKYQEAABBAACJ02B4    EAA   S19 XP_141T
   442   YNAHEAABBAABA0ZWV     EAA   S19 XP_141T
   443    YNAHEAABBABCA0NF0    EAA   S19 XP_141T
   444    YNAHEAABBAABA0ZXJ    EAA   S19 XP_141T
   445   YNAHEAABBAABA0ZDA     EAA   S19 XP_141T
   446    HKYQEAABBAABE06ZF    EAA   S19 XP_141T
   447    HKYQEAABBAABE06RE    EAA   S19 XP_141T
   448    HKYQEAABBAABE06Y5    EAA   S19 XP_141T
   449    HKYQEAABBAABE06YS    EAA   S19 XP_141T
   450    HKYQEAABBAABE06RF    EAA   S19 XP_141T



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    451    HKYQEAABBAABE06YE     EAA   S19 XP_141T
    452    YNAHEAABBAJBH05BX     EAA   S19 XP_141T
    453    YNAHEAABBAJBH03CF     EAA   S19 XP_141T
    454    YNAHEAABBAJAJ0DVJ     EAA   S19 XP_141T
    455   YNAHEAABBAJBH03DN      EAA   S19 XP_141T
    456    YNAHEAABBAJBH03CC     EAA   S19 XP_141T
    457    YNAHEAABBAJBH03CL     EAA   S19 XP_141T
    458    YNAHEAABBAJAJ04KH     EAA   S19 XP_141T
    459    YNAHEAABBAJAJ04HL     EAA   S19 XP_141T
    460    YNAHEAABBAJAJ04GP     EAA   S19 XP_141T
    461    YNAHEAABBAJBH034Y     EAA   S19 XP_141T
    462    YNAHEAABBAJBH035P     EAA   S19 XP_141T
    463   YNAHEAABBAJBH05NH      EAA   S19 XP_141T
    464   YNAHEAABBABCA0YPH      EAA   S19 XP_141T
    465    HKYQEAABCJAJC04C4     EAA   S19 XP_141T
    466   YNAHEAABBABCA0YWD      EAA   S19 XP_141T
    467   YNAHEAABBABCA0YVA      EAA   S19 XP_141T
    468   YNAHEAABBABCA0YWC      EAA   S19 XP_141T
    469   YNAHEABBBABCA0RR2      EAB   S19 XP_134T
    470    YNAHEAABBAJAJ04FR     EAA   S19 XP_141T
    471     YNAHEAABBAJAJ04JE    EAA   S19 XP_141T
    472    YNAHEAABBAJAJ04K6     EAA   S19 XP_141T
    473    YNAHEAABBAJAJ04HJ     EAA   S19 XP_141T
    474    YNAHEAABBAJAJ04G9     EAA   S19 XP_141T
    475    YNAHEAABBAJAJ04F0     EAA   S19 XP_141T
    476    YNAHEAABBAJBH0364     EAA   S19 XP_141T
    477    YNAHEAABBAJBH036J     EAA   S19 XP_141T
    478    YNAHEAABBAJBH03CG     EAA   S19 XP_141T
    479    YNAHEAABBAJBH03C9     EAA   S19 XP_141T
    480    YNAHEAABBAJAJ0DSY     EAA   S19 XP_141T
    481    YNAHEAABBAJAJ0DSX     EAA   S19 XP_141T
    482    YNAHEAABBAJAJ0DSD     EAA   S19 XP_141T
    483    YNAHEAABBAJBH03GY     EAA   S19 XP_141T
    484    YNAHEAABBAJAJ0DSK     EAA   S19 XP_141T
    485    YNAHEAABBAJAJ0DVE     EAA   S19 XP_141T
    486    YNAHEAABBAJAJ0DTC     EAA   S19 XP_141T
    487    YNAHEAABBAJAJ0DSE     EAA   S19 XP_141T
    488    HKYQEAABCJAJC05MZ     EAA   S19 XP_141T
    489   HKYQEAABBAAJG0GGG      EAA   S19 XP_141T
    490    HKYQEAABBAAJG0G28     EAA   S19 XP_141T
    491    HKYQEAABBAAJG0GF1     EAA   S19 XP_141T
    492    HKYQEAABBAAJG0G5S     EAA   S19 XP_141T
    493    HKYQEAABBAAJG0G43     EAA   S19 XP_141T
    494   HKYQEAABCJAJC05MW      EAA   S19 XP_141T
    495    HKYQEAABCJAJC067W     EAA   S19 XP_141T
    496    HKYQEAABCJAJC05ND     EAA   S19 XP_141T
    497    HKYQEAABCJAJC04D8     EAA   S19 XP_141T
    498     HKYQEAABCJAJC04FK    EAA   S19 XP_141T
    499    HKYQEAABCJAJC05PK     EAA   S19 XP_141T
    500    YNAHEAABBAJAJ04GS     EAA   S19 XP_141T



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    501    YNAHEAABBAJAJ04HD     EAA   S19 XP_141T
    502    YNAHEAABBAJAJ04HG     EAA   S19 XP_141T
    503    YNAHEAABBAJAJ04GL     EAA   S19 XP_141T
    504    HKYQEAABCJAJC05NA     EAA   S19 XP_141T
    505    HKYQEAABCJAJC04DF     EAA   S19 XP_141T
    506   YNAHEAABBABCA0PE3      EAA   S19 XP_141T
    507    YNAHEAABBAJAJ04GR     EAA   S19 XP_141T
    508    YNAHEAABBAJAJ0DTB     EAA   S19 XP_141T
    509    YNAHEAABBAJAJ0DVG     EAA   S19 XP_141T
    510    YNAHEAABBAJAJ0DSL     EAA   S19 XP_141T
    511    HKYQEAABCJAJC04BB     EAA   S19 XP_141T
    512    HKYQEAABCJAJC05LN     EAA   S19 XP_141T
    513    HKYQEAABCJAJC05LM     EAA   S19 XP_141T
    514    HKYQEAABCJAJC04FB     EAA   S19 XP_141T
    515    HKYQEAABCJAJC04CE     EAA   S19 XP_141T
    516    HKYQEAABCJAJC04DN     EAA   S19 XP_141T
    517    HKYQEAABCJAJC04DJ     EAA   S19 XP_141T
    518    HKYQEAABCJAJC04A5     EAA   S19 XP_141T
    519    HKYQEAABCJAJC04DK     EAA   S19 XP_141T
    520    HKYQEAABBAACJ020Y     EAA   S19 XP_141T
    521    HKYQEAABCJAJC0490     EAA   S19 XP_141T
    522    HKYQEAABCJAJC05PP     EAA   S19 XP_141T
    523     HKYQEAABCJAJC04FL    EAA   S19 XP_141T
    524   HKYQEAABBAABE072X      EAA   S19 XP_141T
    525   HKYQEAABBAABE072W      EAA   S19 XP_141T
    526   HKYQEAABBAABE06WN      EAA   S19 XP_141T
    527    HKYQEAABBAABE072Y     EAA   S19 XP_141T
    528   HKYQEAABBAABE06W9      EAA   S19 XP_141T
    529    HKYQEAABBAABE06Z8     EAA   S19 XP_141T
    530    HKYQEAABBAABE06ZP     EAA   S19 XP_141T
    531    HKYQEAABBAABE072Z     EAA   S19 XP_141T
    532   HKYQEAABBAABE06WC      EAA   S19 XP_141T
    533    YNAHEAABBAJBH02LV     EAA   S19 XP_141T
    534   YNAHEAABBABCA05F0      EAA   S19 XP_141T
    535   YNAHEAABBABCA05G3      EAA   S19 XP_141T
    536   HKYQEAABBAABE06RB      EAA   S19 XP_141T
    537   HKYQEAABBAABE06WA      EAA   S19 XP_141T
    538   HKYQEAABBAABE073A      EAA   S19 XP_141T
    539    YNAHEAABBAJAJ04KE     EAA   S19 XP_141T
    540     YNAHEAABBAJAJ04JS    EAA   S19 XP_141T
    541    YNAHEAABBAJAJ04KG     EAA   S19 XP_141T
    542    HKYQEAABCJAJC04D4     EAA   S19 XP_141T
    543    HKYQEAABCJAJC05PM     EAA   S19 XP_141T
    544   YNAHEABBBABCA0PAW      EAB   S19 XP_134T
    545   HKYQEAABBAABE06WH      EAA   S19 XP_141T
    546   HKYQEAABBAABE06RM      EAA   S19 XP_141T
    547    HKYQEAABBAABE06RL     EAA   S19 XP_141T
    548   HKYQEAABBAABE073C      EAA   S19 XP_141T
    549   HKYQEAABBAABE06V3      EAA   S19 XP_141T
    550   HKYQEAABBAABE0731      EAA   S19 XP_141T



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    551    YNAHEAABBAJBH02E0     EAA   S19 XP_141T
    552    YNAHEAABBAJBH02G8     EAA   S19 XP_141T
    553    YNAHEAABBAJBH02E1     EAA   S19 XP_141T
    554    YNAHEAABBAJBH02FY     EAA   S19 XP_141T
    555    YNAHEAABBAJBH02G5     EAA   S19 XP_141T
    556    YNAHEAABBABCA05FK     EAA   S19 XP_141T
    557     HKYQEAABCJAJC0659    EAA   S19 XP_141T
    558   YNAHEAABBABCA0439      EAA   S19 XP_141T
    559    YNAHEAABBABCA05FS     EAA   S19 XP_141T
    560   YNAHEAABBABCA0YLG      EAA   S19 XP_141T
    561   YNAHEAABBAABA0KK8      EAA   S19 XP_141T
    562   YNAHEAABBAJAJ04DM      EAA   S19 XP_141T
    563    YNAHEAABBAJAJ04AZ     EAA   S19 XP_141T
    564    YNAHEAABBAJAJ049F     EAA   S19 XP_141T
    565    YNAHEAABBAJAJ04GV     EAA   S19 XP_141T
    566    YNAHEAABBABCA0YLA     EAA   S19 XP_141T
    567    YNAHEAABBAJAJ04E6     EAA   S19 XP_141T
    568    YNAHEAABBAJAJ04FA     EAA   S19 XP_141T
    569    YNAHEAABBAJAJ04E5     EAA   S19 XP_141T
    570    HKYQEAABCJAJC04DP     EAA   S19 XP_141T
    571    YNAHEAABBAJAJ04FD     EAA   S19 XP_141T
    572   YNAHEAABBABCA0YKB      EAA   S19 XP_141T
    573    YNAHEAABBAJAJ04F9     EAA   S19 XP_141T
    574    YNAHEAABBAJAJ04GX     EAA   S19 XP_141T
    575    YNAHEAABBAJAJ04DP     EAA   S19 XP_141T
    576    YNAHEAABBAJAJ04DK     EAA   S19 XP_141T
    577    YNAHEAABBAJAJ04H1     EAA   S19 XP_141T
    578    YNAHEAABBABCA0YL7     EAA   S19 XP_141T
    579     YNAHEAABBAJAJ04DJ    EAA   S19 XP_141T
    580    YNAHEAABBAJAJ048S     EAA   S19 XP_141T
    581    YNAHEAABBAJAJ04DS     EAA   S19 XP_141T
    582     HKYQEAABCJAJC05P8    EAA   S19 XP_141T
    583    HKYQEAABCJAJC05NE     EAA   S19 XP_141T
    584    YNAHEABBBABCA0P2F     EAB   S19 XP_134T
    585     HKYQEAABCJAJC067X    EAA   S19 XP_141T
    586    HKYQEAABCJAJC067N     EAA   S19 XP_141T
    587     HKYQEAABCJAJC049P    EAA   S19 XP_141T
    588     HKYQEAABCJAJC04CY    EAA   S19 XP_141T
    589    HKYQEAABCJAJC05R8     EAA   S19 XP_141T
    590   YNAHEABBBABCA0RPK      EAB   S19 XP_134T
    591    HKYQEAABCJAJC04B5     EAA   S19 XP_141T
    592   HKYQEAABBAACJ01W0      EAA   S19 XP_141T
    593    HKYQEAABCJAJC04D5     EAA   S19 XP_141T
    594     HKYQEAABCJAJC04CJ    EAA   S19 XP_141T
    595    HKYQEAABCJAJC04A3     EAA   S19 XP_141T
    596    YNAHEAABBAABA09FY     EAA   S19 XP_141T
    597   YNAHEAABBABCA0MXG      EAA   S19 XP_141T
    598    YNAHEAABBAABA08JR     EAA   S19 XP_141T
    599   YNAHEAABBAABA09R4      EAA   S19 XP_141T
    600   YNAHEAABBAABA09GL      EAA   S19 XP_141T



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    601     HKYQEAABCJAJC04F6    EAA   S19 XP_141T
    602    YNAHEAABBABCA0J0Y     EAA   S19 XP_141T
    603   YNAHEAABBABCA0MH1      EAA   S19 XP_141T
    604    YNAHEAABBAABA09R2     EAA   S19 XP_141T
    605     HKYQEAABCJAJC04EK    EAA   S19 XP_141T
    606     HKYQEAABCJAJC04AX    EAA   S19 XP_141T
    607     HKYQEAABCJAJC04DL    EAA   S19 XP_141T
    608   YNAHEAABBABCA0P6N      EAA   S19 XP_141T
    609   YNAHEAABBABCA0MHF      EAA   S19 XP_141T
    610   YNAHEAABBABCA0MKG      EAA   S19 XP_141T
    611   YNAHEAABBABCA0N09      EAA   S19 XP_141T
    612    HKYQEAABCJAJC04BG     EAA   S19 XP_141T
    613     HKYQEAABCJAJC04AB    EAA   S19 XP_141T
    614    YNAHEAABBABCA0PCS     EAA   S19 XP_141T
    615   YNAHEAABBABCA0NXX      EAA   S19 XP_141T
    616   YNAHEAABBABCA0MHD      EAA   S19 XP_141T
    617   YNAHEAABBABCA0MH0      EAA   S19 XP_141T
    618    YNAHEAABBABCA0075     EAA   S19 XP_141T
    619     HKYQEAABCJAJC04AK    EAA   S19 XP_141T
    620   YNAHEAABBABCA0MHE      EAA   S19 XP_141T
    621    YNAHEAABBABCA0PB3     EAA   S19 XP_141T
    622   YNAHEAABBABCA0PD5      EAA   S19 XP_141T
    623   YNAHEAABBABCA0PDA      EAA   S19 XP_141T
    624     HKYQEAABCJAJC04DS    EAA   S19 XP_141T
    625     HKYQEAABCJAJC04FJ    EAA   S19 XP_141T
    626   YNAHEAABBABCA0MHL      EAA   S19 XP_141T
    627   YNAHEAABBABCA0MHG      EAA   S19 XP_141T
    628   YNAHEAABBABCA0MJ0      EAA   S19 XP_141T
    629    YNAHEAABBABCA0PBE     EAA   S19 XP_141T
    630    HKYQEAABCJAJC04DW     EAA   S19 XP_141T
    631    YNAHEABBBABCA0P1Y     EAB   S19 XP_134T
    632    HKYQEAABCJAJC05M5     EAA   S19 XP_141T
    633     HKYQEAABCJAJC05Z8    EAA   S19 XP_141T
    634    HKYQEAABCJAJC05WG     EAA   S19 XP_141T
    635     HKYQEAABCJAJC05TL    EAA   S19 XP_141T
    636     HKYQEAABCJAJC05KY    EAA   S19 XP_141T
    637     HKYQEAABCJAJC055B    EAA   S19 XP_141T
    638   YNAHEAABBABCA0HW2      EAA   S19 XP_141T
    639   YNAHEAABBABCA0RHC      EAA   S19 XP_141T
    640    YNAHEAABBABCA0HXJ     EAA   S19 XP_141T
    641    YNAHEAABBABCA0SA9     EAA   S19 XP_141T
    642   YNAHEAABBABCA0PJW      EAA   S19 XP_141T
    643   YNAHEAABBABCA0HXG      EAA   S19 XP_141T
    644    YNAHEAABBABCA1F9C     EAA   S19 XP_141T
    645    YNAHEAABBABCA1FA7     EAA   S19 XP_141T
    646   YNAHEAABBABCA1FAA      EAA   S19 XP_141T
    647   YNAHEAABBABCA1FMJ      EAA   S19 XP_141T
    648    YNAHEABBBABCA0P9T     EAB   S19 XP_134T
    649    YNAHEAABBABCA1FA4     EAA   S19 XP_141T
    650    YNAHEAABBABCA1F9F     EAA   S19 XP_141T



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    651    YNAHEAABBABCA1FJJ     EAA   S19 XP_141T
    652   YNAHEAABBABCA1FA8      EAA   S19 XP_141T
    653   YNAHEAABBABCA1F9G      EAA   S19 XP_141T
    654   YNAHEAABBABCA1F9H      EAA   S19 XP_141T
    655   YNAHEAABBABCA0AW3      EAA   S19 XP_141T
    656   YNAHEAABBABCA1F9A      EAA   S19 XP_141T
    657   YNAHEAABBABCA051N      EAA   S19 XP_141T
    658   YNAHEAABBABCA1F7B      EAA   S19 XP_141T
    659    YNAHEAABBABCA1FK0     EAA   S19 XP_141T
    660   YNAHEAABBABCA1519      EAA   S19 XP_141T
    661   YNAHEAABBABCA151P      EAA   S19 XP_141T
    662   YNAHEAABBABCA1534      EAA   S19 XP_141T
    663   YNAHEAABBABCA1364      EAA   S19 XP_141T
    664   YNAHEAABBABCA1515      EAA   S19 XP_141T
    665    YNAHEAABBAJAJ0CX6     EAA   S19 XP_141T
    666     HKYQEAABCJAJC05J5    EAA   S19 XP_141T
    667    HKYQEAABCJAJC049V     EAA   S19 XP_141T
    668    HKYQEAABCJAJC061P     EAA   S19 XP_141T
    669   YNAHEAABBABCA00CE      EAA   S19 XP_141T
    670   YNAHEAABBAABA09FG      EAA   S19 XP_141T
    671   YNAHEAABBABCA1FA6      EAA   S19 XP_141T
    672    YNAHEAABBAJAJ0CYW     EAA   S19 XP_141T
    673    YNAHEAABBABCA0LSP     EAA   S19 XP_141T
    674    YNAHEAABBAJAJ0CX3     EAA   S19 XP_141T
    675    YNAHEAABBAJAJ0EKS     EAA   S19 XP_141T
    676     YNAHEAABBAJAJ0EJY    EAA   S19 XP_141T
    677    YNAHEAABBAJAJ0CVF     EAA   S19 XP_141T
    678    YNAHEAABBAJAJ0CTG     EAA   S19 XP_141T
    679    YNAHEAABBAJAJ0CX5     EAA   S19 XP_141T
    680     YNAHEAABBAJAJ0CVJ    EAA   S19 XP_141T
    681    YNAHEAABBAJAJ0CX1     EAA   S19 XP_141T
    682    YNAHEAABBAJAJ0CXB     EAA   S19 XP_141T
    683     HKYQEAABCJAJC03SJ    EAA   S19 XP_141T
    684    HKYQEAABCJAJC05TC     EAA   S19 XP_141T
    685    HKYQEAABCJAJC027H     EAA   S19 XP_141T
    686     HKYQEAABCJAJC05J3    EAA   S19 XP_141T
    687    HKYQEAABCJAJC05VD     EAA   S19 XP_141T
    688     HKYQEAABCJAJC05VL    EAA   S19 XP_141T
    689     HKYQEAABCJAJC01ZL    EAA   S19 XP_141T
    690    HKYQEAABCJAJC0216     EAA   S19 XP_141T
    691    HKYQEAABBAACJ020C     EAA   S19 XP_141T
    692    HKYQEAABCJAJC01ZD     EAA   S19 XP_141T
    693   YNAHEAABBABCA02MV      EAA   S19 XP_141T
    694     HKYQEAABCJAJC020T    EAA   S19 XP_141T
    695    HKYQEAABCJAJC0227     EAA   S19 XP_141T
    696   YNAHEAABBAJAJ0CWC      EAA   S19 XP_141T
    697   YNAHEABBBABCA0P2H      EAB   S19 XP_134T
    698    YNAHEAABBAJAJ0ELM     EAA   S19 XP_141T
    699    YNAHEAABBAJAJ0CXX     EAA   S19 XP_141T
    700    YNAHEAABBAJAJ0CTA     EAA   S19 XP_141T



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    701   YNAHEABBBABCA0P1W      EAB   S19 XP_134T
    702    HKYQEAABCJAJC0226     EAA   S19 XP_141T
    703    HKYQEAABCJAJC0228     EAA   S19 XP_141T
    704     HKYQEAABCJAJC01LR    EAA   S19 XP_141T
    705    HKYQEAABCJAJC021N     EAA   S19 XP_141T
    706     HKYQEAABCJAJC01T5    EAA   S19 XP_141T
    707     HKYQEAABCJAJC022F    EAA   S19 XP_141T
    708     HKYQEAABCJAJC01Z9    EAA   S19 XP_141T
    709     HKYQEAABCJAJC01ZY    EAA   S19 XP_141T
    710   YNAHEAABBABCA1FAY      EAA   S19 XP_141T
    711    YNAHEAABBABCA0YZT     EAA   S19 XP_141T
    712    YNAHEAABBABCA0YXL     EAA   S19 XP_141T
    713   YNAHEABBBABCA0PAH      EAB   S19 XP_134T
    714   YNAHEAABBABCA0XBV      EAA   S19 XP_141T
    715   YNAHEAABBABCA0YXR      EAA   S19 XP_141T
    716   YNAHEAABBABCA0BT3      EAA   S19 XP_141T
    717    HKYQEAABBAACJ01FZ     EAA   S19 XP_141T
    718   YNAHEAABBABCA0BT1      EAA   S19 XP_141T
    719    YNAHEAABBABCA0BSZ     EAA   S19 XP_141T
    720   YNAHEAABBABCA0C6H      EAA   S19 XP_141T
    721    YNAHEAABBABCA0YZE     EAA   S19 XP_141T
    722   YNAHEAABBAABA0PK8      EAA   S19 XP_141T
    723   YNAHEAABBABCA0BT9      EAA   S19 XP_141T
    724   YNAHEAABBABCA0BRW      EAA   S19 XP_141T
    725   YNAHEAABBAABA0YRD      EAA   S19 XP_141T
    726   YNAHEAABBABCA0B1W      EAA   S19 XP_141T
    727   YNAHEAABBABCA0BPP      EAA   S19 XP_141T
    728   YNAHEAABBABCA0BT4      EAA   S19 XP_141T
    729    YNAHEAABBAABA0JEE     EAA   S19 XP_141T
    730   YNAHEAABBAABA0Z9T      EAA   S19 XP_141T
    731   YNAHEAABBAABA0Z7X      EAA   S19 XP_141T
    732    YNAHEAABBABCA0BST     EAA   S19 XP_141T
    733    YNAHEAABBABCA0BTL     EAA   S19 XP_141T
    734   YNAHEAABBABCA0SRR      EAA   S19 XP_141T
    735   YNAHEAABBABCA0RXM      EAA   S19 XP_141T
    736    YNAHEAABBABCA0SRE     EAA   S19 XP_141T
    737   YNAHEAABBABCA0S5N      EAA   S19 XP_141T
    738    YNAHEAABBABCA0J3E     EAA   S19 XP_141T
    739   YNAHEAABBABCA0H9F      EAA   S19 XP_141T
    740   YNAHEAABBABCA0GZD      EAA   S19 XP_141T
    741   YNAHEAABBABCA0D4D      EAA   S19 XP_141T
    742   YNAHEAABBABCA0PNZ      EAA   S19 XP_141T
    743   YNAHEAABBABCA0H6S      EAA   S19 XP_141T
    744    YNAHEAABBABCA0J1N     EAA   S19 XP_141T
    745    NGSBEAABCJDAA070V     EAA   S19 XP_141T
    746   YNAHEAABBABCA0GYR      EAA   S19 XP_141T
    747    YNAHEAABBABCA0JGL     EAA   S19 XP_141T
    748   YNAHEAABBABCA0GEE      EAA   S19 XP_141T
    749   YNAHEAABBABCA0H08      EAA   S19 XP_141T
    750    YNAHEAABBABCA0J26     EAA   S19 XP_141T



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    751   YNAHEAABBABCA0H6N      EAA   S19 XP_141T
    752    YNAHEAABBABCA0J38     EAA   S19 XP_141T
    753   YNAHEAABBABCA0HAH      EAA   S19 XP_141T
    754   YNAHEAABBABCA0H72      EAA   S19 XP_141T
    755    HKYQEAABBAACJ02B0     EAA   S19 XP_141T
    756   YNAHEAABBABCA0GEJ      EAA   S19 XP_141T
    757    HKYQEAABCJAJC048V     EAA   S19 XP_141T
    758   YNAHEAABBABCA0J4V      EAA   S19 XP_141T
    759   HKYQEAABBAABE06VP      EAA   S19 XP_141T
    760   YNAHEAABBABCA07NS      EAA   S19 XP_141T
    761   HKYQEAABBAABE06WX      EAA   S19 XP_141T
    762   HKYQEAABBAABE06X4      EAA   S19 XP_141T
    763   HKYQEAABBAACJ00LM      EAA   S19 XP_141T
    764    HKYQEAABBAACJ01CV     EAA   S19 XP_141T
    765   YNAHEABBBABCA0P2K      EAB   S19 XP_134T
    766    HKYQEAABBAABE06VJ     EAA   S19 XP_141T
    767   HKYQEAABBAACJ00M5      EAA   S19 XP_141T
    768   HKYQEAABBAACJ01D0      EAA   S19 XP_141T
    769   HKYQEAABBAACJ01CM      EAA   S19 XP_141T
    770   HKYQEAABBAACJ01G0      EAA   S19 XP_141T
    771    HKYQEAABBAACJ01CL     EAA   S19 XP_141T
    772   HKYQEAABBAACJ00M7      EAA   S19 XP_141T
    773    HKYQEAABBAACJ00JN     EAA   S19 XP_141T
    774    HKYQEAABBAACJ01CP     EAA   S19 XP_141T
    775   HKYQEAABBAACJ01D2      EAA   S19 XP_141T
    776   HKYQEAABBAACJ00HW      EAA   S19 XP_141T
    777   HKYQEAABBAACJ00MP      EAA   S19 XP_141T
    778    HKYQEAABBAACJ00LA     EAA   S19 XP_141T
    779    HKYQEAABBAACJ01CT     EAA   S19 XP_141T
    780    HKYQEAABBAACJ00JZ     EAA   S19 XP_141T
    781   HKYQEAABBAACJ01D5      EAA   S19 XP_141T
    782    HKYQEAABBAACJ01FX     EAA   S19 XP_141T
    783    HKYQEAABCJAJC05PG     EAA   S19 XP_141T
    784    HKYQEAABCJAJC05YN     EAA   S19 XP_141T
    785   YNAHEAABBAABA11V8      EAA   S19 XP_141T
    786    HKYQEAABCJAJC05MF     EAA   S19 XP_141T
    787    HKYQEAABCJAJC05MK     EAA   S19 XP_141T
    788    HKYQEAABCJAJC0612     EAA   S19 XP_141T
    789    HKYQEAABCJAJC0615     EAA   S19 XP_141T
    790    HKYQEAABCJAJC061H     EAA   S19 XP_141T
    791   YNAHEABBBABCA0PA3      EAB   S19 XP_134T
    792    HKYQEAABBAACJ01GY     EAA   S19 XP_141T
    793    HKYQEAABCJAJC06AD     EAA   S19 XP_141T
    794     HKYQEAABCJAJC06JC    EAA   S19 XP_141T
    795    HKYQEAABCJAJC060B     EAA   S19 XP_141T
    796    HKYQEAABCJAJC0609     EAA   S19 XP_141T
    797   YNAHEAABBABCA0SBM      EAA   S19 XP_141T
    798    HKYQEAABCJAJC01B0     EAA   S19 XP_141T
    799    HKYQEAABCJAJC01Y0     EAA   S19 XP_141T
    800    HKYQEAABCJAJC01V2     EAA   S19 XP_141T



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                                               75

    801    HKYQEAABCJAJC00BX     EAA   S19 XP_141T
    802    HKYQEAABCJAJC0208     EAA   S19 XP_141T
    803    HKYQEAABCJAJC00SH     EAA   S19 XP_141T
    804    HKYQEAABCJAJC0180     EAA   S19 XP_141T
    805     HKYQEAABCJAJC01Y2    EAA   S19 XP_141T
    806    HKYQEAABCJAJC01TD     EAA   S19 XP_141T
    807     HKYQEAABCJAJC01FC    EAA   S19 XP_141T
    808    HKYQEAABCJAJC00D6     EAA   S19 XP_141T
    809     HKYQEAABCJAJC01ZX    EAA   S19 XP_141T
    810   YNAHEAABBABCA0PV4      EAA   S19 XP_141T
    811    YNAHEAABBABCA0PLT     EAA   S19 XP_141T
    812    HKYQEAABCJAJC05R7     EAA   S19 XP_141T
    813    HKYQEAABCJAJC05R6     EAA   S19 XP_141T
    814    HKYQEAABCJAJC06B8     EAA   S19 XP_141T
    815    HKYQEAABCJAJC05YB     EAA   S19 XP_141T
    816   YNAHEAABBABCA1FHW      EAA   S19 XP_141T
    817    HKYQEAABCJAJC00VN     EAA   S19 XP_141T
    818    HKYQEAABCJAJC06A8     EAA   S19 XP_141T
    819    HKYQEAABCJAJC05MN     EAA   S19 XP_141T
    820    HKYQEAABCJAJC0602     EAA   S19 XP_141T
    821     HKYQEAABCJAJC019Y    EAA   S19 XP_141T
    822    HKYQEAABCJAJC01ED     EAA   S19 XP_141T
    823   YNAHEAABBABCA0PV2      EAA   S19 XP_141T
    824    HKYQEAABCJAJC06AE     EAA   S19 XP_141T
    825   YNAHEAABBABCA00AH      EAA   S19 XP_141T
    826     HKYQEAABCJAJC01Z6    EAA   S19 XP_141T
    827     HKYQEAABCJAJC01F2    EAA   S19 XP_141T
    828    HKYQEAABCJAJC01B4     EAA   S19 XP_141T
    829    YNAHEAABBABCA1F71     EAA   S19 XP_141T
    830     HKYQEAABCJAJC01AJ    EAA   S19 XP_141T
    831     HKYQEAABCJAJC019L    EAA   S19 XP_141T
    832     HKYQEAABCJAJC01XY    EAA   S19 XP_141T
    833     HKYQEAABCJAJC01T8    EAA   S19 XP_141T
    834    YNAHEAABBABCA1F78     EAA   S19 XP_141T
    835   YNAHEAABBABCA0YXM      EAA   S19 XP_141T
    836   YNAHEAABBABCA1F9M      EAA   S19 XP_141T
    837   YNAHEAABBABCA1E2M      EAA   S19 XP_141T
    838   YNAHEAABBABCA1FPW      EAA   S19 XP_141T
    839   YNAHEAABBABCA018C      EAA   S19 XP_141T
    840    YNAHEAABBABCA1FT6     EAA   S19 XP_141T
    841    YNAHEAABBABCA1F98     EAA   S19 XP_141T
    842   YNAHEAABBABCA0PV1      EAA   S19 XP_141T
    843   YNAHEAABBABCA0PMH      EAA   S19 XP_141T
    844   YNAHEAABBABCA0PP7      EAA   S19 XP_141T
    845    YNAHEAABBABCA1FT8     EAA   S19 XP_141T
    846   YNAHEAABBABCA1FHR      EAA   S19 XP_141T
    847   YNAHEAABBABCA1FMX      EAA   S19 XP_141T
    848   YNAHEAABBABCA1FAG      EAA   S19 XP_141T
    849    HKYQEAABCJAJC048R     EAA   S19 XP_141T
    850    HKYQEAABBAACJ01P1     EAA   S19 XP_141T



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    851    HKYQEAABBAACJ01R0    EAA   S19 XP_141T
    852   HKYQEAABBAACJ01RH     EAA   S19 XP_141T
    853    HKYQEAABCJAJC0248    EAA   S19 XP_141T
    854   HKYQEAABCJAJC04WM     EAA   S19 XP_141T
    855   HKYQEAABCJAJC04BW     EAA   S19 XP_141T
    856    HKYQEAABCJAJC04RV    EAA   S19 XP_141T
    857   HKYQEAABBAABE06WZ     EAA   S19 XP_141T
    858    HKYQEAABBAACJ01P6    EAA   S19 XP_141T
    859   YNAHEAABBABCA1F7M     EAA   S19 XP_141T
    860   YNAHEAABBABCA1F8T     EAA   S19 XP_141T
    861   HKYQEABBCJCAH024N     EAB   S19 XP_134T
    862    HKYQEAABBAACJ01R2    EAA   S19 XP_141T
    863   HKYQEAABBAABE0700     EAA   S19 XP_141T
    864   HKYQEAABBAABE06YL     EAA   S19 XP_141T
    865    HKYQEAABBAACJ01P5    EAA   S19 XP_141T
    866   HKYQEAABCJAJC030W     EAA   S19 XP_141T
    867    HKYQEAABBAACJ01KE    EAA   S19 XP_141T
    868    HKYQEAABCJAJC032A    EAA   S19 XP_141T
    869   HKYQEAABBAABE070X     EAA   S19 XP_141T
    870    HKYQEAABCJAJC032S    EAA   S19 XP_141T
    871    HKYQEAABBAACJ01PR    EAA   S19 XP_141T
    872   HKYQEAABBAABE06ZS     EAA   S19 XP_141T
    873    HKYQEAABCJAJC031D    EAA   S19 XP_141T
    874    HKYQEAABCJAJC032F    EAA   S19 XP_141T
    875    HKYQEAABCJAJC0317    EAA   S19 XP_141T
    876    HKYQEAABCJAJC032N    EAA   S19 XP_141T
    877    HKYQEAABCJAJC030V    EAA   S19 XP_141T
    878    HKYQEAABCJAJC00GV    EAA   S19 XP_141T
    879    HKYQEAABCJAJC0333    EAA   S19 XP_141T
    880    HKYQEAABCJAJC031F    EAA   S19 XP_141T
    881   HKYQEAABBAACJ01M4     EAA   S19 XP_141T
    882    HKYQEAABCJAJC0133    EAA   S19 XP_141T
    883    HKYQEAABBAACJ01RF    EAA   S19 XP_141T
    884    HKYQEAABBAACJ01P3    EAA   S19 XP_141T
    885    HKYQEAABBAACJ01PT    EAA   S19 XP_141T
    886   HKYQEAABBAACJ01PM     EAA   S19 XP_141T
    887    HKYQEAABBAACJ01PJ    EAA   S19 XP_141T
    888    HKYQEAABCJAJC031B    EAA   S19 XP_141T
    889    HKYQEAABCJAJC026Z    EAA   S19 XP_141T
    890    HKYQEAABCJAJC032C    EAA   S19 XP_141T
    891    HKYQEAABBAACJ01LX    EAA   S19 XP_141T
    892   YNAHEAABBABCA1F7C     EAA   S19 XP_141T
    893    YNAHEAABBAJAJ03FK    EAA   S19 XP_141T
    894    HKYQEAABCJAJC0334    EAA   S19 XP_141T
    895    HKYQEAABCJAJC031K    EAA   S19 XP_141T
    896   HKYQEAABBAABE070P     EAA   S19 XP_141T
    897   YNAHEAABBAJBH03G0     EAA   S19 XP_141T
    898    YNAHEAABBAJBH03F1    EAA   S19 XP_141T
    899    YNAHEAABBAJCA01RZ    EAA   S19 XP_141T
    900   YNAHEAABBAJBH03C6     EAA   S19 XP_141T



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    901    YNAHEAABBAJAJ0E42     EAA   S19 XP_141T
    902    YNAHEAABBAJCA01SS     EAA   S19 XP_141T
    903   YNAHEAABBAJCA006M      EAA   S19 XP_141T
    904    YNAHEAABBAJBH03E8     EAA   S19 XP_141T
    905    YNAHEAABBAJAJ0D3P     EAA   S19 XP_141T
    906    YNAHEAABBAJCA01SA     EAA   S19 XP_141T
    907    YNAHEAABBAJBH03KV     EAA   S19 XP_141T
    908   YNAHEAABBAJBH03EW      EAA   S19 XP_141T
    909    YNAHEAABBAJCA004P     EAA   S19 XP_141T
    910    YNAHEAABBAJCA006D     EAA   S19 XP_141T
    911     HKYQEAABCJAJC011L    EAA   S19 XP_141T
    912    HKYQEAABBAACJ01P7     EAA   S19 XP_141T
    913    HKYQEAABBAACJ01RE     EAA   S19 XP_141T
    914    YNAHEAABBAJCA00CG     EAA   S19 XP_141T
    915    YNAHEAABBAJBH0461     EAA   S19 XP_141T
    916    YNAHEAABBAJAJ0E4X     EAA   S19 XP_141T
    917    YNAHEAABBAJCA001T     EAA   S19 XP_141T
    918   YNAHEAABBAJBH046D      EAA   S19 XP_141T
    919    YNAHEAABBAJAJ0D03     EAA   S19 XP_141T
    920    YNAHEAABBAJAJ02SN     EAA   S19 XP_141T
    921   HKYQEAABBAACJ01GW      EAA   S19 XP_141T
    922   HKYQEAABBAABE06YB      EAA   S19 XP_141T
    923    YNAHEAABBAJCA007Z     EAA   S19 XP_141T
    924    YNAHEAABBAJAJ02V2     EAA   S19 XP_141T
    925    HKYQEAABBAACJ01CR     EAA   S19 XP_141T
    926    HKYQEAABBAACJ01FY     EAA   S19 XP_141T
    927    HKYQEAABBAABE06Y1     EAA   S19 XP_141T
    928    HKYQEAABBAACJ01F3     EAA   S19 XP_141T
    929    HKYQEAABBAABE06ZC     EAA   S19 XP_141T
    930   HKYQEAABBAABE06ZG      EAA   S19 XP_141T
    931    HKYQEAABBAACJ01CZ     EAA   S19 XP_141T
    932    HKYQEAABBAABE06YF     EAA   S19 XP_141T
    933    HKYQEAABBAACJ01CX     EAA   S19 XP_141T
    934   HKYQEAABBAABE0701      EAA   S19 XP_141T
    935   HKYQEAABBAACJ01HA      EAA   S19 XP_141T
    936    HKYQEAABBAACJ01CH     EAA   S19 XP_141T
    937    HKYQEAABBAACJ01G3     EAA   S19 XP_141T
    938    HKYQEAABBAACJ01G4     EAA   S19 XP_141T
    939    HKYQEAABBAACJ01CY     EAA   S19 XP_141T
    940    HKYQEAABBAACJ01D4     EAA   S19 XP_141T
    941    HKYQEAABBAAJG0EY0     EAA   S19 XP_141T
    942   HKYQEAABBAAJG0EWM      EAA   S19 XP_141T
    943   HKYQEAABBAAJG0EWS      EAA   S19 XP_141T
    944    HKYQEAABBAAJG0EX9     EAA   S19 XP_141T
    945   HKYQEAABBAAJG0G9T      EAA   S19 XP_141T
    946   HKYQEAABBAAJG0G8P      EAA   S19 XP_141T
    947   HKYQEAABBAAJG0EWT      EAA   S19 XP_141T
    948    HKYQEAABBAAJG0EY3     EAA   S19 XP_141T
    949   HKYQEAABBAABE06VS      EAA   S19 XP_141T
    950   YNAHEAABBAABA0B7H      EAA   S19 XP_141T



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    951   HKYQEAABBAAJG0EX1    EAA   S19 XP_141T
    952   HKYQEAABBAAJG0EZ0    EAA   S19 XP_141T
    953   HKYQEAABBAAJG0EXS    EAA   S19 XP_141T
    954   HKYQEAABBAAJG0EXZ    EAA   S19 XP_141T
    955   HKYQEAABBAAJG0EXN    EAA   S19 XP_141T
    956   HKYQEAABBAAJG0EY5    EAA   S19 XP_141T
    957   HKYQEAABBAAJG0G46    EAA   S19 XP_141T
    958   HKYQEAABBAAJG0EXA    EAA   S19 XP_141T
    959   HKYQEAABBAAJG0EMK    EAA   S19 XP_141T
    960   HKYQEAABBAAJG0EXX    EAA   S19 XP_141T
    961   HKYQEAABBAAJG0EYM    EAA   S19 XP_141T
    962   HKYQEAABBAAJG0EWX    EAA   S19 XP_141T
    963   HKYQEAABBAAJG0EXB    EAA   S19 XP_141T
    964   HKYQEAABBAAJG0EYY    EAA   S19 XP_141T
    965   YNAHEAABBABCA1F9R    EAA   S19 XP_141T
    966   YNAHEAABBABCA0PTB    EAA   S19 XP_141T
    967   YNAHEAABBABCA0HVF    EAA   S19 XP_141T
    968   YNAHEAABBABCA0HVE    EAA   S19 XP_141T
    969   YNAHEAABBABCA1FA0    EAA   S19 XP_141T
    970   YNAHEAABBABCA1F9Y    EAA   S19 XP_141T
    971   HKYQEAABBAAJG0H3J    EAA   S19 XP_141T
    972   HKYQEAABBAAJG0GXC    EAA   S19 XP_141T
    973   HKYQEAABBAAJG0G48    EAA   S19 XP_141T
    974   HKYQEAABBAAJG0H3P    EAA   S19 XP_141T
    975   HKYQEAABBAAJG0GKB    EAA   S19 XP_141T
    976   HKYQEAABBAAJG0G9W    EAA   S19 XP_141T
    977   HKYQEAABBAABE076K    EAA   S19 XP_141T
    978   HKYQEAABBAABE079T    EAA   S19 XP_141T
    979   HKYQEAABBAABE077T    EAA   S19 XP_141T
    980   HKYQEAABBAAJG0GSF    EAA   S19 XP_141T
    981   HKYQEAABBAAJG0H3E    EAA   S19 XP_141T
    982   HKYQEAABBAAJG0H9F    EAA   S19 XP_141T
    983   HKYQEAABBAABE07A6    EAA   S19 XP_141T
    984   HKYQEAABBAABE079X    EAA   S19 XP_141T
    985   HKYQEAABBAABE07A5    EAA   S19 XP_141T
    986   HKYQEAABBAAJG0GR1    EAA   S19 XP_141T
    987   HKYQEAABBAAJG0GAZ    EAA   S19 XP_141T
    988   HKYQEAABBAABE077Z    EAA   S19 XP_141T
    989   HKYQEAABBAABE075P    EAA   S19 XP_141T
    990   HKYQEAABBAABE079J    EAA   S19 XP_141T
    991   HKYQEAABBAABE0798    EAA   S19 XP_141T
    992   HKYQEAABBAABE078R    EAA   S19 XP_141T
    993   HKYQEAABBAAJG0GL3    EAA   S19 XP_141T
    994   HKYQEAABBAABE078T    EAA   S19 XP_141T
    995   HKYQEAABBAABE076W    EAA   S19 XP_141T
    996   HKYQEAABBAABE0795    EAA   S19 XP_141T
    997   HKYQEAABBAABE078V    EAA   S19 XP_141T
    998   HKYQEAABBAABE079L    EAA   S19 XP_141T
    999   HKYQEAABBAABE078A    EAA   S19 XP_141T
   1000   HKYQEAABBAABE077X    EAA   S19 XP_141T



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                                               79

   1001   HKYQEAABBAABE07A7      EAA   S19 XP_141T
   1002    HKYQEAABBAABE0796     EAA   S19 XP_141T
   1003    HKYQEAABBAABE077Y     EAA   S19 XP_141T
   1004   HKYQEAABBAABE079R      EAA   S19 XP_141T
   1005    HKYQEAABBAABE0786     EAA   S19 XP_141T
   1006    HKYQEAABBAACJ00HV     EAA   S19 XP_141T
   1007    HKYQEAABBAACJ01GR     EAA   S19 XP_141T
   1008   YNAHEAABBABCA1FA1      EAA   S19 XP_141T
   1009    HKYQEAABBAABE06Y8     EAA   S19 XP_141T
   1010   HKYQEAABBAABE06RA      EAA   S19 XP_141T
   1011    HKYQEAABBAABE06Z9     EAA   S19 XP_141T
   1012   HKYQEAABBAABE06R7      EAA   S19 XP_141T
   1013    HKYQEAABBAACJ01KF     EAA   S19 XP_141T
   1014   HKYQEAABBAABE06RN      EAA   S19 XP_141T
   1015    HKYQEAABBAACJ00JK     EAA   S19 XP_141T
   1016   HKYQEAABBAABE06HH      EAA   S19 XP_141T
   1017    HKYQEAABBAACJ01RK     EAA   S19 XP_141T
   1018    HKYQEAABBAACJ01R8     EAA   S19 XP_141T
   1019    HKYQEAABBAACJ01PZ     EAA   S19 XP_141T
   1020    HKYQEAABBAACJ00HY     EAA   S19 XP_141T
   1021    HKYQEAABBAACJ01ST     EAA   S19 XP_141T
   1022    HKYQEAABBAACJ01P8     EAA   S19 XP_141T
   1023    HKYQEAABBAACJ01KD     EAA   S19 XP_141T
   1024    HKYQEAABBAACJ01PL     EAA   S19 XP_141T
   1025    HKYQEAABBAACJ01RD     EAA   S19 XP_141T
   1026    HKYQEAABBAACJ00JM     EAA   S19 XP_141T
   1027   HKYQEAABBAACJ00HN      EAA   S19 XP_141T
   1028    HKYQEAABBAACJ00KT     EAA   S19 XP_141T
   1029    HKYQEAABBAACJ00HX     EAA   S19 XP_141T
   1030   HKYQEAABBAAJG0G2M      EAA   S19 XP_141T
   1031   HKYQEAABBAAJG0GB8      EAA   S19 XP_141T
   1032   HKYQEAABBAAJG0G99      EAA   S19 XP_141T
   1033   HKYQEAABBAAJG0H3N      EAA   S19 XP_141T
   1034   HKYQEAABBAAJG0GGD      EAA   S19 XP_141T
   1035   HKYQEAABBAAJG0GBT      EAA   S19 XP_141T
   1036   HKYQEAABBAAJG0G96      EAA   S19 XP_141T
   1037   HKYQEAABBAAJG0G94      EAA   S19 XP_141T
   1038   HKYQEAABBAAJG0GC4      EAA   S19 XP_141T
   1039   HKYQEAABBAAJG0HAX      EAA   S19 XP_141T
   1040    HKYQEAABBAAJG0GSJ     EAA   S19 XP_141T
   1041    HKYQEAABBAAJG0GY7     EAA   S19 XP_141T
   1042    YNAHEAABBAABA10JB     EAA   S19 XP_141T
   1043    YNAHEAABBAABA10LT     EAA   S19 XP_141T
   1044    YNAHEAABBAABA10LL     EAA   S19 XP_141T
   1045   YNAHEAABBAABA10M0      EAA   S19 XP_141T
   1046   YNAHEAABBAABA10T9      EAA   S19 XP_141T
   1047   YNAHEAABBAABA10MB      EAA   S19 XP_141T
   1048     HKYQEAABCJAJC01XF    EAA   S19 XP_141T
   1049    HKYQEAABCJAJC00V3     EAA   S19 XP_141T
   1050     HKYQEAABCJAJC019J    EAA   S19 XP_141T



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                                               80

   1051    YNAHEAABBAABA10RJ     EAA   S19 XP_141T
   1052   YNAHEAABBAABA10S9      EAA   S19 XP_141T
   1053   YNAHEAABBABCA1FAV      EAA   S19 XP_141T
   1054     HKYQEAABCJAJC01HJ    EAA   S19 XP_141T
   1055    HKYQEAABCJAJC01GG     EAA   S19 XP_141T
   1056    HKYQEAABCJAJC01WX     EAA   S19 XP_141T
   1057   YNAHEAABBAABA10M1      EAA   S19 XP_141T
   1058   YNAHEAABBAABA10MF      EAA   S19 XP_141T
   1059   YNAHEAABBAABA10LC      EAA   S19 XP_141T
   1060    HKYQEAABCJAJC01GH     EAA   S19 XP_141T
   1061    HKYQEAABCJAJC01B2     EAA   S19 XP_141T
   1062    HKYQEAABCJAJC01WL     EAA   S19 XP_141T
   1063   HKYQEAABCJAJC01AW      EAA   S19 XP_141T
   1064    HKYQEAABCJAJC01X1     EAA   S19 XP_141T
   1065    HKYQEAABCJAJC012T     EAA   S19 XP_141T
   1066   HKYQEAABCJAJC01WM      EAA   S19 XP_141T
   1067    HKYQEAABCJAJC01GF     EAA   S19 XP_141T
   1068    HKYQEAABCJAJC01HK     EAA   S19 XP_141T
   1069    HKYQEAABCJAJC01WK     EAA   S19 XP_141T
   1070    HKYQEAABCJAJC01BW     EAA   S19 XP_141T
   1071     HKYQEAABCJAJC012J    EAA   S19 XP_141T
   1072   HKYQEAABCJAJC01WG      EAA   S19 XP_141T
   1073    HKYQEAABCJAJC003C     EAA   S19 XP_141T
   1074    HKYQEAABCJAJC00SY     EAA   S19 XP_141T
   1075    YNAHEABBBAJCA15RS     EAB   S19 XP_134T
   1076    HKYQEAABCJAJC01HA     EAA   S19 XP_141T
   1077    HKYQEAABCJAJC013A     EAA   S19 XP_141T
   1078    YNAHEAABBAJAJ0E0M     EAA   S19 XP_141T
   1079    YNAHEAABBAJAJ0DVP     EAA   S19 XP_141T
   1080    YNAHEAABBAJAJ0DVX     EAA   S19 XP_141T
   1081    YNAHEAABBAJAJ0DPF     EAA   S19 XP_141T
   1082     YNAHEAABBAJAJ06JS    EAA   S19 XP_141T
   1083    YNAHEAABBAJCA01SR     EAA   S19 XP_141T
   1084    YNAHEAABBAJAJ06JM     EAA   S19 XP_141T
   1085    YNAHEAABBAJCA01SH     EAA   S19 XP_141T
   1086    YNAHEAABBAJCA004V     EAA   S19 XP_141T
   1087    YNAHEAABBAJCA004R     EAA   S19 XP_141T
   1088    YNAHEAABBAJAJ0E03     EAA   S19 XP_141T
   1089   YNAHEAABBAJAJ0DWZ      EAA   S19 XP_141T
   1090   YNAHEAABBAJAJ0DWK      EAA   S19 XP_141T
   1091   YNAHEAABBAJCA004N      EAA   S19 XP_141T
   1092   YNAHEAABBAJBH03H8      EAA   S19 XP_141T
   1093    YNAHEAABBAJBH04F6     EAA   S19 XP_141T
   1094    YNAHEAABBAJCA01SP     EAA   S19 XP_141T
   1095    YNAHEAABBAJAJ0E19     EAA   S19 XP_141T
   1096   YNAHEAABBAABA0BNZ      EAA   S19 XP_141T
   1097   YNAHEAABBAJBH03H4      EAA   S19 XP_141T
   1098    YNAHEAABBAJAJ0DXL     EAA   S19 XP_141T
   1099   YNAHEAABBAJBH04W6      EAA   S19 XP_141T
   1100    YNAHEAABBAJAJ0DNP     EAA   S19 XP_141T



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                                               81

   1101   YNAHEAABBAABA10M8      EAA   S19 XP_141T
   1102    YNAHEAABBAABA0BE6     EAA   S19 XP_141T
   1103   YNAHEAABBAABA10M5      EAA   S19 XP_141T
   1104    YNAHEAABBAABA10L2     EAA   S19 XP_141T
   1105    YNAHEAABBAJAJ0DWT     EAA   S19 XP_141T
   1106    YNAHEAABBAJCA004J     EAA   S19 XP_141T
   1107   YNAHEAABBAABA0BNG      EAA   S19 XP_141T
   1108   YNAHEAABBAABA0BNT      EAA   S19 XP_141T
   1109   YNAHEAABBAABA0BNV      EAA   S19 XP_141T
   1110    YNAHEAABBAABA10LJ     EAA   S19 XP_141T
   1111   YNAHEAABBAABA0BNM      EAA   S19 XP_141T
   1112    YNAHEAABBAABA10LY     EAA   S19 XP_141T
   1113     HKYQEAABCJAJC00BP    EAA   S19 XP_141T
   1114     HKYQEAABCJAJC004K    EAA   S19 XP_141T
   1115     HKYQEAABCJAJC00KZ    EAA   S19 XP_141T
   1116     HKYQEAABCJAJC00EX    EAA   S19 XP_141T
   1117     HKYQEAABCJAJC00F1    EAA   S19 XP_141T
   1118     HKYQEAABCJAJC01BP    EAA   S19 XP_141T
   1119    YNAHEAABBABCA0LSX     EAA   S19 XP_141T
   1120    YNAHEAABBABCA0LTL     EAA   S19 XP_141T
   1121    YNAHEAABBABCA0LV6     EAA   S19 XP_141T
   1122     HKYQEAABCJAJC0024    EAA   S19 XP_141T
   1123     HKYQEAABCJAJC00B5    EAA   S19 XP_141T
   1124    HKYQEAABCJAJC01BM     EAA   S19 XP_141T
   1125    YNAHEAABBABCA0LRE     EAA   S19 XP_141T
   1126    YNAHEAABBABCA0K54     EAA   S19 XP_141T
   1127    YNAHEAABBABCA0JSG     EAA   S19 XP_141T
   1128    YNAHEAABBABCA0LVY     EAA   S19 XP_141T
   1129     HKYQEAABCJAJC00B4    EAA   S19 XP_141T
   1130     HKYQEAABCJAJC0066    EAA   S19 XP_141T
   1131   YNAHEAABBABCA0N16      EAA   S19 XP_141T
   1132    YNAHEAABBABCA0LT9     EAA   S19 XP_141T
   1133    HKYQEAABBAACJ01CF     EAA   S19 XP_141T
   1134    YNAHEAABBABCA0LP8     EAA   S19 XP_141T
   1135   YNAHEAABBABCA0K2V      EAA   S19 XP_141T
   1136     HKYQEAABCJAJC00B2    EAA   S19 XP_141T
   1137    YNAHEAABBABCA0JSH     EAA   S19 XP_141T
   1138    YNAHEAABBABCA0K2T     EAA   S19 XP_141T
   1139    YNAHEAABBABCA0JSE     EAA   S19 XP_141T
   1140    YNAHEAABBABCA0LP7     EAA   S19 XP_141T
   1141    YNAHEAABBABCA0K2S     EAA   S19 XP_141T
   1142    YNAHEAABBABCA0K2Z     EAA   S19 XP_141T
   1143    YNAHEAABBABCA0K2F     EAA   S19 XP_141T
   1144    YNAHEAABBABCA0K30     EAA   S19 XP_141T
   1145    YNAHEAABBABCA0JVG     EAA   S19 XP_141T
   1146    YNAHEAABBABCA0JVF     EAA   S19 XP_141T
   1147    YNAHEAABBABCA0K31     EAA   S19 XP_141T
   1148    YNAHEAABBABCA0LTB     EAA   S19 XP_141T
   1149    HKYQEAABBAAJG0H5J     EAA   S19 XP_141T
   1150    HKYQEAABBAAJG0H4E     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA         Doc. #: 1-2     Filed: 07/08/24   Page: 24 of 69 PageID #:
                                               82

   1151    HKYQEAABBAAJG0H49     EAA   S19 XP_141T
   1152    HKYQEAABBAAJG0H4L     EAA   S19 XP_141T
   1153   HKYQEAABBAAJG0GVG      EAA   S19 XP_141T
   1154   HKYQEAABBAAJG0H5H      EAA   S19 XP_141T
   1155    HKYQEAABBAAJG0H22     EAA   S19 XP_141T
   1156    HKYQEAABBAAJG0H68     EAA   S19 XP_141T
   1157    HKYQEAABBAAJG0H61     EAA   S19 XP_141T
   1158   HKYQEAABBAAJG0GW6      EAA   S19 XP_141T
   1159   HKYQEAABBAAJG0GW9      EAA   S19 XP_141T
   1160    HKYQEAABBAAJG0H46     EAA   S19 XP_141T
   1161   HKYQEAABBAAJG0H4G      EAA   S19 XP_141T
   1162   HKYQEAABBAAJG0GW4      EAA   S19 XP_141T
   1163   HKYQEAABBAAJG0FWT      EAA   S19 XP_141T
   1164    HKYQEAABBAAJG0G2J     EAA   S19 XP_141T
   1165    HKYQEAABBAAJG0H6E     EAA   S19 XP_141T
   1166    HKYQEAABBAAJG0H5P     EAA   S19 XP_141T
   1167    HKYQEAABBAAJG0H43     EAA   S19 XP_141T
   1168    HKYQEAABBAAJG0H4B     EAA   S19 XP_141T
   1169    HKYQEAABBAAJG0H5K     EAA   S19 XP_141T
   1170    HKYQEAABBAAJG0H5Y     EAA   S19 XP_141T
   1171    HKYQEAABBAAJG0H03     EAA   S19 XP_141T
   1172     HKYQEAABCJAJC011Z    EAA   S19 XP_141T
   1173     HKYQEAABCJAJC00F8    EAA   S19 XP_141T
   1174    HKYQEAABCJAJC004R     EAA   S19 XP_141T
   1175    HKYQEAABCJAJC0042     EAA   S19 XP_141T
   1176    HKYQEAABCJAJC00R4     EAA   S19 XP_141T
   1177    HKYQEAABCJAJC009W     EAA   S19 XP_141T
   1178    HKYQEAABCJAJC01AH     EAA   S19 XP_141T
   1179    HKYQEAABCJAJC00MT     EAA   S19 XP_141T
   1180    HKYQEAABCJAJC01BG     EAA   S19 XP_141T
   1181    HKYQEAABCJAJC0039     EAA   S19 XP_141T
   1182    HKYQEAABCJAJC009P     EAA   S19 XP_141T
   1183    HKYQEAABCJAJC00CG     EAA   S19 XP_141T
   1184   YNAHEAABBAABA10D7      EAA   S19 XP_141T
   1185   YNAHEABBBABCA0P2M      EAB   S19 XP_134T
   1186    HKYQEAABBAACJ01CN     EAA   S19 XP_141T
   1187    HKYQEAABBAACJ01GX     EAA   S19 XP_141T
   1188    YNAHEAABBAJBH01VC     EAA   S19 XP_141T
   1189    YNAHEAABBAJBH02S5     EAA   S19 XP_141T
   1190   YNAHEAABBAABA10F0      EAA   S19 XP_141T
   1191   YNAHEAABBAABA0BG9      EAA   S19 XP_141T
   1192   YNAHEAABBAABA0ZXW      EAA   S19 XP_141T
   1193   YNAHEAABBAABA0VMB      EAA   S19 XP_141T
   1194   YNAHEAABBAABA0ZWA      EAA   S19 XP_141T
   1195    YNAHEAABBAJBH02S3     EAA   S19 XP_141T
   1196    YNAHEAABBABCA04Z1     EAA   S19 XP_141T
   1197   YNAHEAABBAABA10EK      EAA   S19 XP_141T
   1198   YNAHEAABBAABA0ZXR      EAA   S19 XP_141T
   1199    YNAHEAABBAJBH02SR     EAA   S19 XP_141T
   1200   YNAHEAABBAABA0XRR      EAA   S19 XP_141T



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                                               83

   1201   YNAHEAABBAABA0YHH      EAA   S19 XP_141T
   1202   YNAHEAABBAABA07YA      EAA   S19 XP_141T
   1203    HKYQEAABBAACJ01G1     EAA   S19 XP_141T
   1204   YNAHEAABBAABA10DZ      EAA   S19 XP_141T
   1205   YNAHEAABBAABA10ET      EAA   S19 XP_141T
   1206    YNAHEAABBAABA0BJZ     EAA   S19 XP_141T
   1207    YNAHEAABBAABA0BJC     EAA   S19 XP_141T
   1208   YNAHEAABBAABA10DV      EAA   S19 XP_141T
   1209   YNAHEAABBAABA10E5      EAA   S19 XP_141T
   1210    YNAHEABBBABCA0P9S     EAB   S19 XP_134T
   1211   YNAHEAABBAABA10D6      EAA   S19 XP_141T
   1212   YNAHEAABBAABA10EZ      EAA   S19 XP_141T
   1213   YNAHEAABBAABA0B6H      EAA   S19 XP_141T
   1214   YNAHEAABBAABA10ES      EAA   S19 XP_141T
   1215   YNAHEAABBABCA0LYN      EAA   S19 XP_141T
   1216   YNAHEAABBAABA0B56      EAA   S19 XP_141T
   1217   YNAHEAABBAABA10FR      EAA   S19 XP_141T
   1218   YNAHEAABBAABA10G5      EAA   S19 XP_141T
   1219   YNAHEAABBAABA0Z22      EAA   S19 XP_141T
   1220     YNAHEAABBAJAJ047J    EAA   S19 XP_141T
   1221    YNAHEAABBAJAJ0475     EAA   S19 XP_141T
   1222   YNAHEABBBABCA0P2R      EAB   S19 XP_134T
   1223    YNAHEAABBAABA0ZJ9     EAA   S19 XP_141T
   1224   YNAHEAABBAABA0YBE      EAA   S19 XP_141T
   1225    YNAHEAABBAJAJ03XH     EAA   S19 XP_141T
   1226   YNAHEAABBAABA0YS9      EAA   S19 XP_141T
   1227   YNAHEAABBAABA0XRC      EAA   S19 XP_141T
   1228   YNAHEAABBAABA0CGF      EAA   S19 XP_141T
   1229   YNAHEAABBAABA0B7K      EAA   S19 XP_141T
   1230   YNAHEAABBAABA0YBC      EAA   S19 XP_141T
   1231   YNAHEAABBAABA0YHV      EAA   S19 XP_141T
   1232   YNAHEAABBAABA0YHT      EAA   S19 XP_141T
   1233    YNAHEAABBAJAJ0476     EAA   S19 XP_141T
   1234    YNAHEAABBAJAJ047H     EAA   S19 XP_141T
   1235   YNAHEABBBABCA0P2P      EAB   S19 XP_134T
   1236   YNAHEAABBAABA0YS4      EAA   S19 XP_141T
   1237   YNAHEAABBAABA0YS7      EAA   S19 XP_141T
   1238   YNAHEAABBAABA0B5L      EAA   S19 XP_141T
   1239    YNAHEAABBAJAJ047P     EAA   S19 XP_141T
   1240   YNAHEAABBAABA0YS1      EAA   S19 XP_141T
   1241   YNAHEAABBAABA0YJD      EAA   S19 XP_141T
   1242    YNAHEAABBAABA0YJE     EAA   S19 XP_141T
   1243    YNAHEAABBAJBH02SF     EAA   S19 XP_141T
   1244   YNAHEAABBAABA0VMF      EAA   S19 XP_141T
   1245   YNAHEAABBAABA0ZYR      EAA   S19 XP_141T
   1246   YNAHEAABBAABA0ZX3      EAA   S19 XP_141T
   1247   YNAHEAABBAABA0ZX0      EAA   S19 XP_141T
   1248   YNAHEAABBAABA0ZW6      EAA   S19 XP_141T
   1249   YNAHEAABBAABA0ZYK      EAA   S19 XP_141T
   1250   YNAHEAABBAABA0YH5      EAA   S19 XP_141T



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                                              84

   1251   YNAHEAABBAABA0YHG     EAA   S19 XP_141T
   1252   YNAHEAABBAABA0ZW7     EAA   S19 XP_141T
   1253   YNAHEAABBAABA0ZX6     EAA   S19 XP_141T
   1254   YNAHEAABBABCA0KTC     EAA   S19 XP_141T
   1255   YNAHEAABBABCA0KR9     EAA   S19 XP_141T
   1256   YNAHEAABBABCA0KRG     EAA   S19 XP_141T
   1257   YNAHEAABBABCA0KYH     EAA   S19 XP_141T
   1258   YNAHEAABBABCA0KYR     EAA   S19 XP_141T
   1259   YNAHEAABBABCA0KYF     EAA   S19 XP_141T
   1260   YNAHEAABBABCA0KYN     EAA   S19 XP_141T
   1261   YNAHEAABBABCA0KSE     EAA   S19 XP_141T
   1262   YNAHEAABBABCA0KYT     EAA   S19 XP_141T
   1263   YNAHEAABBABCA0S7P     EAA   S19 XP_141T
   1264   YNAHEAABBABCA0CW0     EAA   S19 XP_141T
   1265   YNAHEAABBABCA0R1E     EAA   S19 XP_141T
   1266    YNAHEABBCJABD0RBF    EAB   S19 XP_134T
   1267   YNAHEAABBABCA0NDA     EAA   S19 XP_141T
   1268   YNAHEAABBABCA0RKP     EAA   S19 XP_141T
   1269    YNAHEAABBABCA0KSZ    EAA   S19 XP_141T
   1270   YNAHEAABBABCA0CW1     EAA   S19 XP_141T
   1271   YNAHEAABBABCA0R9M     EAA   S19 XP_141T
   1272   YNAHEAABBABCA1F9N     EAA   S19 XP_141T
   1273   YNAHEAABBABCA0KTD     EAA   S19 XP_141T
   1274   YNAHEAABBABCA0KS8     EAA   S19 XP_141T
   1275   YNAHEAABBABCA0KSY     EAA   S19 XP_141T
   1276   YNAHEAABBABCA0CW3     EAA   S19 XP_141T
   1277   YNAHEAABBABCA0S7T     EAA   S19 XP_141T
   1278   YNAHEAABBABCA1FG0     EAA   S19 XP_141T
   1279   YNAHEAABBABCA1FG1     EAA   S19 XP_141T
   1280    YNAHEAABBABCA1F9Z    EAA   S19 XP_141T
   1281   YNAHEAABBABCA1FG3     EAA   S19 XP_141T
   1282   YNAHEAABBABCA1FAF     EAA   S19 XP_141T
   1283   YNAHEAABBABCA0KYS     EAA   S19 XP_141T
   1284   YNAHEAABBABCA1FFV     EAA   S19 XP_141T
   1285    YNAHEAABBABCA0LP4    EAA   S19 XP_141T
   1286   YNAHEAABBABCA1FG2     EAA   S19 XP_141T
   1287   YNAHEAABBABCA1FH3     EAA   S19 XP_141T
   1288   YNAHEAABBABCA1FAW     EAA   S19 XP_141T
   1289    YNAHEAABBABCA1FFT    EAA   S19 XP_141T
   1290    YNAHEABBBAJCA15EB    EAB   S19 XP_134T
   1291   YNAHEAABBAABA09G2     EAA   S19 XP_141T
   1292   YNAHEAABBAABA09GA     EAA   S19 XP_141T
   1293   YNAHEAABBABCA0EAX     EAA   S19 XP_141T
   1294   YNAHEAABBABCA0DAY     EAA   S19 XP_141T
   1295   YNAHEAABBABCA0EAS     EAA   S19 XP_141T
   1296   YNAHEAABBAABA11A1     EAA   S19 XP_141T
   1297   YNAHEAABBAABA119T     EAA   S19 XP_141T
   1298   YNAHEAABBAABA11A4     EAA   S19 XP_141T
   1299   YNAHEAABBABCA0C51     EAA   S19 XP_141T
   1300   YNAHEAABBAABA09FZ     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2     Filed: 07/08/24   Page: 27 of 69 PageID #:
                                              85

   1301   YNAHEAABBABCA0EAZ     EAA   S19 XP_141T
   1302   YNAHEAABBABCA0EB0     EAA   S19 XP_141T
   1303   YNAHEAABBABCA0D1W     EAA   S19 XP_141T
   1304   YNAHEAABBABCA0D6Z     EAA   S19 XP_141T
   1305   YNAHEAABBABCA0D76     EAA   S19 XP_141T
   1306   YNAHEAABBABCA0DAX     EAA   S19 XP_141T
   1307   YNAHEAABBAABA04BZ     EAA   S19 XP_141T
   1308   YNAHEAABBABCA0C5G     EAA   S19 XP_141T
   1309   YNAHEAABBAABA11R0     EAA   S19 XP_141T
   1310   YNAHEAABBAABA09GB     EAA   S19 XP_141T
   1311   YNAHEAABBAABA09H3     EAA   S19 XP_141T
   1312   YNAHEAABBABCA0DAZ     EAA   S19 XP_141T
   1313   YNAHEAABBABCA0DAV     EAA   S19 XP_141T
   1314   YNAHEAABBABCA0C4V     EAA   S19 XP_141T
   1315   YNAHEAABBABCA0C4X     EAA   S19 XP_141T
   1316   YNAHEAABBABCA0CBW     EAA   S19 XP_141T
   1317   YNAHEAABBABCA0CB6     EAA   S19 XP_141T
   1318   YNAHEAABBABCA0C50     EAA   S19 XP_141T
   1319   YNAHEAABBAABA11RE     EAA   S19 XP_141T
   1320    YNAHEAABBABCA0C5F    EAA   S19 XP_141T
   1321    YNAHEABBBAJCA05RG    EAB   S19 XP_134T
   1322   YNAHEAABBAABA11PY     EAA   S19 XP_141T
   1323   YNAHEAABBABCA0C4Y     EAA   S19 XP_141T
   1324   YNAHEAABBAABA11RH     EAA   S19 XP_141T
   1325    YNAHEAABBABCA0LP6    EAA   S19 XP_141T
   1326    YNAHEAABBABCA0LX1    EAA   S19 XP_141T
   1327    YNAHEAABBABCA0LZE    EAA   S19 XP_141T
   1328   YNAHEAABBABCA0SPM     EAA   S19 XP_141T
   1329   YNAHEAABBABCA0PRX     EAA   S19 XP_141T
   1330    YNAHEAABBABCA1E57    EAA   S19 XP_141T
   1331    YNAHEAABBABCA0LJ3    EAA   S19 XP_141T
   1332    YNAHEAABBABCA0LJC    EAA   S19 XP_141T
   1333    YNAHEAABBABCA0LJ6    EAA   S19 XP_141T
   1334   YNAHEAABBABCA0LGY     EAA   S19 XP_141T
   1335    YNAHEAABBABCA0LP2    EAA   S19 XP_141T
   1336   YNAHEAABBABCA0PRW     EAA   S19 XP_141T
   1337   YNAHEAABBABCA0LH2     EAA   S19 XP_141T
   1338   YNAHEAABBABCA0LGC     EAA   S19 XP_141T
   1339   YNAHEAABBABCA0LGH     EAA   S19 XP_141T
   1340   YNAHEAABBABCA0PRV     EAA   S19 XP_141T
   1341    YNAHEAABBABCA0PSZ    EAA   S19 XP_141T
   1342    YNAHEAABBABCA0LZH    EAA   S19 XP_141T
   1343    YNAHEABBBAJCA04CR    EAB   S19 XP_134T
   1344    YNAHEAABBABCA0LJD    EAA   S19 XP_141T
   1345   YNAHEAABBABCA0LMV     EAA   S19 XP_141T
   1346    YNAHEAABBABCA0LJ7    EAA   S19 XP_141T
   1347   YNAHEAABBABCA0LH0     EAA   S19 XP_141T
   1348    YNAHEAABBABCA0LJE    EAA   S19 XP_141T
   1349   YNAHEAABBAABA04C0     EAA   S19 XP_141T
   1350   YNAHEAABBAABA033H     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA         Doc. #: 1-2     Filed: 07/08/24   Page: 28 of 69 PageID #:
                                               86

   1351    YNAHEAABBABCA0D1T     EAA   S19 XP_141T
   1352    YNAHEAABBAABA04C9     EAA   S19 XP_141T
   1353    YNAHEAABBABCA0DB0     EAA   S19 XP_141T
   1354   YNAHEAABBAABA0KMV      EAA   S19 XP_141T
   1355    YNAHEAABBABCA0D71     EAA   S19 XP_141T
   1356    YNAHEAABBAABA02LP     EAA   S19 XP_141T
   1357    YNAHEAABBABCA0D1V     EAA   S19 XP_141T
   1358    YNAHEAABBABCA0CZZ     EAA   S19 XP_141T
   1359   YNAHEAABBABCA0DAW      EAA   S19 XP_141T
   1360    YNAHEAABBABCA0D1S     EAA   S19 XP_141T
   1361    YNAHEAABBABCA0NBH     EAA   S19 XP_141T
   1362    YNAHEAABBABCA0NN4     EAA   S19 XP_141T
   1363    YNAHEAABBABCA0RX8     EAA   S19 XP_141T
   1364    YNAHEAABBABCA1E54     EAA   S19 XP_141T
   1365   YNAHEAABBABCA0RWS      EAA   S19 XP_141T
   1366    YNAHEABBCJABD0RBC     EAB   S19 XP_134T
   1367   YNAHEAABBABCA0MX8      EAA   S19 XP_141T
   1368    YNAHEAABBABCA0NBG     EAA   S19 XP_141T
   1369   YNAHEAABBABCA0MX7      EAA   S19 XP_141T
   1370    YNAHEAABBABCA0M54     EAA   S19 XP_141T
   1371     NGSBEAABCJDAA071P    EAA   S19 XP_141T
   1372   YNAHEAABBABCA0NBM      EAA   S19 XP_141T
   1373    YNAHEAABBABCA0NBJ     EAA   S19 XP_141T
   1374    YNAHEAABBABCA0NAA     EAA   S19 XP_141T
   1375    YNAHEAABBABCA0NBK     EAA   S19 XP_141T
   1376    YNAHEAABBABCA0NLG     EAA   S19 XP_141T
   1377    YNAHEAABBABCA0NN3     EAA   S19 XP_141T
   1378    YNAHEAABBABCA1E37     EAA   S19 XP_141T
   1379    YNAHEAABBABCA1E5R     EAA   S19 XP_141T
   1380    YNAHEAABBABCA1E5F     EAA   S19 XP_141T
   1381    YNAHEAABBABCA1E55     EAA   S19 XP_141T
   1382    YNAHEAABBABCA1E5V     EAA   S19 XP_141T
   1383    YNAHEAABBABCA1E5S     EAA   S19 XP_141T
   1384    YNAHEAABBABCA1E4S     EAA   S19 XP_141T
   1385    YNAHEAABBABCA1E69     EAA   S19 XP_141T
   1386    YNAHEAABBABCA0SPG     EAA   S19 XP_141T
   1387    YNAHEAABBABCA1E59     EAA   S19 XP_141T
   1388    YNAHEAABBABCA1E52     EAA   S19 XP_141T
   1389    YNAHEAABBABCA1E5T     EAA   S19 XP_141T
   1390    YNAHEAABBABCA1E5L     EAA   S19 XP_141T
   1391    YNAHEAABBABCA0CX4     EAA   S19 XP_141T
   1392    YNAHEAABBABCA0MY0     EAA   S19 XP_141T
   1393   YNAHEAABBABCA0MHW      EAA   S19 XP_141T
   1394   YNAHEAABBABCA0MX3      EAA   S19 XP_141T
   1395    HKYQEAABBAACJ00MJ     EAA   S19 XP_141T
   1396    HKYQEAABBAABE06TF     EAA   S19 XP_141T
   1397    YNAHEAABBABCA0CXV     EAA   S19 XP_141T
   1398   YNAHEAABBABCA0MX0      EAA   S19 XP_141T
   1399   YNAHEAABBAABA08W2      EAA   S19 XP_141T
   1400    YNAHEAABBAABA07V2     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA         Doc. #: 1-2     Filed: 07/08/24   Page: 29 of 69 PageID #:
                                               87

   1401   YNAHEAABBAABA08W3      EAA   S19 XP_141T
   1402    YNAHEAABBAABA08TT     EAA   S19 XP_141T
   1403   YNAHEAABBABCA0MK2      EAA   S19 XP_141T
   1404    YNAHEAABBAABA08TL     EAA   S19 XP_141T
   1405    YNAHEAABBABCA0CSS     EAA   S19 XP_141T
   1406   YNAHEAABBABCA0MK0      EAA   S19 XP_141T
   1407    YNAHEAABBABCA0CSK     EAA   S19 XP_141T
   1408    YNAHEAABBABCA0CX2     EAA   S19 XP_141T
   1409    YNAHEAABBABCA0MJF     EAA   S19 XP_141T
   1410   YNAHEAABBABCA0MGS      EAA   S19 XP_141T
   1411   YNAHEAABBABCA0MK4      EAA   S19 XP_141T
   1412     YNAHEABBCJABD0JFP    EAB   S19 XP_134T
   1413   YNAHEAABBABCA0MK1      EAA   S19 XP_141T
   1414    YNAHEAABBABCA0MJC     EAA   S19 XP_141T
   1415    YNAHEAABBABCA0NAB     EAA   S19 XP_141T
   1416   YNAHEAABBABCA0M3H      EAA   S19 XP_141T
   1417    YNAHEAABBABCA0NBL     EAA   S19 XP_141T
   1418   YNAHEAABBAABA00WK      EAA   S19 XP_141T
   1419    YNAHEAABBABCA0CVA     EAA   S19 XP_141T
   1420   YNAHEAABBABCA0MHN      EAA   S19 XP_141T
   1421    YNAHEAABBAABA00Y7     EAA   S19 XP_141T
   1422    YNAHEAABBABCA0NA8     EAA   S19 XP_141T
   1423   YNAHEAABBABCA0MMA      EAA   S19 XP_141T
   1424    YNAHEAABBABCA0NA9     EAA   S19 XP_141T
   1425   YNAHEAABBAABA00WH      EAA   S19 XP_141T
   1426   YNAHEAABBAABA00WG      EAA   S19 XP_141T
   1427    YNAHEAABBABCA05K9     EAA   S19 XP_141T
   1428    YNAHEAABBABCA0XLT     EAA   S19 XP_141T
   1429    YNAHEAABBABCA05KB     EAA   S19 XP_141T
   1430    YNAHEAABBABCA0XLX     EAA   S19 XP_141T
   1431    YNAHEAABBABCA0XHV     EAA   S19 XP_141T
   1432    YNAHEAABBABCA05KC     EAA   S19 XP_141T
   1433    YNAHEAABBABCA05K5     EAA   S19 XP_141T
   1434    YNAHEAABBABCA05KR     EAA   S19 XP_141T
   1435    YNAHEAABBABCA05KG     EAA   S19 XP_141T
   1436    YNAHEAABBABCA05KA     EAA   S19 XP_141T
   1437    YNAHEAABBABCA05K3     EAA   S19 XP_141T
   1438   YNAHEAABBABCA0XM0      EAA   S19 XP_141T
   1439    HKYQEAABBAABE06V8     EAA   S19 XP_141T
   1440    HKYQEAABBAABE06X3     EAA   S19 XP_141T
   1441    HKYQEAABBAACJ00R2     EAA   S19 XP_141T
   1442    HKYQEAABBAABE06YA     EAA   S19 XP_141T
   1443    HKYQEAABBAABE06TC     EAA   S19 XP_141T
   1444    HKYQEAABBAACJ00RR     EAA   S19 XP_141T
   1445    YNAHEAABBAABA10JA     EAA   S19 XP_141T
   1446     HKYQEAABCJAJC05J4    EAA   S19 XP_141T
   1447    NGSBEAABCJDAA071A     EAA   S19 XP_141T
   1448    YNAHEAABBAABA10F8     EAA   S19 XP_141T
   1449    NGSBEAABCJDAA0773     EAA   S19 XP_141T
   1450     YNAHEAABBAJAJ00SX    EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2     Filed: 07/08/24   Page: 30 of 69 PageID #:
                                              88

   1451    HKYQEAABBAACJ00V2    EAA   S19 XP_141T
   1452    HKYQEAABBAACJ00N3    EAA   S19 XP_141T
   1453    HKYQEAABBAACJ00N9    EAA   S19 XP_141T
   1454   HKYQEAABBAACJ01CW     EAA   S19 XP_141T
   1455   HKYQEAABBAACJ00RM     EAA   S19 XP_141T
   1456    HKYQEAABBAACJ00VX    EAA   S19 XP_141T
   1457   YNAHEAABBAABA00XF     EAA   S19 XP_141T
   1458   YNAHEAABBAABA00XS     EAA   S19 XP_141T
   1459   HKYQEAABBAACJ00NA     EAA   S19 XP_141T
   1460    HKYQEAABBAACJ00LF    EAA   S19 XP_141T
   1461    HKYQEAABBAACJ00TS    EAA   S19 XP_141T
   1462    HKYQEAABBAACJ00N7    EAA   S19 XP_141T
   1463    HKYQEAABBAACJ018P    EAA   S19 XP_141T
   1464   YNAHEAABBABCA1E5M     EAA   S19 XP_141T
   1465   YNAHEAABBAABA0KME     EAA   S19 XP_141T
   1466   YNAHEAABBABCA1E5A     EAA   S19 XP_141T
   1467   YNAHEAABBABCA0NA7     EAA   S19 XP_141T
   1468   YNAHEAABBABCA1E5P     EAA   S19 XP_141T
   1469   YNAHEAABBABCA0ML7     EAA   S19 XP_141T
   1470   YNAHEAABBABCA1FYM     EAA   S19 XP_141T
   1471   YNAHEAABBABCA1G8R     EAA   S19 XP_141T
   1472   YNAHEAABBABCA1FYN     EAA   S19 XP_141T
   1473   YNAHEAABBABCA0RSS     EAA   S19 XP_141T
   1474    HKYQEAABBAACJ0181    EAA   S19 XP_141T
   1475    YNAHEAABBABCA1FZY    EAA   S19 XP_141T
   1476   YNAHEAABBABCA1F84     EAA   S19 XP_141T
   1477   YNAHEAABBABCA1G03     EAA   S19 XP_141T
   1478   YNAHEAABBABCA1FZ7     EAA   S19 XP_141T
   1479    YNAHEAABBABCA1FYL    EAA   S19 XP_141T
   1480    YNAHEAABBABCA1FYS    EAA   S19 XP_141T
   1481   YNAHEAABBABCA1FYP     EAA   S19 XP_141T
   1482   YNAHEAABBABCA1G37     EAA   S19 XP_141T
   1483   YNAHEAABBABCA1FZB     EAA   S19 XP_141T
   1484   YNAHEAABBABCA1FZD     EAA   S19 XP_141T
   1485   YNAHEAABBABCA1FXG     EAA   S19 XP_141T
   1486   YNAHEAABBABCA1GA5     EAA   S19 XP_141T
   1487   YNAHEAABBABCA05KF     EAA   S19 XP_141T
   1488   YNAHEAABBABCA06TR     EAA   S19 XP_141T
   1489   YNAHEAABBABCA04ZH     EAA   S19 XP_141T
   1490   YNAHEAABBABCA05KL     EAA   S19 XP_141T
   1491   YNAHEAABBABCA05KD     EAA   S19 XP_141T
   1492   YNAHEAABBABCA05KH     EAA   S19 XP_141T
   1493   YNAHEAABBABCA0XSW     EAA   S19 XP_141T
   1494    YNAHEAABBABCA0XLZ    EAA   S19 XP_141T
   1495   YNAHEAABBABCA06T1     EAA   S19 XP_141T
   1496   YNAHEAABBABCA06SS     EAA   S19 XP_141T
   1497   YNAHEAABBABCA05KK     EAA   S19 XP_141T
   1498   YNAHEAABBABCA05JD     EAA   S19 XP_141T
   1499   HKYQEAABBAAJG0G4K     EAA   S19 XP_141T
   1500   HKYQEAABBAAJG0G05     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2     Filed: 07/08/24   Page: 31 of 69 PageID #:
                                              89

   1501   HKYQEAABBAAJG0FWN     EAA   S19 XP_141T
   1502    HKYQEAABBAAJG0GJB    EAA   S19 XP_141T
   1503   HKYQEAABBAAJG0G2H     EAA   S19 XP_141T
   1504    HKYQEAABBAAJG0G4T    EAA   S19 XP_141T
   1505    HKYQEAABBAAJG0KBD    EAA   S19 XP_141T
   1506    HKYQEAABBAACJ01AL    EAA   S19 XP_141T
   1507    HKYQEAABBAAJG0KGY    EAA   S19 XP_141T
   1508    HKYQEAABBAAJG0KDK    EAA   S19 XP_141T
   1509    HKYQEAABBAAJG0KBY    EAA   S19 XP_141T
   1510    HKYQEAABBAAJG0KGR    EAA   S19 XP_141T
   1511    YNAHEAABBABCA1F8R    EAA   S19 XP_141T
   1512    YNAHEABBBABCA13FR    EAB   S19 XP_134T
   1513    YNAHEAABBABCA1F85    EAA   S19 XP_141T
   1514   YNAHEAABBABCA1F8W     EAA   S19 XP_141T
   1515   YNAHEAABBABCA1F8A     EAA   S19 XP_141T
   1516    YNAHEAABBABCA1F88    EAA   S19 XP_141T
   1517   YNAHEAABBABCA1F9D     EAA   S19 XP_141T
   1518   YNAHEAABBABCA1F8D     EAA   S19 XP_141T
   1519    YNAHEAABBABCA1F9K    EAA   S19 XP_141T
   1520    YNAHEAABBABCA1F9E    EAA   S19 XP_141T
   1521   YNAHEAABBABCA1FA3     EAA   S19 XP_141T
   1522    YNAHEAABBABCA1F7L    EAA   S19 XP_141T
   1523    HKYQEAABBAACJ01NK    EAA   S19 XP_141T
   1524    HKYQEAABBAACJ01ND    EAA   S19 XP_141T
   1525    HKYQEAABBAACJ01K3    EAA   S19 XP_141T
   1526    HKYQEAABBAAJG0KGZ    EAA   S19 XP_141T
   1527    HKYQEAABBAACJ013J    EAA   S19 XP_141T
   1528    HKYQEAABBAACJ010C    EAA   S19 XP_141T
   1529    HKYQEAABBAACJ018A    EAA   S19 XP_141T
   1530    HKYQEAABBAACJ018D    EAA   S19 XP_141T
   1531    HKYQEAABBAACJ01JE    EAA   S19 XP_141T
   1532    HKYQEAABBAACJ018Z    EAA   S19 XP_141T
   1533    HKYQEAABBAACJ01MJ    EAA   S19 XP_141T
   1534    HKYQEAABBAACJ0189    EAA   S19 XP_141T
   1535   HKYQEAABBAACJ00MN     EAA   S19 XP_141T
   1536    HKYQEAABBAACJ0188    EAA   S19 XP_141T
   1537   HKYQEAABBAACJ018M     EAA   S19 XP_141T
   1538   YNAHEAABBABCA0RNM     EAA   S19 XP_141T
   1539   YNAHEAABBABCA0RPX     EAA   S19 XP_141T
   1540    HKYQEAABBAACJ0111    EAA   S19 XP_141T
   1541    HKYQEAABBAAJG0G09    EAA   S19 XP_141T
   1542   HKYQEAABBAAJG0G4V     EAA   S19 XP_141T
   1543    HKYQEAABBAAJG0G3L    EAA   S19 XP_141T
   1544   HKYQEAABBAAJG0FWG     EAA   S19 XP_141T
   1545   HKYQEAABBAAJG0G4W     EAA   S19 XP_141T
   1546   HKYQEAABBAAJG0G4N     EAA   S19 XP_141T
   1547   HKYQEAABBAAJG0GXD     EAA   S19 XP_141T
   1548   YNAHEABBBABCA0H1F     EAB   S19 XP_134T
   1549   HKYQEAABBAAJG0GZM     EAA   S19 XP_141T
   1550    HKYQEAABBAAJG0H8L    EAA   S19 XP_141T



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   1551    HKYQEAABBAAJG0GX8     EAA   S19 XP_141T
   1552    HKYQEAABBAAJG0GZH     EAA   S19 XP_141T
   1553    HKYQEAABBAAJG0GPP     EAA   S19 XP_141T
   1554    HKYQEAABBAACJ0213     EAA   S19 XP_141T
   1555   HKYQEAABBAAJG0FW1      EAA   S19 XP_141T
   1556    HKYQEAABBAAJG0FZA     EAA   S19 XP_141T
   1557    HKYQEAABBAAJG0G4Y     EAA   S19 XP_141T
   1558    HKYQEAABBAAJG0FZX     EAA   S19 XP_141T
   1559   YNAHEAABBABCA0RXW      EAA   S19 XP_141T
   1560    YNAHEAABBABCA0LSR     EAA   S19 XP_141T
   1561   YNAHEAABBABCA0RWH      EAA   S19 XP_141T
   1562    YNAHEAABBJHBI0MHL     EAA   S19 XP_141T
   1563   YNAHEAABBABCA0NNP      EAA   S19 XP_141T
   1564   YNAHEAABBABCA0NPS      EAA   S19 XP_141T
   1565   YNAHEAABBABCA1FAC      EAA   S19 XP_141T
   1566    YNAHEAABBABCA1F9B     EAA   S19 XP_141T
   1567    YNAHEAABBABCA1F8C     EAA   S19 XP_141T
   1568    YNAHEAABBABCA1F9L     EAA   S19 XP_141T
   1569    YNAHEAABBABCA1F8E     EAA   S19 XP_141T
   1570    YNAHEAABBABCA1FAL     EAA   S19 XP_141T
   1571    HKYQEAABBAACJ018X     EAA   S19 XP_141T
   1572    HKYQEAABCJAJC009D     EAA   S19 XP_141T
   1573    HKYQEAABCJAJC00BK     EAA   S19 XP_141T
   1574     HKYQEAABCJAJC009E    EAA   S19 XP_141T
   1575     HKYQEAABCJAJC0094    EAA   S19 XP_141T
   1576    YNAHEAABBAJAJ04BX     EAA   S19 XP_141T
   1577    HKYQEAABBAACJ01DV     EAA   S19 XP_141T
   1578    HKYQEAABCJAJC00B3     EAA   S19 XP_141T
   1579    HKYQEAABCJAJC00C3     EAA   S19 XP_141T
   1580    HKYQEAABCJAJC00CH     EAA   S19 XP_141T
   1581    HKYQEAABCJAJC00B1     EAA   S19 XP_141T
   1582    HKYQEAABBAACJ00XL     EAA   S19 XP_141T
   1583    HKYQEAABBAACJ01HG     EAA   S19 XP_141T
   1584    HKYQEAABBAACJ01CS     EAA   S19 XP_141T
   1585    HKYQEAABBAACJ01FF     EAA   S19 XP_141T
   1586    HKYQEAABCJAJC00BC     EAA   S19 XP_141T
   1587     HKYQEAABCJAJC0076    EAA   S19 XP_141T
   1588    HKYQEAABCJAJC00B8     EAA   S19 XP_141T
   1589    HKYQEAABCJAJC00C1     EAA   S19 XP_141T
   1590    HKYQEAABCJAJC00BG     EAA   S19 XP_141T
   1591     HKYQEAABCJAJC0035    EAA   S19 XP_141T
   1592    HKYQEAABCJAJC00BB     EAA   S19 XP_141T
   1593    HKYQEAABCJAJC00BH     EAA   S19 XP_141T
   1594     HKYQEAABCJAJC005E    EAA   S19 XP_141T
   1595   YNAHEAABBABCA0YBD      EAA   S19 XP_141T
   1596    YNAHEAABBABCA0YL5     EAA   S19 XP_141T
   1597    YNAHEAABBABCA0YL2     EAA   S19 XP_141T
   1598    YNAHEAABBABCA0YL8     EAA   S19 XP_141T
   1599    YNAHEABBBAJCA15RR     EAB   S19 XP_134T
   1600   YNAHEABBCJABD0PHM      EAB   S19 XP_134T



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   1601    YNAHEAABBAJAJ045E    EAA   S19 XP_141T
   1602    YNAHEAABBABCA0YLE    EAA   S19 XP_141T
   1603    YNAHEAABBAJAJ0457    EAA   S19 XP_141T
   1604   YNAHEAABBABCA0YBC     EAA   S19 XP_141T
   1605   YNAHEAABBAABA10FK     EAA   S19 XP_141T
   1606   YNAHEABBBABCA14Y0     EAB   S19 XP_134T
   1607   YNAHEAABBAABA10DH     EAA   S19 XP_141T
   1608   YNAHEABBBABCA14ZY     EAB   S19 XP_134T
   1609   YNAHEABBBABCA14WX     EAB   S19 XP_134T
   1610   YNAHEABBBABCA0MFK     EAB   S19 XP_134T
   1611   YNAHEABBBABCA13FH     EAB   S19 XP_134T
   1612    YNAHEAABBAJAJ045D    EAA   S19 XP_141T
   1613    YNAHEAABBAJAJ0463    EAA   S19 XP_141T
   1614    YNAHEAABBAJAJ049E    EAA   S19 XP_141T
   1615    YNAHEAABBAJAJ04C6    EAA   S19 XP_141T
   1616    YNAHEAABBAJAJ03A0    EAA   S19 XP_141T
   1617    YNAHEAABBAJAJ045B    EAA   S19 XP_141T
   1618    YNAHEAABBAJAJ0451    EAA   S19 XP_141T
   1619    YNAHEAABBAJAJ0458    EAA   S19 XP_141T
   1620   YNAHEAABBAJAJ04BW     EAA   S19 XP_141T
   1621    YNAHEAABBAJAJ04BN    EAA   S19 XP_141T
   1622   YNAHEAABBAABA0BNX     EAA   S19 XP_141T
   1623   YNAHEAABBAABA0BP0     EAA   S19 XP_141T
   1624   YNAHEAABBAABA09RK     EAA   S19 XP_141T
   1625   YNAHEAABBAJAJ048M     EAA   S19 XP_141T
   1626   YNAHEAABBAABA0BNY     EAA   S19 XP_141T
   1627   YNAHEAABBAABA0BNH     EAA   S19 XP_141T
   1628   YNAHEAABBAABA09RH     EAA   S19 XP_141T
   1629   YNAHEAABBAABA10F6     EAA   S19 XP_141T
   1630   YNAHEAABBAABA10F3     EAA   S19 XP_141T
   1631   YNAHEAABBAABA10E1     EAA   S19 XP_141T
   1632   YNAHEAABBAABA10DK     EAA   S19 XP_141T
   1633   YNAHEAABBAABA10F5     EAA   S19 XP_141T
   1634   YNAHEAABBAABA10DJ     EAA   S19 XP_141T
   1635   YNAHEAABBAABA10DF     EAA   S19 XP_141T
   1636   YNAHEAABBAABA10DE     EAA   S19 XP_141T
   1637   YNAHEAABBAABA10FY     EAA   S19 XP_141T
   1638   HKYQEAABBAABE06WK     EAA   S19 XP_141T
   1639    HKYQEAABBAACJ00VK    EAA   S19 XP_141T
   1640   YNAHEAABBAABA10D3     EAA   S19 XP_141T
   1641   YNAHEAABBAABA10F1     EAA   S19 XP_141T
   1642    YNAHEAABBJGJF03ZK    EAA   S19 XP_141T
   1643    YNAHEAABBJGJF05NP    EAA   S19 XP_141T
   1644    YNAHEAABBJGJF041V    EAA   S19 XP_141T
   1645    YNAHEAABBJGJF0421    EAA   S19 XP_141T
   1646   YNAHEAABBAABA10DP     EAA   S19 XP_141T
   1647   YNAHEAABBAABA0B5K     EAA   S19 XP_141T
   1648    YNAHEAABBJGJF03ZM    EAA   S19 XP_141T
   1649    YNAHEAABBJGJF03ZS    EAA   S19 XP_141T
   1650    YNAHEAABBJGJF041W    EAA   S19 XP_141T



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                                               92

   1651     YNAHEAABBAJAJ00TJ    EAA   S19 XP_141T
   1652    YNAHEAABBJGJF041S     EAA   S19 XP_141T
   1653    HKYQEABBCJCAH0475     EAB   S19 XP_134T
   1654   YNAHEAABBAABA0BFL      EAA   S19 XP_141T
   1655    YNAHEAABBJGJF05P5     EAA   S19 XP_141T
   1656    YNAHEAABBJGJF041X     EAA   S19 XP_141T
   1657    HKYQEABBCJCAH01FH     EAB   S19 XP_134T
   1658    YNAHEAABBJGJF03YZ     EAA   S19 XP_141T
   1659   YNAHEAABBAABA0B6G      EAA   S19 XP_141T
   1660    YNAHEAABBJGJF03ZN     EAA   S19 XP_141T
   1661    YNAHEAABBJGJF03YW     EAA   S19 XP_141T
   1662    YNAHEAABBJGJF03ZV     EAA   S19 XP_141T
   1663    YNAHEABBBAJCA15KD     EAB   S19 XP_134T
   1664    YNAHEAABBAJAJ00R5     EAA   S19 XP_141T
   1665    YNAHEAABBAJAJ00VP     EAA   S19 XP_141T
   1666    YNAHEAABBAJAJ00V9     EAA   S19 XP_141T
   1667   YNAHEAABBAJAJ00W9      EAA   S19 XP_141T
   1668   HKYQEAABBAAJG0GRN      EAA   S19 XP_141T
   1669   HKYQEAABBAACJ00VW      EAA   S19 XP_141T
   1670   YNAHEAABBABCA05HB      EAA   S19 XP_141T
   1671   YNAHEAABBABCA05GB      EAA   S19 XP_141T
   1672   YNAHEAABBABCA043K      EAA   S19 XP_141T
   1673   YNAHEAABBABCA041B      EAA   S19 XP_141T
   1674   YNAHEAABBABCA041N      EAA   S19 XP_141T
   1675    YNAHEAABBJGJF03ZR     EAA   S19 XP_141T
   1676   YNAHEAABBABCA042S      EAA   S19 XP_141T
   1677   YNAHEAABBABCA042T      EAA   S19 XP_141T
   1678   YNAHEAABBABCA05G4      EAA   S19 XP_141T
   1679   YNAHEAABBAABA0A41      EAA   S19 XP_141T
   1680   YNAHEAABBAABA0A48      EAA   S19 XP_141T
   1681   YNAHEAABBABCA041A      EAA   S19 XP_141T
   1682   YNAHEAABBABCA042K      EAA   S19 XP_141T
   1683   YNAHEAABBABCA0420      EAA   S19 XP_141T
   1684   YNAHEAABBABCA042X      EAA   S19 XP_141T
   1685    YNAHEAABBJGJF0E2Y     EAA   S19 XP_141T
   1686    YNAHEAABBJGJF0MY1     EAA   S19 XP_141T
   1687    HKYQEAABBAACJ00R3     EAA   S19 XP_141T
   1688   YNAHEAABBABCA043R      EAA   S19 XP_141T
   1689   YNAHEAABBABCA042W      EAA   S19 XP_141T
   1690   YNAHEAABBABCA042Y      EAA   S19 XP_141T
   1691   YNAHEAABBAABA0BEA      EAA   S19 XP_141T
   1692    YNAHEAABBJGJF0N0V     EAA   S19 XP_141T
   1693   YNAHEAABBAABA0A43      EAA   S19 XP_141T
   1694   YNAHEAABBAABA0BDX      EAA   S19 XP_141T
   1695    YNAHEAABBJGJF0N03     EAA   S19 XP_141T
   1696   YNAHEAABBAABA0B89      EAA   S19 XP_141T
   1697    YNAHEAABBJGJF0E2N     EAA   S19 XP_141T
   1698    YNAHEAABBJGJF0N2T     EAA   S19 XP_141T
   1699    YNAHEAABBJGJF0N95     EAA   S19 XP_141T
   1700    YNAHEAABBJGJF0N4Y     EAA   S19 XP_141T



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                                               93

   1701    HKYQEAABBAACJ01VV     EAA   S19 XP_141T
   1702    YNAHEAABBJGJF0N3A     EAA   S19 XP_141T
   1703    YNAHEAABBJGJF0N62     EAA   S19 XP_141T
   1704    YNAHEAABBJGJF0N9A     EAA   S19 XP_141T
   1705    YNAHEAABBJGJF0N2V     EAA   S19 XP_141T
   1706    YNAHEAABBJGJF0E30     EAA   S19 XP_141T
   1707    YNAHEAABBJGJF0N99     EAA   S19 XP_141T
   1708    HKYQEAABBAACJ00KA     EAA   S19 XP_141T
   1709     YNAHEAABBJGJF0JJ6    EAA   S19 XP_141T
   1710   YNAHEAABBAABA0CN4      EAA   S19 XP_141T
   1711   YNAHEAABBAABA09RM      EAA   S19 XP_141T
   1712   YNAHEAABBAABA0B3M      EAA   S19 XP_141T
   1713   YNAHEAABBAABA0CCG      EAA   S19 XP_141T
   1714   YNAHEAABBAABA0B82      EAA   S19 XP_141T
   1715   YNAHEAABBAABA0CCE      EAA   S19 XP_141T
   1716   YNAHEAABBAABA0BG6      EAA   S19 XP_141T
   1717   YNAHEAABBAABA0BFS      EAA   S19 XP_141T
   1718   YNAHEAABBAABA0BFW      EAA   S19 XP_141T
   1719   YNAHEAABBAABA0CBH      EAA   S19 XP_141T
   1720   YNAHEAABBAABA0B44      EAA   S19 XP_141T
   1721    YNAHEAABBAABA0CBJ     EAA   S19 XP_141T
   1722   YNAHEAABBAABA0BEN      EAA   S19 XP_141T
   1723   YNAHEAABBAABA0B3Z      EAA   S19 XP_141T
   1724   YNAHEAABBAABA0CC4      EAA   S19 XP_141T
   1725   YNAHEAABBABCA1FJW      EAA   S19 XP_141T
   1726   YNAHEAABBAABA0B84      EAA   S19 XP_141T
   1727   YNAHEAABBAABA0CCH      EAA   S19 XP_141T
   1728   YNAHEAABBAABA0CC6      EAA   S19 XP_141T
   1729   YNAHEAABBAABA0B48      EAA   S19 XP_141T
   1730    HKYQEABBCJABD09FH     EAB   S19 XP_134T
   1731   YNAHEAABBAABA0B4C      EAA   S19 XP_141T
   1732   YNAHEAABBAABA0CCF      EAA   S19 XP_141T
   1733    YNAHEAABBAABA0CCJ     EAA   S19 XP_141T
   1734   YNAHEAABBAABA0BNE      EAA   S19 XP_141T
   1735   YNAHEAABBAABA0BFV      EAA   S19 XP_141T
   1736   YNAHEAABBAABA0BG4      EAA   S19 XP_141T
   1737   YNAHEAABBAABA0BG7      EAA   S19 XP_141T
   1738   YNAHEAABBAABA0BFZ      EAA   S19 XP_141T
   1739    HKYQEAABBAACJ00TZ     EAA   S19 XP_141T
   1740   YNAHEAABBAABA10JM      EAA   S19 XP_141T
   1741   YNAHEAABBAABA0BG0      EAA   S19 XP_141T
   1742    YNAHEAABBAABA10JK     EAA   S19 XP_141T
   1743   YNAHEAABBAABA10TC      EAA   S19 XP_141T
   1744    YNAHEAABBAABA10J9     EAA   S19 XP_141T
   1745    YNAHEAABBAABA10JC     EAA   S19 XP_141T
   1746    YNAHEAABBAABA10J6     EAA   S19 XP_141T
   1747   YNAHEAABBAABA10T7      EAA   S19 XP_141T
   1748    YNAHEAABBAABA10JJ     EAA   S19 XP_141T
   1749    YNAHEAABBAABA10JF     EAA   S19 XP_141T
   1750    YNAHEAABBAABA10JL     EAA   S19 XP_141T



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   1751    YNAHEAABBAJAJ04J9    EAA   S19 XP_141T
   1752   YNAHEAABBAABA10JH     EAA   S19 XP_141T
   1753   YNAHEAABBAABA10JD     EAA   S19 XP_141T
   1754   YNAHEAABBAABA10J5     EAA   S19 XP_141T
   1755    YNAHEAABBAJAJ04KT    EAA   S19 XP_141T
   1756    YNAHEAABBAJAJ04KR    EAA   S19 XP_141T
   1757    YNAHEAABBAJAJ04JC    EAA   S19 XP_141T
   1758   YNAHEAABBAABA10J8     EAA   S19 XP_141T
   1759    YNAHEAABBAABA10JE    EAA   S19 XP_141T
   1760   YNAHEAABBAABA10J7     EAA   S19 XP_141T
   1761   YNAHEAABBABCA066C     EAA   S19 XP_141T
   1762   YNAHEAABBABCA062S     EAA   S19 XP_141T
   1763   YNAHEAABBABCA05YZ     EAA   S19 XP_141T
   1764   YNAHEAABBAABA10J4     EAA   S19 XP_141T
   1765    YNAHEAABBAJAJ04JD    EAA   S19 XP_141T
   1766   YNAHEAABBABCA062R     EAA   S19 XP_141T
   1767   YNAHEAABBABCA062B     EAA   S19 XP_141T
   1768    YNAHEAABBAJAJ04J6    EAA   S19 XP_141T
   1769   YNAHEAABBABCA062M     EAA   S19 XP_141T
   1770   YNAHEAABBABCA066H     EAA   S19 XP_141T
   1771   YNAHEAABBABCA066B     EAA   S19 XP_141T
   1772    YNAHEAABBABCA061J    EAA   S19 XP_141T
   1773   YNAHEAABBABCA07DH     EAA   S19 XP_141T
   1774   YNAHEAABBABCA07DG     EAA   S19 XP_141T
   1775   NGSBEAABCJDAA071D     EAA   S19 XP_141T
   1776   YNAHEAABBABCA066F     EAA   S19 XP_141T
   1777   YNAHEAABBABCA062N     EAA   S19 XP_141T
   1778   YNAHEAABBABCA062L     EAA   S19 XP_141T
   1779   YNAHEAABBABCA060R     EAA   S19 XP_141T
   1780    HKYQEAABBAACJ02A8    EAA   S19 XP_141T
   1781   YNAHEAABBABCA061K     EAA   S19 XP_141T
   1782   YNAHEAABBABCA03Y3     EAA   S19 XP_141T
   1783    YNAHEAABBAJAJ00SD    EAA   S19 XP_141T
   1784   YNAHEAABBAJAJ00TM     EAA   S19 XP_141T
   1785    YNAHEAABBAJAJ00SB    EAA   S19 XP_141T
   1786    YNAHEAABBAJAJ00S5    EAA   S19 XP_141T
   1787   YNAHEAABBABCA05BP     EAA   S19 XP_141T
   1788   YNAHEAABBABCA040G     EAA   S19 XP_141T
   1789    YNAHEAABBAJAJ00VS    EAA   S19 XP_141T
   1790   YNAHEAABBABCA03XL     EAA   S19 XP_141T
   1791   YNAHEAABBABCA05BK     EAA   S19 XP_141T
   1792   YNAHEAABBABCA05BR     EAA   S19 XP_141T
   1793   YNAHEABBBAJCA15MZ     EAB   S19 XP_134T
   1794   YNAHEAABBABCA0406     EAA   S19 XP_141T
   1795   YNAHEAABBABCA03XN     EAA   S19 XP_141T
   1796   YNAHEAABBABCA040C     EAA   S19 XP_141T
   1797   YNAHEAABBABCA0551     EAA   S19 XP_141T
   1798   YNAHEAABBABCA03Z7     EAA   S19 XP_141T
   1799   YNAHEAABBABCA05BE     EAA   S19 XP_141T
   1800    YNAHEAABBAJAJ00RV    EAA   S19 XP_141T



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   1801   YNAHEAABBABCA040M     EAA   S19 XP_141T
   1802   YNAHEAABBABCA05B7     EAA   S19 XP_141T
   1803   YNAHEAABBABCA055B     EAA   S19 XP_141T
   1804    YNAHEAABBABCA0J2T    EAA   S19 XP_141T
   1805   YNAHEAABBABCA05BT     EAA   S19 XP_141T
   1806   YNAHEABBBABCA153N     EAB   S19 XP_134T
   1807   YNAHEABBBABCA16VA     EAB   S19 XP_134T
   1808   YNAHEABBBABCA16X5     EAB   S19 XP_134T
   1809   YNAHEABBBABCA16X6     EAB   S19 XP_134T
   1810   YNAHEABBBABCA170X     EAB   S19 XP_134T
   1811   YNAHEAABBAABA0KSN     EAA   S19 XP_141T
   1812   YNAHEABBBABCA1714     EAB   S19 XP_134T
   1813   YNAHEABBBABCA170T     EAB   S19 XP_134T
   1814   YNAHEABBBABCA16YC     EAB   S19 XP_134T
   1815   YNAHEABBBABCA16YK     EAB   S19 XP_134T
   1816   YNAHEABBBABCA16RA     EAB   S19 XP_134T
   1817   YNAHEABBBABCA16Y1     EAB   S19 XP_134T
   1818    YNAHEABBCJABD0PLP    EAB   S19 XP_134T
   1819   YNAHEABBBABCA16X4     EAB   S19 XP_134T
   1820   YNAHEABBBABCA16PY     EAB   S19 XP_134T
   1821   YNAHEABBBABCA16YB     EAB   S19 XP_134T
   1822    YNAHEABBBABCA16S5    EAB   S19 XP_134T
   1823   YNAHEABBBABCA16XZ     EAB   S19 XP_134T
   1824   YNAHEABBBABCA171H     EAB   S19 XP_134T
   1825   YNAHEABBBABCA15FD     EAB   S19 XP_134T
   1826   YNAHEABBBABCA15CV     EAB   S19 XP_134T
   1827    YNAHEABBBABCA171J    EAB   S19 XP_134T
   1828   YNAHEABBBABCA171G     EAB   S19 XP_134T
   1829   YNAHEABBBABCA16RX     EAB   S19 XP_134T
   1830   YNAHEABBCJABD0PMN     EAB   S19 XP_134T
   1831   YNAHEABBBAJCA15RW     EAB   S19 XP_134T
   1832   YNAHEABBCJABD0PMB     EAB   S19 XP_134T
   1833   YNAHEABBCJABD0PMA     EAB   S19 XP_134T
   1834    YNAHEABBCJABD0PLS    EAB   S19 XP_134T
   1835    YNAHEABBCJABD0PHK    EAB   S19 XP_134T
   1836   YNAHEABBCJABD0PME     EAB   S19 XP_134T
   1837   YNAHEABBCJABD0PMV     EAB   S19 XP_134T
   1838   YNAHEABBCJABD0PMT     EAB   S19 XP_134T
   1839   YNAHEABBCJABD0PMS     EAB   S19 XP_134T
   1840   YNAHEABBCJABD0PM8     EAB   S19 XP_134T
   1841    YNAHEABBCJABD0S7B    EAB   S19 XP_134T
   1842   YNAHEABBBABCA14TR     EAB   S19 XP_134T
   1843   YNAHEABBBABCA14PX     EAB   S19 XP_134T
   1844   YNAHEABBBABCA14YH     EAB   S19 XP_134T
   1845   YNAHEABBBABCA14T2     EAB   S19 XP_134T
   1846   YNAHEABBCJABD0PMR     EAB   S19 XP_134T
   1847    YNAHEABBCJABD0PHL    EAB   S19 XP_134T
   1848   YNAHEABBBABCA14WA     EAB   S19 XP_134T
   1849   YNAHEABBBABCA14P0     EAB   S19 XP_134T
   1850   YNAHEABBBABCA14PE     EAB   S19 XP_134T



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   1851   YNAHEABBBABCA14NB      EAB   S19 XP_134T
   1852    YNAHEABBBABCA14T0     EAB   S19 XP_134T
   1853   YNAHEABBBABCA14RK      EAB   S19 XP_134T
   1854   YNAHEABBBABCA11DR      EAB   S19 XP_134T
   1855   YNAHEABBBABCA1365      EAB   S19 XP_134T
   1856    YNAHEABBBABCA136J     EAB   S19 XP_134T
   1857    YNAHEABBBABCA152J     EAB   S19 XP_134T
   1858   YNAHEABBBABCA12KC      EAB   S19 XP_134T
   1859   YNAHEABBBABCA151B      EAB   S19 XP_134T
   1860    YNAHEABBBABCA15FC     EAB   S19 XP_134T
   1861   YNAHEAABBAABA0KPZ      EAA   S19 XP_141T
   1862    YNAHEABBBABCA15FF     EAB   S19 XP_134T
   1863   YNAHEABBBABCA15H6      EAB   S19 XP_134T
   1864   YNAHEABBBABCA15EK      EAB   S19 XP_134T
   1865   YNAHEABBBABCA15FB      EAB   S19 XP_134T
   1866    YNAHEABBBABCA15JS     EAB   S19 XP_134T
   1867    YNAHEABBBABCA15JR     EAB   S19 XP_134T
   1868    YNAHEABBBABCA15CZ     EAB   S19 XP_134T
   1869   YNAHEABBBABCA15D2      EAB   S19 XP_134T
   1870     HKYQEAABCJAJC01LK    EAA   S19 XP_141T
   1871   YNAHEAABBAABA0KPW      EAA   S19 XP_141T
   1872    YNAHEABBCJABD0RCE     EAB   S19 XP_134T
   1873    YNAHEABBCJABD0RD0     EAB   S19 XP_134T
   1874    YNAHEABBCJABD0RB3     EAB   S19 XP_134T
   1875   YNAHEABBCJABD0RBW      EAB   S19 XP_134T
   1876    YNAHEABBBABCA15JP     EAB   S19 XP_134T
   1877    YNAHEABBBABCA15FE     EAB   S19 XP_134T
   1878    YNAHEABBCJABD0S7V     EAB   S19 XP_134T
   1879   YNAHEAABBABCA0KZ9      EAA   S19 XP_141T
   1880     HKYQEAABCJAJC06JA    EAA   S19 XP_141T
   1881    HKYQEAABCJAJC021M     EAA   S19 XP_141T
   1882   YNAHEAABBAABA08TS      EAA   S19 XP_141T
   1883   YNAHEAABBABCA1FHG      EAA   S19 XP_141T
   1884    YNAHEABBBABCA14TP     EAB   S19 XP_134T
   1885    YNAHEABBBABCA13FJ     EAB   S19 XP_134T
   1886   YNAHEABBBABCA1502      EAB   S19 XP_134T
   1887   YNAHEABBBABCA14SV      EAB   S19 XP_134T
   1888    YNAHEABBBABCA13FL     EAB   S19 XP_134T
   1889    YNAHEABBBABCA0REL     EAB   S19 XP_134T
   1890   YNAHEABBBAJCA0VYM      EAB   S19 XP_134T
   1891   YNAHEABBBABCA0RNC      EAB   S19 XP_134T
   1892    HKYQEABBCJCAH00SF     EAB   S19 XP_134T
   1893   YNAHEABBBABCA16V1      EAB   S19 XP_134T
   1894    YNAHEABBBAJBH059J     EAB   S19 XP_134T
   1895    YNAHEABBBAJCA0T5D     EAB   S19 XP_134T
   1896    YNAHEABBBAJCA0T6X     EAB   S19 XP_134T
   1897    YNAHEABBBAJCA0T5T     EAB   S19 XP_134T
   1898    YNAHEABBBAJCA0T8T     EAB   S19 XP_134T
   1899   YNAHEABBBAJCA0V6M      EAB   S19 XP_134T
   1900    YNAHEABBBAJCA0T58     EAB   S19 XP_134T



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   1901    YNAHEABBBAJCA0T5V    EAB   S19 XP_134T
   1902    YNAHEABBBABCA14SS    EAB   S19 XP_134T
   1903    YNAHEABBBAJCA0T6K    EAB   S19 XP_134T
   1904   YNAHEABBBAJCA0T5M     EAB   S19 XP_134T
   1905   YNAHEABBBAJCA0T6M     EAB   S19 XP_134T
   1906    YNAHEABBBAJCA0T5Z    EAB   S19 XP_134T
   1907    YNAHEABBBAJCA0T56    EAB   S19 XP_134T
   1908   YNAHEABBBABCA13GX     EAB   S19 XP_134T
   1909   YNAHEABBBABCA13G9     EAB   S19 XP_134T
   1910    YNAHEABBBABCA1362    EAB   S19 XP_134T
   1911   YNAHEABBBABCA13GV     EAB   S19 XP_134T
   1912   YNAHEABBBABCA13G2     EAB   S19 XP_134T
   1913    YNAHEABBBABCA15F2    EAB   S19 XP_134T
   1914    YNAHEABBBABCA15CY    EAB   S19 XP_134T
   1915    YNAHEABBBABCA138F    EAB   S19 XP_134T
   1916   YNAHEABBBABCA15CW     EAB   S19 XP_134T
   1917   YNAHEABBBABCA15A4     EAB   S19 XP_134T
   1918    YNAHEABBBABCA159S    EAB   S19 XP_134T
   1919   YNAHEABBBABCA15AP     EAB   S19 XP_134T
   1920   YNAHEABBBABCA14WN     EAB   S19 XP_134T
   1921    HKYQEABBCJCAH04YJ    EAB   S19 XP_134T
   1922    HKYQEABBCJCAH044L    EAB   S19 XP_134T
   1923    HKYQEABBCJCAH00BC    EAB   S19 XP_134T
   1924   HKYQEABBCJCAH04WR     EAB   S19 XP_134T
   1925    YNAHEABBBAJCA048R    EAB   S19 XP_134T
   1926    HKYQEABBCJCAH01E4    EAB   S19 XP_134T
   1927   YNAHEABBBABCA13HG     EAB   S19 XP_134T
   1928    YNAHEABBBABCA159Y    EAB   S19 XP_134T
   1929    YNAHEABBBABCA159T    EAB   S19 XP_134T
   1930    YNAHEABBBABCA15AL    EAB   S19 XP_134T
   1931    YNAHEABBBAJCA05RC    EAB   S19 XP_134T
   1932    YNAHEABBCJABD0S45    EAB   S19 XP_134T
   1933    YNAHEABBCJABD0PPN    EAB   S19 XP_134T
   1934    YNAHEABBCJABD0S8R    EAB   S19 XP_134T
   1935    YNAHEABBCJABD0S5C    EAB   S19 XP_134T
   1936    YNAHEABBCJABD0PG0    EAB   S19 XP_134T
   1937    YNAHEABBCJABD0S44    EAB   S19 XP_134T
   1938    YNAHEABBCJABD0PZF    EAB   S19 XP_134T
   1939    YNAHEABBCJABD0PNJ    EAB   S19 XP_134T
   1940    YNAHEABBCJABD0PNK    EAB   S19 XP_134T
   1941    YNAHEABBCJABD0PYD    EAB   S19 XP_134T
   1942   HKYQEABBCJCAH00FW     EAB   S19 XP_134T
   1943    YNAHEABBCJABD0PKC    EAB   S19 XP_134T
   1944   YNAHEABBCJABD0PWB     EAB   S19 XP_134T
   1945    YNAHEABBCJABD0PX6    EAB   S19 XP_134T
   1946    YNAHEABBCJABD0PWJ    EAB   S19 XP_134T
   1947    YNAHEABBCJABD0PX0    EAB   S19 XP_134T
   1948   YNAHEABBBABCA15TM     EAB   S19 XP_134T
   1949    YNAHEABBCJABD0PZK    EAB   S19 XP_134T
   1950   YNAHEABBCJABD0PWA     EAB   S19 XP_134T



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   1951   YNAHEABBCJABD0PWD     EAB   S19 XP_134T
   1952    YNAHEABBCJABD0PX1    EAB   S19 XP_134T
   1953    YNAHEABBCJABD0PYF    EAB   S19 XP_134T
   1954    YNAHEABBCJABD0PZ3    EAB   S19 XP_134T
   1955   YNAHEABBCJABD0PN5     EAB   S19 XP_134T
   1956    YNAHEABBBABCA13JR    EAB   S19 XP_134T
   1957   YNAHEABBBABCA13H2     EAB   S19 XP_134T
   1958   YNAHEABBBABCA13KS     EAB   S19 XP_134T
   1959   YNAHEABBBABCA13CA     EAB   S19 XP_134T
   1960   YNAHEABBBABCA13HP     EAB   S19 XP_134T
   1961   YNAHEABBBAABA02EK     EAB   S19 XP_134T
   1962    YNAHEABBBABCA13LJ    EAB   S19 XP_134T
   1963   YNAHEABBBABCA13LR     EAB   S19 XP_134T
   1964   YNAHEABBBABCA13X4     EAB   S19 XP_134T
   1965    YNAHEABBBABCA13L4    EAB   S19 XP_134T
   1966   YNAHEABBBABCA13KV     EAB   S19 XP_134T
   1967   YNAHEABBBABCA13M6     EAB   S19 XP_134T
   1968    HKYQEABBCJABD09ET    EAB   S19 XP_134T
   1969   YNAHEABBBABCA0MJ1     EAB   S19 XP_134T
   1970   YNAHEABBBABCA14YV     EAB   S19 XP_134T
   1971   YNAHEABBBABCA14Y1     EAB   S19 XP_134T
   1972   YNAHEABBBABCA14WR     EAB   S19 XP_134T
   1973    YNAHEABBBABCA14YF    EAB   S19 XP_134T
   1974   YNAHEABBBABCA14S3     EAB   S19 XP_134T
   1975   YNAHEABBBABCA14R4     EAB   S19 XP_134T
   1976    YNAHEABBBAJCA05PX    EAB   S19 XP_134T
   1977   YNAHEABBBABCA14S2     EAB   S19 XP_134T
   1978   YNAHEABBBABCA14RZ     EAB   S19 XP_134T
   1979   YNAHEABBBABCA14WC     EAB   S19 XP_134T
   1980   YNAHEABBBABCA14R3     EAB   S19 XP_134T
   1981   YNAHEABBBABCA14SR     EAB   S19 XP_134T
   1982    YNAHEABBBABCA14TL    EAB   S19 XP_134T
   1983   YNAHEABBBABCA14RX     EAB   S19 XP_134T
   1984   YNAHEABBBABCA14WE     EAB   S19 XP_134T
   1985   YNAHEABBBABCA14WB     EAB   S19 XP_134T
   1986   YNAHEABBBABCA14P1     EAB   S19 XP_134T
   1987   YNAHEABBBABCA14RG     EAB   S19 XP_134T
   1988   YNAHEABBBABCA14S8     EAB   S19 XP_134T
   1989   YNAHEABBBABCA14PK     EAB   S19 XP_134T
   1990   YNAHEABBBABCA14W8     EAB   S19 XP_134T
   1991   YNAHEABBBABCA14RH     EAB   S19 XP_134T
   1992   YNAHEABBBABCA13HN     EAB   S19 XP_134T
   1993   HKYQEABBCJABD09FW     EAB   S19 XP_134T
   1994    YNAHEABBBABCA13J0    EAB   S19 XP_134T
   1995    YNAHEABBBABCA13L2    EAB   S19 XP_134T
   1996    YNAHEABBBABCA13J3    EAB   S19 XP_134T
   1997    YNAHEABBBABCA13L5    EAB   S19 XP_134T
   1998   YNAHEABBBABCA13KZ     EAB   S19 XP_134T
   1999    HKYQEABBCJABD09J1    EAB   S19 XP_134T
   2000   YNAHEABBBABCA13M8     EAB   S19 XP_134T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2     Filed: 07/08/24   Page: 41 of 69 PageID #:
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   2001   YNAHEABBBABCA13LW     EAB   S19 XP_134T
   2002   YNAHEABBBABCA13M9     EAB   S19 XP_134T
   2003    YNAHEABBBABCA13L3    EAB   S19 XP_134T
   2004    YNAHEABBBAJCA019K    EAB   S19 XP_134T
   2005    YNAHEABBBAJCA048F    EAB   S19 XP_134T
   2006    YNAHEABBBAJCA05A6    EAB   S19 XP_134T
   2007    YNAHEABBBAJCA0465    EAB   S19 XP_134T
   2008   YNAHEABBBAABA02EZ     EAB   S19 XP_134T
   2009   YNAHEABBBAABA02F1     EAB   S19 XP_134T
   2010   YNAHEABBBAABA02FV     EAB   S19 XP_134T
   2011   YNAHEABBBAABA02F0     EAB   S19 XP_134T
   2012   YNAHEABBBAABA02EG     EAB   S19 XP_134T
   2013   YNAHEABBBAABA02DZ     EAB   S19 XP_134T
   2014   YNAHEABBBAABA02FW     EAB   S19 XP_134T
   2015   YNAHEABBBAABA02FT     EAB   S19 XP_134T
   2016   YNAHEABBBAABA02F3     EAB   S19 XP_134T
   2017   YNAHEABBBAABA02F4     EAB   S19 XP_134T
   2018   YNAHEABBBAABA02FP     EAB   S19 XP_134T
   2019   YNAHEABBBAABA02EY     EAB   S19 XP_134T
   2020    YNAHEABBBAJCA05A7    EAB   S19 XP_134T
   2021    YNAHEABBBAJCA05AC    EAB   S19 XP_134T
   2022   YNAHEABBBAABA02F2     EAB   S19 XP_134T
   2023   YNAHEABBBAABA02FR     EAB   S19 XP_134T
   2024   YNAHEABBBAABA02G8     EAB   S19 XP_134T
   2025   YNAHEABBBABCA14XZ     EAB   S19 XP_134T
   2026   YNAHEABBBAABA02EX     EAB   S19 XP_134T
   2027   YNAHEABBBAABA02EW     EAB   S19 XP_134T
   2028   YNAHEABBBABCA0RDD     EAB   S19 XP_134T
   2029   YNAHEABBBABCA0PT7     EAB   S19 XP_134T
   2030   HKYQEABBCJABD06NG     EAB   S19 XP_134T
   2031   YNAHEABBBABCA0RZP     EAB   S19 XP_134T
   2032   YNAHEABBBABCA0RZT     EAB   S19 XP_134T
   2033   YNAHEABBBABCA0LRV     EAB   S19 XP_134T
   2034   YNAHEABBBABCA0HR6     EAB   S19 XP_134T
   2035   YNAHEABBBABCA0FMY     EAB   S19 XP_134T
   2036   YNAHEABBBABCA0HPK     EAB   S19 XP_134T
   2037   YNAHEABBBABCA0S55     EAB   S19 XP_134T
   2038   YNAHEABBBABCA0HNV     EAB   S19 XP_134T
   2039    YNAHEABBBABCA0J3F    EAB   S19 XP_134T
   2040   YNAHEABBBABCA0HPJ     EAB   S19 XP_134T
   2041   YNAHEABBBABCA0TA3     EAB   S19 XP_134T
   2042   YNAHEABBBABCA15AT     EAB   S19 XP_134T
   2043   YNAHEABBBABCA0HR8     EAB   S19 XP_134T
   2044   YNAHEABBBABCA0HNY     EAB   S19 XP_134T
   2045   YNAHEABBBABCA0H1P     EAB   S19 XP_134T
   2046   YNAHEABBBABCA0FN0     EAB   S19 XP_134T
   2047   YNAHEABBBABCA0HPN     EAB   S19 XP_134T
   2048   YNAHEABBBABCA0HPP     EAB   S19 XP_134T
   2049   YNAHEABBBABCA0HPR     EAB   S19 XP_134T
   2050   YNAHEABBBABCA0T47     EAB   S19 XP_134T



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   2051   YNAHEABBBABCA0H1N     EAB   S19 XP_134T
   2052   YNAHEABBBABCA1366     EAB   S19 XP_134T
   2053   YNAHEABBBABCA14WS     EAB   S19 XP_134T
   2054   YNAHEABBBABCA159M     EAB   S19 XP_134T
   2055   YNAHEABBBABCA152P     EAB   S19 XP_134T
   2056    YNAHEABBBABCA14ZJ    EAB   S19 XP_134T
   2057   YNAHEABBBABCA11R1     EAB   S19 XP_134T
   2058   YNAHEABBBABCA11R5     EAB   S19 XP_134T
   2059   YNAHEABBBABCA11LH     EAB   S19 XP_134T
   2060    YNAHEABBBABCA11LP    EAB   S19 XP_134T
   2061   YNAHEABBBABCA11RH     EAB   S19 XP_134T
   2062    YNAHEABBBABCA11RJ    EAB   S19 XP_134T
   2063   YNAHEABBBABCA10BW     EAB   S19 XP_134T
   2064   YNAHEABBBABCA0MFS     EAB   S19 XP_134T
   2065    YNAHEABBBABCA11L8    EAB   S19 XP_134T
   2066   YNAHEABBBABCA11M1     EAB   S19 XP_134T
   2067   YNAHEABBBABCA11RG     EAB   S19 XP_134T
   2068   YNAHEABBBABCA11R0     EAB   S19 XP_134T
   2069    HKYQEABBCJABD09E4    EAB   S19 XP_134T
   2070   YNAHEABBBABCA11MD     EAB   S19 XP_134T
   2071   YNAHEABBBABCA11KE     EAB   S19 XP_134T
   2072   YNAHEABBBABCA11KD     EAB   S19 XP_134T
   2073    YNAHEABBBABCA11L6    EAB   S19 XP_134T
   2074    HKYQEABBCJABD0993    EAB   S19 XP_134T
   2075    HKYQEABBCJABD097L    EAB   S19 XP_134T
   2076   YNAHEABBBAJCA0MRF     EAB   S19 XP_134T
   2077   YNAHEABBBAJCA0MRH     EAB   S19 XP_134T
   2078   YNAHEABBBAJCA0MR3     EAB   S19 XP_134T
   2079   YNAHEABBBAJCA0M9P     EAB   S19 XP_134T
   2080   YNAHEABBBAJCA0MXM     EAB   S19 XP_134T
   2081   YNAHEABBBAABA0BS9     EAB   S19 XP_134T
   2082   YNAHEABBBAABA0BRZ     EAB   S19 XP_134T
   2083   YNAHEABBBAABA0ERC     EAB   S19 XP_134T
   2084   YNAHEABBBAABA0EV3     EAB   S19 XP_134T
   2085   YNAHEABBBAABA0ERE     EAB   S19 XP_134T
   2086   YNAHEABBBAABA0BS3     EAB   S19 XP_134T
   2087   YNAHEABBBAABA0GE8     EAB   S19 XP_134T
   2088   YNAHEABBBAABA0EV7     EAB   S19 XP_134T
   2089   YNAHEABBBAABA0BSA     EAB   S19 XP_134T
   2090   YNAHEABBBAABA0EV5     EAB   S19 XP_134T
   2091   YNAHEABBBAABA0BSB     EAB   S19 XP_134T
   2092   YNAHEABBBAABA0GK6     EAB   S19 XP_134T
   2093   YNAHEABBBAJCA0N5M     EAB   S19 XP_134T
   2094   YNAHEABBBAABA0BS8     EAB   S19 XP_134T
   2095   YNAHEABBBAABA0BS0     EAB   S19 XP_134T
   2096   YNAHEABBBAABA0GA9     EAB   S19 XP_134T
   2097   YNAHEABBBAABA0GJX     EAB   S19 XP_134T
   2098   YNAHEABBBAABA0GE6     EAB   S19 XP_134T
   2099   YNAHEABBBAABA0BS2     EAB   S19 XP_134T
   2100   YNAHEABBBABCA14VX     EAB   S19 XP_134T



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   2101   YNAHEABBBABCA14YD     EAB   S19 XP_134T
   2102   YNAHEABBBABCA14V8     EAB   S19 XP_134T
   2103   YNAHEABBBABCA14SD     EAB   S19 XP_134T
   2104   YNAHEABBBABCA14VH     EAB   S19 XP_134T
   2105   YNAHEABBBABCA13D1     EAB   S19 XP_134T
   2106    YNAHEABBBABCA13BL    EAB   S19 XP_134T
   2107   YNAHEABBBABCA13DZ     EAB   S19 XP_134T
   2108   YNAHEABBBABCA13C0     EAB   S19 XP_134T
   2109   YNAHEABBBABCA13DW     EAB   S19 XP_134T
   2110   YNAHEABBBABCA13DX     EAB   S19 XP_134T
   2111   YNAHEABBBABCA14V1     EAB   S19 XP_134T
   2112   YNAHEABBBABCA13CG     EAB   S19 XP_134T
   2113   YNAHEABBBABCA13EB     EAB   S19 XP_134T
   2114   YNAHEABBBABCA15NP     EAB   S19 XP_134T
   2115   YNAHEABBBABCA13DT     EAB   S19 XP_134T
   2116   YNAHEABBBABCA13EA     EAB   S19 XP_134T
   2117    YNAHEABBBABCA13BZ    EAB   S19 XP_134T
   2118   YNAHEABBBABCA0RRH     EAB   S19 XP_134T
   2119   YNAHEABBBABCA0PNL     EAB   S19 XP_134T
   2120    YNAHEABBBABCA0S85    EAB   S19 XP_134T
   2121    YNAHEABBBABCA0T3S    EAB   S19 XP_134T
   2122   YNAHEABBBABCA0PN3     EAB   S19 XP_134T
   2123   YNAHEABBBABCA0S2H     EAB   S19 XP_134T
   2124   YNAHEABBBABCA0MFP     EAB   S19 XP_134T
   2125   YNAHEABBBABCA0K0H     EAB   S19 XP_134T
   2126   YNAHEABBBABCA0RAF     EAB   S19 XP_134T
   2127   YNAHEABBBABCA0HPH     EAB   S19 XP_134T
   2128   YNAHEABBBABCA0PDT     EAB   S19 XP_134T
   2129   YNAHEABBBABCA0RBX     EAB   S19 XP_134T
   2130    YNAHEABBBABCA13E8    EAB   S19 XP_134T
   2131   YNAHEABBBABCA13C5     EAB   S19 XP_134T
   2132   YNAHEABBBABCA138X     EAB   S19 XP_134T
   2133   YNAHEABBBABCA13DK     EAB   S19 XP_134T
   2134   YNAHEABBBABCA13C6     EAB   S19 XP_134T
   2135    YNAHEABBBABCA13E3    EAB   S19 XP_134T
   2136    YNAHEABBBABCA0S5J    EAB   S19 XP_134T
   2137    YNAHEABBBABCA0S2F    EAB   S19 XP_134T
   2138    YNAHEABBBABCA0T45    EAB   S19 XP_134T
   2139   YNAHEABBBABCA0HPT     EAB   S19 XP_134T
   2140    YNAHEABBBABCA0LSF    EAB   S19 XP_134T
   2141    YNAHEABBBABCA0NLS    EAB   S19 XP_134T
   2142   YNAHEABBBABCA0RZW     EAB   S19 XP_134T
   2143    YNAHEABBBABCA0JTP    EAB   S19 XP_134T
   2144   YNAHEABBBABCA0PVV     EAB   S19 XP_134T
   2145   YNAHEABBBABCA0NCX     EAB   S19 XP_134T
   2146   YNAHEABBBABCA0PVN     EAB   S19 XP_134T
   2147    YNAHEABBBABCA0JTF    EAB   S19 XP_134T
   2148    YNAHEABBBAJBH07E8    EAB   S19 XP_134T
   2149    YNAHEABBBAJBH064G    EAB   S19 XP_134T
   2150    YNAHEABBBAJCA03SC    EAB   S19 XP_134T



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   2151   YNAHEABBBAJBH07E3     EAB   S19 XP_134T
   2152   YNAHEABBBAJCA0498     EAB   S19 XP_134T
   2153   YNAHEABBBAJBH08ZC     EAB   S19 XP_134T
   2154   YNAHEABBBAJBH07E4     EAB   S19 XP_134T
   2155   YNAHEABBBAJCA0H6L     EAB   S19 XP_134T
   2156   YNAHEABBBAJBH08T1     EAB   S19 XP_134T
   2157   YNAHEABBBAJCA04W8     EAB   S19 XP_134T
   2158    YNAHEABBBAJCA0LF3    EAB   S19 XP_134T
   2159   YNAHEABBBAJCA0PDZ     EAB   S19 XP_134T
   2160   YNAHEABBBAJCA0B5N     EAB   S19 XP_134T
   2161   YNAHEABBBAJCA01R4     EAB   S19 XP_134T
   2162    YNAHEABBBAJCA04F3    EAB   S19 XP_134T
   2163   YNAHEABBBAJCA162G     EAB   S19 XP_134T
   2164    YNAHEABBBAJCA0LFJ    EAB   S19 XP_134T
   2165   YNAHEABBBAJBH090R     EAB   S19 XP_134T
   2166   YNAHEABBBAJCA0NFW     EAB   S19 XP_134T
   2167   YNAHEABBBAJCA08RY     EAB   S19 XP_134T
   2168   YNAHEABBBAJCA0H6M     EAB   S19 XP_134T
   2169   YNAHEABBBAJCA02X1     EAB   S19 XP_134T
   2170   YNAHEABBBAJCA0KDE     EAB   S19 XP_134T
   2171   YNAHEABBBAJCA030W     EAB   S19 XP_134T
   2172   YNAHEABBBAJCA04DF     EAB   S19 XP_134T
   2173   YNAHEABBBAJCA04DV     EAB   S19 XP_134T
   2174   YNAHEABBBAJCA04DG     EAB   S19 XP_134T
   2175   YNAHEABBBAJBH06FB     EAB   S19 XP_134T
   2176    YNAHEABBBAJCA04DJ    EAB   S19 XP_134T
   2177   YNAHEABBBAJCA15GC     EAB   S19 XP_134T
   2178    YNAHEABBBAJCA15J1    EAB   S19 XP_134T
   2179   YNAHEABBBAJCA15NK     EAB   S19 XP_134T
   2180   YNAHEABBBAJCA15MP     EAB   S19 XP_134T
   2181    YNAHEABBBAJCA145F    EAB   S19 XP_134T
   2182   YNAHEABBBAJCA15MN     EAB   S19 XP_134T
   2183    YNAHEABBBAJCA15J5    EAB   S19 XP_134T
   2184   HKYQEABBCJCAH00PA     EAB   S19 XP_134T
   2185    HKYQEABBCJCAH00RS    EAB   S19 XP_134T
   2186   HKYQEABBCJCAH00NL     EAB   S19 XP_134T
   2187   HKYQEABBCJCAH00P3     EAB   S19 XP_134T
   2188   HKYQEABBCJABD09AN     EAB   S19 XP_134T
   2189   HKYQEABBCJABD09D1     EAB   S19 XP_134T
   2190   HKYQEABBCJCAH00NX     EAB   S19 XP_134T
   2191   YNAHEABBBABCA15AS     EAB   S19 XP_134T
   2192    YNAHEABBBAJCA15J0    EAB   S19 XP_134T
   2193   YNAHEABBBAJCA15NH     EAB   S19 XP_134T
   2194   YNAHEABBBAJCA15MJ     EAB   S19 XP_134T
   2195   YNAHEABBBAJCA1456     EAB   S19 XP_134T
   2196    HKYQEABBCJABD097S    EAB   S19 XP_134T
   2197   YNAHEABBCJABD0RBT     EAB   S19 XP_134T
   2198   YNAHEABBCJABD0RBE     EAB   S19 XP_134T
   2199   YNAHEABBCJABD0RAY     EAB   S19 XP_134T
   2200   YNAHEABBCJABD0RCM     EAB   S19 XP_134T



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                                              103

   2201    YNAHEABBCJABD0RCD    EAB   S19 XP_134T
   2202    YNAHEABBBABCA12A3    EAB   S19 XP_134T
   2203    YNAHEABBBABCA139V    EAB   S19 XP_134T
   2204    YNAHEABBBABCA12CF    EAB   S19 XP_134T
   2205    YNAHEABBBABCA13GL    EAB   S19 XP_134T
   2206    YNAHEABBBABCA14V2    EAB   S19 XP_134T
   2207    YNAHEABBBABCA13EV    EAB   S19 XP_134T
   2208    YNAHEABBBABCA0S27    EAB   S19 XP_134T
   2209    YNAHEABBBABCA0S44    EAB   S19 XP_134T
   2210    YNAHEABBBABCA0S2E    EAB   S19 XP_134T
   2211    HKYQEABBCJCAH0465    EAB   S19 XP_134T
   2212    YNAHEABBBABCA0KKK    EAB   S19 XP_134T
   2213    YNAHEABBBABCA0R66    EAB   S19 XP_134T
   2214   YNAHEABBBABCA0HPG     EAB   S19 XP_134T
   2215    YNAHEABBBABCA0S26    EAB   S19 XP_134T
   2216   YNAHEABBBABCA0NE9     EAB   S19 XP_134T
   2217   HKYQEABBCJABD09EM     EAB   S19 XP_134T
   2218    YNAHEABBBABCA0K0L    EAB   S19 XP_134T
   2219    YNAHEABBBABCA0S63    EAB   S19 XP_134T
   2220    YNAHEABBBABCA0P6L    EAB   S19 XP_134T
   2221    YNAHEABBBABCA0JT2    EAB   S19 XP_134T
   2222    YNAHEABBBABCA0P72    EAB   S19 XP_134T
   2223   YNAHEABBBABCA0MR6     EAB   S19 XP_134T
   2224   YNAHEABBBABCA0MGN     EAB   S19 XP_134T
   2225    YNAHEABBBABCA0P6A    EAB   S19 XP_134T
   2226    HKYQEABBCJCAH01C6    EAB   S19 XP_134T
   2227    YNAHEABBBABCA13B6    EAB   S19 XP_134T
   2228   YNAHEABBBABCA13BD     EAB   S19 XP_134T
   2229    YNAHEABBBABCA13B4    EAB   S19 XP_134T
   2230    YNAHEABBBABCA13B9    EAB   S19 XP_134T
   2231    YNAHEABBBABCA13AY    EAB   S19 XP_134T
   2232    YNAHEABBBABCA14T1    EAB   S19 XP_134T
   2233    YNAHEABBBABCA14PR    EAB   S19 XP_134T
   2234    YNAHEABBBABCA14T5    EAB   S19 XP_134T
   2235    YNAHEABBBABCA14PY    EAB   S19 XP_134T
   2236    YNAHEABBBABCA14TZ    EAB   S19 XP_134T
   2237    YNAHEABBBABCA14SZ    EAB   S19 XP_134T
   2238   YNAHEABBBABCA13GP     EAB   S19 XP_134T
   2239   YNAHEABBBABCA13GG     EAB   S19 XP_134T
   2240    HKYQEABBCJCAH002N    EAB   S19 XP_134T
   2241   YNAHEABBBABCA139W     EAB   S19 XP_134T
   2242   YNAHEABBBABCA13GM     EAB   S19 XP_134T
   2243    YNAHEABBBABCA13ES    EAB   S19 XP_134T
   2244   YNAHEABBBABCA0KKN     EAB   S19 XP_134T
   2245    YNAHEABBBABCA0S46    EAB   S19 XP_134T
   2246    YNAHEABBBABCA0S2B    EAB   S19 XP_134T
   2247   YNAHEABBBABCA0KMR     EAB   S19 XP_134T
   2248    YNAHEABBBABCA0KKE    EAB   S19 XP_134T
   2249   YNAHEABBBABCA0KMA     EAB   S19 XP_134T
   2250    YNAHEABBBABCA0LV7    EAB   S19 XP_134T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2      Filed: 07/08/24   Page: 46 of 69 PageID #:
                                              104

   2251    YNAHEABBBABCA0S3E    EAB   S19 XP_134T
   2252    YNAHEABBBABCA0S29    EAB   S19 XP_134T
   2253   YNAHEABBBABCA0NNM     EAB   S19 XP_134T
   2254    YNAHEABBBABCA0S4A    EAB   S19 XP_134T
   2255    YNAHEABBBABCA0JYE    EAB   S19 XP_134T
   2256    HKYQEABBCJABD098F    EAB   S19 XP_134T
   2257    YNAHEABBBABCA0T3C    EAB   S19 XP_134T
   2258    YNAHEABBBABCA0T4X    EAB   S19 XP_134T
   2259    YNAHEABBBABCA0T52    EAB   S19 XP_134T
   2260    YNAHEABBBABCA0T48    EAB   S19 XP_134T
   2261    YNAHEABBBABCA0P37    EAB   S19 XP_134T
   2262    YNAHEABBBABCA0P35    EAB   S19 XP_134T
   2263    YNAHEABBBABCA0P73    EAB   S19 XP_134T
   2264    YNAHEABBBABCA0NYS    EAB   S19 XP_134T
   2265   YNAHEABBBABCA0MR0     EAB   S19 XP_134T
   2266   YNAHEABBBABCA0JW7     EAB   S19 XP_134T
   2267   YNAHEABBBABCA0NYV     EAB   S19 XP_134T
   2268    YNAHEABBBABCA0P6D    EAB   S19 XP_134T
   2269   YNAHEABBBABCA0MGY     EAB   S19 XP_134T
   2270   YNAHEABBBABCA0NYN     EAB   S19 XP_134T
   2271    YNAHEABBBABCA0NYT    EAB   S19 XP_134T
   2272    YNAHEABBBABCA0P6C    EAB   S19 XP_134T
   2273    YNAHEABBBABCA0LRY    EAB   S19 XP_134T
   2274   YNAHEABBBABCA0SWK     EAB   S19 XP_134T
   2275   YNAHEABBBABCA0SWN     EAB   S19 XP_134T
   2276    YNAHEABBBABCA0T0E    EAB   S19 XP_134T
   2277    HKYQEABBCJCAH043E    EAB   S19 XP_134T
   2278    YNAHEABBBABCA0LRZ    EAB   S19 XP_134T
   2279   YNAHEABBBABCA0CRA     EAB   S19 XP_134T
   2280    YNAHEABBBABCA0CRF    EAB   S19 XP_134T
   2281    YNAHEABBBABCA0CRJ    EAB   S19 XP_134T
   2282    YNAHEABBBABCA0CS8    EAB   S19 XP_134T
   2283    YNAHEABBBABCA0CX1    EAB   S19 XP_134T
   2284   YNAHEABBBABCA0CPW     EAB   S19 XP_134T
   2285   YNAHEABBBABCA0NDF     EAB   S19 XP_134T
   2286   YNAHEABBBABCA0N7K     EAB   S19 XP_134T
   2287    YNAHEABBBABCA0CRC    EAB   S19 XP_134T
   2288   YNAHEABBBABCA0CRG     EAB   S19 XP_134T
   2289    YNAHEABBBABCA0CPR    EAB   S19 XP_134T
   2290    YNAHEABBBABCA0CSG    EAB   S19 XP_134T
   2291   YNAHEABBBABCA0CRH     EAB   S19 XP_134T
   2292    YNAHEABBBABCA0CSE    EAB   S19 XP_134T
   2293    YNAHEABBBABCA0CR2    EAB   S19 XP_134T
   2294   YNAHEABBBABCA0CRM     EAB   S19 XP_134T
   2295    YNAHEABBBABCA0CS9    EAB   S19 XP_134T
   2296    YNAHEABBBABCA0CRB    EAB   S19 XP_134T
   2297    YNAHEABBBABCA14TG    EAB   S19 XP_134T
   2298    YNAHEABBBABCA14XE    EAB   S19 XP_134T
   2299    YNAHEABBBABCA14Y5    EAB   S19 XP_134T
   2300    HKYQEABBCJABD09G6    EAB   S19 XP_134T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2      Filed: 07/08/24   Page: 47 of 69 PageID #:
                                              105

   2301    YNAHEABBBABCA14T9    EAB   S19 XP_134T
   2302   YNAHEABBBABCA14VG     EAB   S19 XP_134T
   2303   YNAHEABBBABCA13GH     EAB   S19 XP_134T
   2304    YNAHEABBBABCA13L8    EAB   S19 XP_134T
   2305    YNAHEABBBABCA13F9    EAB   S19 XP_134T
   2306   YNAHEABBBABCA12TA     EAB   S19 XP_134T
   2307    YNAHEABBBABCA12FV    EAB   S19 XP_134T
   2308    YNAHEABBBABCA12AS    EAB   S19 XP_134T
   2309   YNAHEABBBABCA16TW     EAB   S19 XP_134T
   2310   YNAHEABBBABCA16XA     EAB   S19 XP_134T
   2311   YNAHEABBBABCA16WH     EAB   S19 XP_134T
   2312    YNAHEABBBABCA16X8    EAB   S19 XP_134T
   2313   YNAHEABBBABCA16XB     EAB   S19 XP_134T
   2314   YNAHEABBBABCA16VM     EAB   S19 XP_134T
   2315    YNAHEABBBABCA16XY    EAB   S19 XP_134T
   2316    YNAHEABBBABCA16TZ    EAB   S19 XP_134T
   2317   YNAHEABBBABCA16XV     EAB   S19 XP_134T
   2318   YNAHEABBBABCA16VG     EAB   S19 XP_134T
   2319   YNAHEABBBABCA16V9     EAB   S19 XP_134T
   2320   YNAHEABBBABCA16YH     EAB   S19 XP_134T
   2321   YNAHEABBBABCA13KM     EAB   S19 XP_134T
   2322    YNAHEABBBABCA13K3    EAB   S19 XP_134T
   2323   YNAHEABBBABCA13H0     EAB   S19 XP_134T
   2324    YNAHEABBBABCA13K4    EAB   S19 XP_134T
   2325    YNAHEABBBABCA13AS    EAB   S19 XP_134T
   2326   YNAHEABBBABCA13AM     EAB   S19 XP_134T
   2327    YNAHEABBBABCA14PP    EAB   S19 XP_134T
   2328   YNAHEABBBABCA14N8     EAB   S19 XP_134T
   2329    YNAHEABBBABCA14PL    EAB   S19 XP_134T
   2330    YNAHEABBBABCA151C    EAB   S19 XP_134T
   2331    YNAHEABBBABCA14PF    EAB   S19 XP_134T
   2332    HKYQEABBCJABD09EJ    EAB   S19 XP_134T
   2333    YNAHEABBBABCA1359    EAB   S19 XP_134T
   2334   YNAHEABBBABCA13EN     EAB   S19 XP_134T
   2335   YNAHEABBBABCA13GW     EAB   S19 XP_134T
   2336    YNAHEABBBABCA138K    EAB   S19 XP_134T
   2337    YNAHEABBBABCA151S    EAB   S19 XP_134T
   2338   YNAHEABBBABCA138N     EAB   S19 XP_134T
   2339    YNAHEABBBABCA135L    EAB   S19 XP_134T
   2340    YNAHEABBBABCA1508    EAB   S19 XP_134T
   2341    YNAHEABBBABCA1376    EAB   S19 XP_134T
   2342    YNAHEABBBABCA152F    EAB   S19 XP_134T
   2343    YNAHEABBBABCA135T    EAB   S19 XP_134T
   2344   YNAHEABBBABCA13GD     EAB   S19 XP_134T
   2345    YNAHEABBBABCA0SSS    EAB   S19 XP_134T
   2346    YNAHEABBBABCA0SSV    EAB   S19 XP_134T
   2347   YNAHEABBBABCA0SW4     EAB   S19 XP_134T
   2348   YNAHEABBBABCA0SW5     EAB   S19 XP_134T
   2349   YNAHEABBBABCA0HRW     EAB   S19 XP_134T
   2350    YNAHEABBBABCA0SFP    EAB   S19 XP_134T



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                                              106

   2351   YNAHEABBBABCA0SW2     EAB   S19 XP_134T
   2352    YNAHEABBBABCA11SJ    EAB   S19 XP_134T
   2353    YNAHEABBBABCA0JF4    EAB   S19 XP_134T
   2354   YNAHEABBBABCA0HRK     EAB   S19 XP_134T
   2355   YNAHEABBBABCA0HSF     EAB   S19 XP_134T
   2356   YNAHEABBBABCA0HRH     EAB   S19 XP_134T
   2357    HKYQEABBCJABD09EF    EAB   S19 XP_134T
   2358    YNAHEABBBABCA0JAT    EAB   S19 XP_134T
   2359   YNAHEABBBABCA0HTR     EAB   S19 XP_134T
   2360   YNAHEABBBABCA0HT2     EAB   S19 XP_134T
   2361   YNAHEABBBABCA0HS4     EAB   S19 XP_134T
   2362   YNAHEABBBABCA0HTE     EAB   S19 XP_134T
   2363    YNAHEABBBABCA0J4E    EAB   S19 XP_134T
   2364    HKYQEABBCJABD099F    EAB   S19 XP_134T
   2365   YNAHEABBBABCA0HLS     EAB   S19 XP_134T
   2366   YNAHEABBBABCA0HT3     EAB   S19 XP_134T
   2367   YNAHEABBBABCA0HTX     EAB   S19 XP_134T
   2368   YNAHEABBBABCA0HLM     EAB   S19 XP_134T
   2369   YNAHEABBBABCA16TX     EAB   S19 XP_134T
   2370   YNAHEABBBABCA16VL     EAB   S19 XP_134T
   2371   YNAHEABBBABCA13GR     EAB   S19 XP_134T
   2372   YNAHEABBBABCA137S     EAB   S19 XP_134T
   2373   YNAHEABBBABCA12JN     EAB   S19 XP_134T
   2374   YNAHEABBBABCA13F0     EAB   S19 XP_134T
   2375   YNAHEABBBABCA13EM     EAB   S19 XP_134T
   2376   YNAHEABBBABCA16TY     EAB   S19 XP_134T
   2377   YNAHEABBBABCA12P5     EAB   S19 XP_134T
   2378    HKYQEABBCJABD097J    EAB   S19 XP_134T
   2379   YNAHEABBBABCA16VH     EAB   S19 XP_134T
   2380   YNAHEABBBABCA16TM     EAB   S19 XP_134T
   2381   YNAHEABBCJABD0PMH     EAB   S19 XP_134T
   2382    YNAHEABBCJABD0S9E    EAB   S19 XP_134T
   2383    YNAHEABBCJABD0PFK    EAB   S19 XP_134T
   2384    YNAHEABBCJABD0PEX    EAB   S19 XP_134T
   2385    YNAHEABBCJABD0PK0    EAB   S19 XP_134T
   2386    YNAHEABBCJABD0RBY    EAB   S19 XP_134T
   2387    YNAHEABBCJABD0S96    EAB   S19 XP_134T
   2388   YNAHEABBCJABD0PNA     EAB   S19 XP_134T
   2389    YNAHEABBCJABD0PF6    EAB   S19 XP_134T
   2390   YNAHEABBCJABD0RCK     EAB   S19 XP_134T
   2391    YNAHEABBCJABD0PFL    EAB   S19 XP_134T
   2392    YNAHEABBCJABD0PEK    EAB   S19 XP_134T
   2393   YNAHEABBCJABD0PNG     EAB   S19 XP_134T
   2394    YNAHEABBCJABD0PF5    EAB   S19 XP_134T
   2395    YNAHEABBCJABD0PF8    EAB   S19 XP_134T
   2396    YNAHEABBCJABD0PFR    EAB   S19 XP_134T
   2397    YNAHEABBCJABD0PEF    EAB   S19 XP_134T
   2398   YNAHEABBCJABD0PMX     EAB   S19 XP_134T
   2399   YNAHEABBCJABD0PFN     EAB   S19 XP_134T
   2400   YNAHEABBCJABD0PND     EAB   S19 XP_134T



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   2401    YNAHEABBCJABD0PFP    EAB   S19 XP_134T
   2402    YNAHEABBCJABD0PN9    EAB   S19 XP_134T
   2403    YNAHEABBCJABD0PEG    EAB   S19 XP_134T
   2404    YNAHEABBCJABD0PEP    EAB   S19 XP_134T
   2405   YNAHEABBBABCA0CRD     EAB   S19 XP_134T
   2406   YNAHEABBBABCA0MGE     EAB   S19 XP_134T
   2407   YNAHEABBBABCA0MYC     EAB   S19 XP_134T
   2408   YNAHEABBBABCA0MYN     EAB   S19 XP_134T
   2409   YNAHEABBBABCA0CSA     EAB   S19 XP_134T
   2410   YNAHEABBBABCA0CRE     EAB   S19 XP_134T
   2411    HKYQEABBCJABD09G0    EAB   S19 XP_134T
   2412   YNAHEABBBABCA0S2N     EAB   S19 XP_134T
   2413   HKYQEABBCJABD09GW     EAB   S19 XP_134T
   2414   YNAHEABBBABCA0NCK     EAB   S19 XP_134T
   2415   YNAHEABBBABCA0MFJ     EAB   S19 XP_134T
   2416   YNAHEABBBABCA0CR9     EAB   S19 XP_134T
   2417   YNAHEABBBABCA0EVS     EAB   S19 XP_134T
   2418   YNAHEABBBABCA0FGM     EAB   S19 XP_134T
   2419   YNAHEABBBABCA0FD5     EAB   S19 XP_134T
   2420   YNAHEABBBABCA0EWK     EAB   S19 XP_134T
   2421    YNAHEABBBABCA0F4P    EAB   S19 XP_134T
   2422   YNAHEABBBABCA0F4X     EAB   S19 XP_134T
   2423    YNAHEABBCJABD0RY2    EAB   S19 XP_134T
   2424    YNAHEABBCJABD0S2X    EAB   S19 XP_134T
   2425    YNAHEABBCJABD0S1P    EAB   S19 XP_134T
   2426   YNAHEABBCJABD0S2W     EAB   S19 XP_134T
   2427   YNAHEABBCJABD0RCN     EAB   S19 XP_134T
   2428    YNAHEABBCJABD0S1L    EAB   S19 XP_134T
   2429    YNAHEABBCJABD0S01    EAB   S19 XP_134T
   2430   YNAHEABBBABCA15A2     EAB   S19 XP_134T
   2431    YNAHEABBCJABD0S60    EAB   S19 XP_134T
   2432    YNAHEABBCJABD0RYK    EAB   S19 XP_134T
   2433    YNAHEABBCJABD0RY1    EAB   S19 XP_134T
   2434    YNAHEABBCJABD0RY8    EAB   S19 XP_134T
   2435    YNAHEABBCJABD0S02    EAB   S19 XP_134T
   2436    YNAHEABBCJABD0S1N    EAB   S19 XP_134T
   2437    YNAHEABBCJABD0S0N    EAB   S19 XP_134T
   2438    YNAHEABBCJABD0S0R    EAB   S19 XP_134T
   2439    YNAHEABBCJABD0S0S    EAB   S19 XP_134T
   2440    YNAHEABBCJABD0RY6    EAB   S19 XP_134T
   2441    YNAHEABBBABCA0SZ9    EAB   S19 XP_134T
   2442   YNAHEABBBABCA0SRH     EAB   S19 XP_134T
   2443   YNAHEABBBABCA0T25     EAB   S19 XP_134T
   2444   YNAHEABBBABCA0SZV     EAB   S19 XP_134T
   2445   YNAHEABBBABCA0MXK     EAB   S19 XP_134T
   2446   YNAHEABBBABCA0LW1     EAB   S19 XP_134T
   2447    HKYQEABBCJCAH04P3    EAB   S19 XP_134T
   2448   YNAHEABBBABCA0MGJ     EAB   S19 XP_134T
   2449   YNAHEABBBABCA0SPV     EAB   S19 XP_134T
   2450   YNAHEABBBABCA0LHS     EAB   S19 XP_134T



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   2451   YNAHEABBBABCA0PC0     EAB   S19 XP_134T
   2452   YNAHEABBBABCA0MHK     EAB   S19 XP_134T
   2453    YNAHEABBBABCA10JK    EAB   S19 XP_134T
   2454    YNAHEABBBABCA10JJ    EAB   S19 XP_134T
   2455    YNAHEABBBABCA10JE    EAB   S19 XP_134T
   2456   YNAHEABBBABCA10HG     EAB   S19 XP_134T
   2457   YNAHEABBBABCA10HF     EAB   S19 XP_134T
   2458   YNAHEABBBABCA10KK     EAB   S19 XP_134T
   2459    YNAHEABBBABCA10RL    EAB   S19 XP_134T
   2460    YNAHEABBBABCA10JD    EAB   S19 XP_134T
   2461    YNAHEABBBABCA10J6    EAB   S19 XP_134T
   2462    YNAHEABBBABCA0Y4F    EAB   S19 XP_134T
   2463   YNAHEABBBABCA10HE     EAB   S19 XP_134T
   2464    YNAHEABBBABCA10HJ    EAB   S19 XP_134T
   2465   YNAHEABBBABCA10HH     EAB   S19 XP_134T
   2466    YNAHEABBBABCA10JL    EAB   S19 XP_134T
   2467    YNAHEABBBABCA10J9    EAB   S19 XP_134T
   2468    YNAHEABBBABCA10JH    EAB   S19 XP_134T
   2469    YNAHEABBBABCA10J7    EAB   S19 XP_134T
   2470   YNAHEABBBABCA10PD     EAB   S19 XP_134T
   2471    YNAHEABBBABCA0EZJ    EAB   S19 XP_134T
   2472   YNAHEABBBABCA0TAM     EAB   S19 XP_134T
   2473   YNAHEABBBABCA0EZM     EAB   S19 XP_134T
   2474    YNAHEABBBABCA0S70    EAB   S19 XP_134T
   2475   YNAHEABBBABCA0EV4     EAB   S19 XP_134T
   2476   YNAHEABBBABCA0RR4     EAB   S19 XP_134T
   2477   YNAHEABBBABCA0F0B     EAB   S19 XP_134T
   2478    YNAHEABBBABCA0RLE    EAB   S19 XP_134T
   2479    YNAHEABBBABCA0EZP    EAB   S19 XP_134T
   2480    YNAHEABBBABCA0T97    EAB   S19 XP_134T
   2481   YNAHEABBBABCA0FD9     EAB   S19 XP_134T
   2482    YNAHEABBBABCA0T9Z    EAB   S19 XP_134T
   2483   YNAHEABBBABCA0FD7     EAB   S19 XP_134T
   2484   YNAHEABBBABCA0EVP     EAB   S19 XP_134T
   2485   YNAHEABBBABCA0EVH     EAB   S19 XP_134T
   2486   YNAHEABBBABCA0EVN     EAB   S19 XP_134T
   2487   YNAHEABBBABCA0EVM     EAB   S19 XP_134T
   2488   YNAHEABBBABCA0EVW     EAB   S19 XP_134T
   2489    HKYQEABBCJCAH001X    EAB   S19 XP_134T
   2490   HKYQEABBCJCAH002M     EAB   S19 XP_134T
   2491   YNAHEABBBABCA1438     EAB   S19 XP_134T
   2492    HKYQEABBCJCAH001T    EAB   S19 XP_134T
   2493    HKYQEABBCJCAH001R    EAB   S19 XP_134T
   2494    HKYQEABBCJCAH003E    EAB   S19 XP_134T
   2495    HKYQEABBCJCAH002D    EAB   S19 XP_134T
   2496    HKYQEABBCJCAH0021    EAB   S19 XP_134T
   2497    HKYQEABBCJCAH003P    EAB   S19 XP_134T
   2498    HKYQEABBCJCAH0031    EAB   S19 XP_134T
   2499    HKYQEABBCJCAH0034    EAB   S19 XP_134T
   2500    HKYQEABBCJCAH001P    EAB   S19 XP_134T



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   2501    HKYQEABBCJCAH001V    EAB   S19 XP_134T
   2502    HKYQEABBCJCAH0026    EAB   S19 XP_134T
   2503    HKYQEABBCJCAH003H    EAB   S19 XP_134T
   2504   HKYQEABBCJCAH01GW     EAB   S19 XP_134T
   2505   HKYQEABBCJCAH001W     EAB   S19 XP_134T
   2506    HKYQEABBCJCAH0008    EAB   S19 XP_134T
   2507   YNAHEABBBABCA0Y7B     EAB   S19 XP_134T
   2508   YNAHEABBBABCA0Y0W     EAB   S19 XP_134T
   2509   YNAHEABBBABCA0Y7R     EAB   S19 XP_134T
   2510   YNAHEABBBABCA0XTK     EAB   S19 XP_134T
   2511   HKYQEABBCJCAH01HN     EAB   S19 XP_134T
   2512   YNAHEABBBABCA10HD     EAB   S19 XP_134T
   2513   HKYQEABBCJCAH001G     EAB   S19 XP_134T
   2514    HKYQEABBCJCAH0036    EAB   S19 XP_134T
   2515    HKYQEABBCJCAH001Y    EAB   S19 XP_134T
   2516    HKYQEABBCJCAH0018    EAB   S19 XP_134T
   2517    HKYQEABBCJCAH0019    EAB   S19 XP_134T
   2518    HKYQEABBCJCAH0033    EAB   S19 XP_134T
   2519    NGSBEAABCJDAA07B9    EAA   S19 XP_141T
   2520   YNAHEAABBABCA02M5     EAA   S19 XP_141T
   2521    HKYQEABBCJCAH00GT    EAB   S19 XP_134T
   2522   HKYQEABBCJCAH00HB     EAB   S19 XP_134T
   2523   HKYQEABBCJCAH00DA     EAB   S19 XP_134T
   2524   HKYQEABBCJCAH00HM     EAB   S19 XP_134T
   2525    HKYQEABBCJCAH01C8    EAB   S19 XP_134T
   2526    HKYQEABBCJCAH012V    EAB   S19 XP_134T
   2527    HKYQEABBCJCAH00FV    EAB   S19 XP_134T
   2528    HKYQEABBCJCAH00BF    EAB   S19 XP_134T
   2529    HKYQEABBCJCAH00D4    EAB   S19 XP_134T
   2530    HKYQEABBCJCAH00FG    EAB   S19 XP_134T
   2531    HKYQEABBCJCAH00F5    EAB   S19 XP_134T
   2532    HKYQEABBCJCAH00AY    EAB   S19 XP_134T
   2533    HKYQEABBCJABD06LK    EAB   S19 XP_134T
   2534    HKYQEABBCJABD06FL    EAB   S19 XP_134T
   2535   HKYQEABBCJCAH00G4     EAB   S19 XP_134T
   2536    HKYQEABBCJCAH01CZ    EAB   S19 XP_134T
   2537    HKYQEABBCJCAH00E0    EAB   S19 XP_134T
   2538   HKYQEABBCJABD06HD     EAB   S19 XP_134T
   2539    HKYQEABBCJABD06GS    EAB   S19 XP_134T
   2540    HKYQEABBCJAJC098W    EAB   S19 XP_134T
   2541    HKYQEABBCJAJC099F    EAB   S19 XP_134T
   2542    HKYQEABBCJAJC09KK    EAB   S19 XP_134T
   2543    HKYQEABBCJCAH009V    EAB   S19 XP_134T
   2544    HKYQEABBCJAJC09AF    EAB   S19 XP_134T
   2545    HKYQEABBCJAJC09A9    EAB   S19 XP_134T
   2546    HKYQEABBCJAJC099X    EAB   S19 XP_134T
   2547    HKYQEABBCJAJC09EP    EAB   S19 XP_134T
   2548    YNAHEABBBAJCA0F7R    EAB   S19 XP_134T
   2549    YNAHEABBBAJBH07ER    EAB   S19 XP_134T
   2550   YNAHEABBBAJCA0G7W     EAB   S19 XP_134T



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   2551   YNAHEABBBAJCA0GA5     EAB   S19 XP_134T
   2552   HKYQEABBCJCAH00GA     EAB   S19 XP_134T
   2553   YNAHEABBBAJCA0EN2     EAB   S19 XP_134T
   2554   HKYQEABBCJCAH00KF     EAB   S19 XP_134T
   2555   HKYQEABBCJABD09LK     EAB   S19 XP_134T
   2556   HKYQEABBCJCAH07GK     EAB   S19 XP_134T
   2557   HKYQEABBCJCAH010H     EAB   S19 XP_134T
   2558   HKYQEABBCJCAH010E     EAB   S19 XP_134T
   2559   HKYQEABBCJCAH00D9     EAB   S19 XP_134T
   2560   YNAHEABBBABCA13HZ     EAB   S19 XP_134T
   2561   YNAHEABBBABCA14XV     EAB   S19 XP_134T
   2562   HKYQEABBCJCAH00BB     EAB   S19 XP_134T
   2563   HKYQEABBCJABD09PC     EAB   S19 XP_134T
   2564   YNAHEABBCJABD0S16     EAB   S19 XP_134T
   2565   YNAHEABBBABCA0HRX     EAB   S19 XP_134T
   2566   NGSBEAABCJDAA071C     EAA   S19 XP_141T
   2567   HKYQEABBCJCAH07EB     EAB   S19 XP_134T
   2568   HKYQEABBCJCAH07CE     EAB   S19 XP_134T
   2569   HKYQEABBCJCAH07DY     EAB   S19 XP_134T
   2570   NGSBEAABCJDAA070N     EAA   S19 XP_141T
   2571   YNAHEABBBABCA0HTS     EAB   S19 XP_134T
   2572   HKYQEABBCJCAH07S8     EAB   S19 XP_134T
   2573   HKYQEABBCJCAH07SF     EAB   S19 XP_134T
   2574   HKYQEABBCJCAH07S3     EAB   S19 XP_134T
   2575   HKYQEABBCJCAH07ST     EAB   S19 XP_134T
   2576    HKYQEABBCJCAH07SL    EAB   S19 XP_134T
   2577   HKYQEABBCJCAH04YR     EAB   S19 XP_134T
   2578   HKYQEABBCJCAH07RW     EAB   S19 XP_134T
   2579   HKYQEABBCJCAH07S0     EAB   S19 XP_134T
   2580   HKYQEABBCJCAH07L0     EAB   S19 XP_134T
   2581   HKYQEABBCJCAH07SG     EAB   S19 XP_134T
   2582   HKYQEABBCJCAH07SE     EAB   S19 XP_134T
   2583   HKYQEABBCJCAH03Z0     EAB   S19 XP_134T
   2584   HKYQEABBCJCAH04YH     EAB   S19 XP_134T
   2585   HKYQEABBCJCAH0406     EAB   S19 XP_134T
   2586   HKYQEABBCJCAH01GK     EAB   S19 XP_134T
   2587   HKYQEABBCJABD09FK     EAB   S19 XP_134T
   2588   HKYQEABBCJCAH056H     EAB   S19 XP_134T
   2589   HKYQEABBCJCAH01CR     EAB   S19 XP_134T
   2590   HKYQEABBCJCAH04C7     EAB   S19 XP_134T
   2591   HKYQEABBCJABD09GC     EAB   S19 XP_134T
   2592   HKYQEABBCJABD09FT     EAB   S19 XP_134T
   2593   HKYQEABBCJCAH01FK     EAB   S19 XP_134T
   2594   HKYQEABBCJCAH0431     EAB   S19 XP_134T
   2595   HKYQEABBCJCAH01H7     EAB   S19 XP_134T
   2596   HKYQEABBCJCAH04BK     EAB   S19 XP_134T
   2597   HKYQEABBCJCAH04YT     EAB   S19 XP_134T
   2598   HKYQEABBCJCAH03HY     EAB   S19 XP_134T
   2599   HKYQEABBCJCAH055M     EAB   S19 XP_134T
   2600   HKYQEABBCJCAH04BG     EAB   S19 XP_134T



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   2601   HKYQEABBCJCAH056G     EAB   S19 XP_134T
   2602   HKYQEABBCJCAH07AT     EAB   S19 XP_134T
   2603   HKYQEABBCJCAH07SP     EAB   S19 XP_134T
   2604   HKYQEABBCJCAH07DL     EAB   S19 XP_134T
   2605   HKYQEABBCJCAH07LB     EAB   S19 XP_134T
   2606   HKYQEABBCJCAH07RX     EAB   S19 XP_134T
   2607   HKYQEABBCJCAH07SK     EAB   S19 XP_134T
   2608   HKYQEABBCJCAH04XF     EAB   S19 XP_134T
   2609   HKYQEABBCJCAH03X7     EAB   S19 XP_134T
   2610   HKYQEABBCJCAH03ZX     EAB   S19 XP_134T
   2611   HKYQEABBCJCAH0479     EAB   S19 XP_134T
   2612   HKYQEABBCJCAH04C6     EAB   S19 XP_134T
   2613   HKYQEABBCJCAH04BJ     EAB   S19 XP_134T
   2614   HKYQEABBCJCAH03XZ     EAB   S19 XP_134T
   2615   HKYQEABBCJCAH03PL     EAB   S19 XP_134T
   2616   HKYQEABBCJCAH03PM     EAB   S19 XP_134T
   2617   HKYQEABBCJCAH046A     EAB   S19 XP_134T
   2618   HKYQEABBCJCAH0471     EAB   S19 XP_134T
   2619   HKYQEABBCJCAH046Z     EAB   S19 XP_134T
   2620   HKYQEABBCJCAH01EB     EAB   S19 XP_134T
   2621   HKYQEABBCJCAH05GH     EAB   S19 XP_134T
   2622   HKYQEABBCJCAH018L     EAB   S19 XP_134T
   2623   HKYQEABBCJCAH04BF     EAB   S19 XP_134T
   2624   HKYQEABBCJCAH00FZ     EAB   S19 XP_134T
   2625   HKYQEABBCJCAH0472     EAB   S19 XP_134T
   2626   HKYQEABBCJABD09H5     EAB   S19 XP_134T
   2627   HKYQEABBCJCAH01GJ     EAB   S19 XP_134T
   2628    HKYQEABBCJCAH01J1    EAB   S19 XP_134T
   2629   HKYQEABBCJCAH01D7     EAB   S19 XP_134T
   2630   HKYQEABBCJCAH0466     EAB   S19 XP_134T
   2631   HKYQEABBCJABD09G3     EAB   S19 XP_134T
   2632   HKYQEABBCJABD09HM     EAB   S19 XP_134T
   2633   HKYQEABBCJCAH01F9     EAB   S19 XP_134T
   2634   HKYQEABBCJCAH01DG     EAB   S19 XP_134T
   2635   HKYQEABBCJCAH00G3     EAB   S19 XP_134T
   2636   HKYQEABBCJCAH01KH     EAB   S19 XP_134T
   2637   HKYQEABBCJCAH051L     EAB   S19 XP_134T
   2638   HKYQEABBCJABD09FZ     EAB   S19 XP_134T
   2639   HKYQEABBCJABD09FN     EAB   S19 XP_134T
   2640   HKYQEABBCJCAH00FY     EAB   S19 XP_134T
   2641   HKYQEABBCJCAH01MV     EAB   S19 XP_134T
   2642   HKYQEABBCJCAH01K9     EAB   S19 XP_134T
   2643   HKYQEABBCJABD09FP     EAB   S19 XP_134T
   2644   HKYQEABBCJCAH01DN     EAB   S19 XP_134T
   2645   HKYQEABBCJCAH00FL     EAB   S19 XP_134T
   2646   HKYQEABBCJCAH01D6     EAB   S19 XP_134T
   2647   HKYQEABBCJABD09FV     EAB   S19 XP_134T
   2648   HKYQEABBCJABD09FE     EAB   S19 XP_134T
   2649   HKYQEABBCJCAH00GB     EAB   S19 XP_134T
   2650   HKYQEABBCJCAH00DJ     EAB   S19 XP_134T



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   2651   HKYQEABBCJCAH04YZ     EAB   S19 XP_134T
   2652   HKYQEABBCJCAH01F5     EAB   S19 XP_134T
   2653   HKYQEABBCJCAH0139     EAB   S19 XP_134T
   2654   HKYQEABBCJCAH01FD     EAB   S19 XP_134T
   2655   HKYQEABBCJCAH01H6     EAB   S19 XP_134T
   2656   YNAHEABBBAJCA0G79     EAB   S19 XP_134T
   2657    YNAHEABBBAJCA0F7L    EAB   S19 XP_134T
   2658   HKYQEABBCJCAH04WT     EAB   S19 XP_134T
   2659   YNAHEABBBAJCA0GH4     EAB   S19 XP_134T
   2660   YNAHEABBBAJCA0F70     EAB   S19 XP_134T
   2661   HKYQEABBCJABD09GJ     EAB   S19 XP_134T
   2662   HKYQEABBCJCAH01DH     EAB   S19 XP_134T
   2663   HKYQEABBCJCAH01D3     EAB   S19 XP_134T
   2664   HKYQEABBCJCAH01DJ     EAB   S19 XP_134T
   2665   HKYQEABBCJCAH01CP     EAB   S19 XP_134T
   2666   HKYQEABBCJCAH012F     EAB   S19 XP_134T
   2667   YNAHEABBBAJCA0EXS     EAB   S19 XP_134T
   2668   HKYQEABBCJCAH01F4     EAB   S19 XP_134T
   2669   YNAHEABBBAJCA0GGN     EAB   S19 XP_134T
   2670   HKYQEABBCJCAH01FA     EAB   S19 XP_134T
   2671   HKYQEABBCJCAH0469     EAB   S19 XP_134T
   2672   HKYQEABBCJCAH013G     EAB   S19 XP_134T
   2673   YNAHEABBBAJCA0NHB     EAB   S19 XP_134T
   2674   HKYQEABBCJCAH04WS     EAB   S19 XP_134T
   2675   HKYQEABBCJABD09GB     EAB   S19 XP_134T
   2676   HKYQEABBCJABD09HA     EAB   S19 XP_134T
   2677   HKYQEABBCJCAH01E6     EAB   S19 XP_134T
   2678   HKYQEABBCJCAH01KF     EAB   S19 XP_134T
   2679   HKYQEABBCJCAH01KN     EAB   S19 XP_134T
   2680   YNAHEABBBAJCA0GBG     EAB   S19 XP_134T
   2681   YNAHEABBBABCA152Y     EAB   S19 XP_134T
   2682   YNAHEABBBAJCA0473     EAB   S19 XP_134T
   2683   YNAHEABBBAJCA0GA3     EAB   S19 XP_134T
   2684   HKYQEABBCJABD09H8     EAB   S19 XP_134T
   2685   HKYQEABBCJABD06RG     EAB   S19 XP_134T
   2686   HKYQEABBCJABD06RL     EAB   S19 XP_134T
   2687   HKYQEABBCJABD06SF     EAB   S19 XP_134T
   2688   HKYQEABBCJABD06S0     EAB   S19 XP_134T
   2689    HKYQEABBCJABD09LL    EAB   S19 XP_134T
   2690   HKYQEABBCJCAH003Y     EAB   S19 XP_134T
   2691   HKYQEABBCJABD09L9     EAB   S19 XP_134T
   2692   NGSBEAABCJDAA07BN     EAA   S19 XP_141T
   2693   NGSBEAABCJDAA07C5     EAA   S19 XP_141T
   2694   HKYQEABBCJCAH00E4     EAB   S19 XP_134T
   2695   HKYQEABBCJCAH00H4     EAB   S19 XP_134T
   2696   HKYQEABBCJCAH00E5     EAB   S19 XP_134T
   2697   YNAHEABBBABCA0YCB     EAB   S19 XP_134T
   2698   HKYQEABBCJCAH00CB     EAB   S19 XP_134T
   2699   HKYQEABBCJABD09LA     EAB   S19 XP_134T
   2700    HKYQEABBCJAJC09C4    EAB   S19 XP_134T



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   2701   HKYQEABBCJCAH00HW     EAB   S19 XP_134T
   2702    HKYQEABBCJABD09K4    EAB   S19 XP_134T
   2703    HKYQEABBCJCAH00D1    EAB   S19 XP_134T
   2704    HKYQEABBCJABD09LM    EAB   S19 XP_134T
   2705    HKYQEABBCJABD09LS    EAB   S19 XP_134T
   2706    HKYQEABBCJCAH00GJ    EAB   S19 XP_134T
   2707    HKYQEABBCJCAH00FX    EAB   S19 XP_134T
   2708   YNAHEABBCJABD0PWE     EAB   S19 XP_134T
   2709    YNAHEAABBJGJF15HP    EAA   S19 XP_141T
   2710    YNAHEAABBABCA0B6F    EAA   S19 XP_141T
   2711   YNAHEAABBABCA09HM     EAA   S19 XP_141T
   2712   YNAHEAABBABCA02RW     EAA   S19 XP_141T
   2713   YNAHEAABBABCA012W     EAA   S19 XP_141T
   2714    YNAHEAABBABCA0072    EAA   S19 XP_141T
   2715    HKYQEABBCJABD06GK    EAB   S19 XP_134T
   2716    HKYQEABBCJABD06H9    EAB   S19 XP_134T
   2717    HKYQEABBCJABD06EF    EAB   S19 XP_134T
   2718    HKYQEABBCJABD06HB    EAB   S19 XP_134T
   2719    HKYQEABBCJCAH045A    EAB   S19 XP_134T
   2720    HKYQEABBCJCAH004G    EAB   S19 XP_134T
   2721    YNAHEAABBAABA0JA4    EAA   S19 XP_141T
   2722    YNAHEAABBABCA001K    EAA   S19 XP_141T
   2723   YNAHEAABBAABA0MHC     EAA   S19 XP_141T
   2724    YNAHEAABBABCA0AZT    EAA   S19 XP_141T
   2725    YNAHEAABBABCA094P    EAA   S19 XP_141T
   2726   YNAHEAABBABCA02AE     EAA   S19 XP_141T
   2727    HKYQEABBCJCAH07NY    EAB   S19 XP_134T
   2728    HKYQEABBCJCAH07PD    EAB   S19 XP_134T
   2729    HKYQEABBCJCAH07JR    EAB   S19 XP_134T
   2730    HKYQEABBCJABD06HJ    EAB   S19 XP_134T
   2731    HKYQEABBCJCAH07LR    EAB   S19 XP_134T
   2732    HKYQEABBCJABD06F2    EAB   S19 XP_134T
   2733    HKYQEABBCJCAH07LM    EAB   S19 XP_134T
   2734   HKYQEABBCJCAH07MD     EAB   S19 XP_134T
   2735    HKYQEABBCJCAH07PF    EAB   S19 XP_134T
   2736   HKYQEABBCJCAH07ME     EAB   S19 XP_134T
   2737    HKYQEABBCJCAH07NC    EAB   S19 XP_134T
   2738    HKYQEABBCJCAH07LN    EAB   S19 XP_134T
   2739    HKYQEABBCJCAH07MZ    EAB   S19 XP_134T
   2740    HKYQEABBCJCAH07RS    EAB   S19 XP_134T
   2741    HKYQEABBCJCAH07SR    EAB   S19 XP_134T
   2742    HKYQEABBCJCAH07P6    EAB   S19 XP_134T
   2743    HKYQEABBCJCAH07N9    EAB   S19 XP_134T
   2744    HKYQEABBCJCAH03RY    EAB   S19 XP_134T
   2745   YNAHEAABBAABA107A     EAA   S19 XP_141T
   2746    YNAHEAABBABCA0L3X    EAA   S19 XP_141T
   2747    YNAHEAABBABCA0HZL    EAA   S19 XP_141T
   2748    YNAHEAABBJGJF04GE    EAA   S19 XP_141T
   2749   YNAHEAABBABCA0ABB     EAA   S19 XP_141T
   2750   YNAHEAABBABCA09BR     EAA   S19 XP_141T



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   2751   YNAHEAABBABCA05WM      EAA   S19 XP_141T
   2752    YNAHEAABBABCA02KN     EAA   S19 XP_141T
   2753    YNAHEAABBABCA0029     EAA   S19 XP_141T
   2754     YNAHEAABBABCA08JJ    EAA   S19 XP_141T
   2755    YNAHEAABBABCA028D     EAA   S19 XP_141T
   2756    HKYQEABBCJCAH07LD     EAB   S19 XP_134T
   2757    HKYQEABBCJCAH07SH     EAB   S19 XP_134T
   2758    YNAHEAABBABCA00YN     EAA   S19 XP_141T
   2759    YNAHEAABBABCA08JF     EAA   S19 XP_141T
   2760    YNAHEAABBAABA122A     EAA   S19 XP_141T
   2761    YNAHEAABBABCA0C82     EAA   S19 XP_141T
   2762    YNAHEAABBAJBH074N     EAA   S19 XP_141T
   2763    YNAHEAABBJGJF0RMM     EAA   S19 XP_141T
   2764    YNAHEAABBABCA0B1A     EAA   S19 XP_141T
   2765     YNAHEAABBJGJF056S    EAA   S19 XP_141T
   2766    YNAHEAABBABCA00XT     EAA   S19 XP_141T
   2767   YNAHEAABBAABA0NPM      EAA   S19 XP_141T
   2768    YNAHEAABBABCA00YA     EAA   S19 XP_141T
   2769    YNAHEAABBJGJF0XW2     EAA   S19 XP_141T
   2770    YNAHEAABBABCA02RT     EAA   S19 XP_141T
   2771   YNAHEAABBAABA0WKC      EAA   S19 XP_141T
   2772   YNAHEAABBABCA0CDW      EAA   S19 XP_141T
   2773    YNAHEAABBAJAJ0DVK     EAA   S19 XP_141T
   2774     HKYQEAABCJAJC05LV    EAA   S19 XP_141T
   2775    YNAHEAABBABCA0405     EAA   S19 XP_141T
   2776    YNAHEAABBABCA1E5K     EAA   S19 XP_141T
   2777    HKYQEAABBAACJ01RB     EAA   S19 XP_141T
   2778    YNAHEAABBAJCA00BG     EAA   S19 XP_141T
   2779    HKYQEAABCJAJC032W     EAA   S19 XP_141T
   2780     YNAHEAABBJGJF03YT    EAA   S19 XP_141T
   2781    HKYQEAABBAAJG0EXL     EAA   S19 XP_141T
   2782    YNAHEAABBABCA0549     EAA   S19 XP_141T
   2783    YNAHEAABBAABA09GC     EAA   S19 XP_141T
   2784     HKYQEABBCJCAH07J8    EAB   S19 XP_134T
   2785     HKYQEABBCJCAH07JV    EAB   S19 XP_134T
   2786     HKYQEABBCJCAH04YK    EAB   S19 XP_134T
   2787     HKYQEABBCJABD09PE    EAB   S19 XP_134T
   2788     HKYQEABBCJCAH010J    EAB   S19 XP_134T
   2789    YNAHEAABBAJAJ0CW9     EAA   S19 XP_141T
   2790    YNAHEABBBABCA15JN     EAB   S19 XP_134T
   2791     HKYQEAABCJAJC049Y    EAA   S19 XP_141T
   2792   YNAHEABBBABCA0RPM      EAB   S19 XP_134T
   2793    YNAHEAABBABCA0NJ8     EAA   S19 XP_141T
   2794    YNAHEAABBAABA0J7M     EAA   S19 XP_141T
   2795    YNAHEABBBABCA0RR8     EAB   S19 XP_134T
   2796    NGSBEAABCJDAA07BF     EAA   S19 XP_141T
   2797    YNAHEAABBAABA0JFE     EAA   S19 XP_141T
   2798    YNAHEAABBAABA0BFN     EAA   S19 XP_141T
   2799     YNAHEAABBAJCA001F    EAA   S19 XP_141T
   2800     HKYQEAABCJAJC00NH    EAA   S19 XP_141T



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   2801    NGSBEAABCJDAA071R    EAA   S19 XP_141T
   2802   YNAHEAABBABCA0AZX     EAA   S19 XP_141T
   2803   YNAHEAABBABCA0HW4     EAA   S19 XP_141T
   2804    HKYQEAABCJAJC06B4    EAA   S19 XP_141T
   2805   YNAHEAABBAABA10NL     EAA   S19 XP_141T
   2806    HKYQEABBCJABD09GA    EAB   S19 XP_134T
   2807    HKYQEABBCJCAH07PZ    EAB   S19 XP_134T
   2808   YNAHEABBBABCA11NK     EAB   S19 XP_134T
   2809    HKYQEABBCJCAH07LF    EAB   S19 XP_134T
   2810   HKYQEABBCJABD09MD     EAB   S19 XP_134T
   2811    YNAHEAABBABCA01Y0    EAA   S19 XP_141T
   2812    YNAHEAABBAJCA0044    EAA   S19 XP_141T
   2813    HKYQEABBCJCAH04R2    EAB   S19 XP_134T
   2814    NGSBEAABCJDAA070K    EAA   S19 XP_141T
   2815    NGSBEAABCJDAA0724    EAA   S19 XP_141T
   2816    YNAHEAABBABCA1E53    EAA   S19 XP_141T
   2817   YNAHEAABBAABA10HS     EAA   S19 XP_141T
   2818   YNAHEAABBABCA05YW     EAA   S19 XP_141T
   2819    HKYQEABBCJABD09G1    EAB   S19 XP_134T
   2820    HKYQEABBCJABD09GX    EAB   S19 XP_134T
   2821    HKYQEABBCJCAH01KD    EAB   S19 XP_134T
   2822    HKYQEABBCJCAH0454    EAB   S19 XP_134T
   2823    HKYQEABBCJCAH04BP    EAB   S19 XP_134T
   2824   HKYQEABBCJCAH01FW     EAB   S19 XP_134T
   2825    HKYQEABBCJCAH04BH    EAB   S19 XP_134T
   2826    HKYQEABBCJCAH04PH    EAB   S19 XP_134T
   2827    HKYQEABBCJCAH01CS    EAB   S19 XP_134T
   2828   HKYQEABBCJCAH070M     EAB   S19 XP_134T
   2829    YNAHEAABBAJAJ044Y    EAA   S19 XP_141T
   2830    HKYQEABBCJCAH01DL    EAB   S19 XP_134T
   2831   YNAHEAABBABCA06G1     EAA   S19 XP_141T
   2832   YNAHEAABBABCA04WR     EAA   S19 XP_141T
   2833    YNAHEAABBABCA06L9    EAA   S19 XP_141T
   2834    YNAHEAABBABCA06KS    EAA   S19 XP_141T
   2835   YNAHEAABBABCA06NZ     EAA   S19 XP_141T
   2836    YNAHEAABBABCA06L7    EAA   S19 XP_141T
   2837    YNAHEAABBABCA06KE    EAA   S19 XP_141T
   2838   YNAHEAABBABCA04WN     EAA   S19 XP_141T
   2839   YNAHEAABBABCA06G5     EAA   S19 XP_141T
   2840   YNAHEAABBABCA05GS     EAA   S19 XP_141T
   2841    YNAHEAABBABCA06F4    EAA   S19 XP_141T
   2842   YNAHEAABBABCA04WS     EAA   S19 XP_141T
   2843    YNAHEAABBABCA06FB    EAA   S19 XP_141T
   2844   YNAHEAABBABCA06N9     EAA   S19 XP_141T
   2845    YNAHEAABBAJBH032V    EAA   S19 XP_141T
   2846    YNAHEAABBAJBH04DJ    EAA   S19 XP_141T
   2847    YNAHEAABBAJBH037P    EAA   S19 XP_141T
   2848    YNAHEAABBAJBH04EF    EAA   S19 XP_141T
   2849    YNAHEAABBAJBH033S    EAA   S19 XP_141T
   2850    YNAHEAABBAJBH04C4    EAA   S19 XP_141T



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   2851    YNAHEAABBAJCA001J    EAA   S19 XP_141T
   2852    YNAHEAABBAJAJ0DYF    EAA   S19 XP_141T
   2853    YNAHEAABBAJCA002C    EAA   S19 XP_141T
   2854   YNAHEAABBAJBH03DG     EAA   S19 XP_141T
   2855   YNAHEAABBAJAJ03DM     EAA   S19 XP_141T
   2856   YNAHEAABBAABA0KRL     EAA   S19 XP_141T
   2857   YNAHEAABBAABA0KRH     EAA   S19 XP_141T
   2858    YNAHEAABBJGJF13B4    EAA   S19 XP_141T
   2859    YNAHEAABBAJAJ048C    EAA   S19 XP_141T
   2860   YNAHEAABBAJAJ04AM     EAA   S19 XP_141T
   2861    YNAHEAABBJGJF0N2Z    EAA   S19 XP_141T
   2862    YNAHEAABBAJAJ04DN    EAA   S19 XP_141T
   2863    YNAHEAABBAJAJ0485    EAA   S19 XP_141T
   2864    YNAHEAABBAJAJ04RM    EAA   S19 XP_141T
   2865    YNAHEAABBAJAJ04NG    EAA   S19 XP_141T
   2866   YNAHEAABBABCA054N     EAA   S19 XP_141T
   2867   YNAHEAABBAABA0BG5     EAA   S19 XP_141T
   2868   YNAHEAABBAABA0BEV     EAA   S19 XP_141T
   2869   YNAHEAABBAABA0BNP     EAA   S19 XP_141T
   2870   YNAHEAABBABCA1FGX     EAA   S19 XP_141T
   2871   YNAHEAABBAABA114W     EAA   S19 XP_141T
   2872   YNAHEAABBAABA0BG1     EAA   S19 XP_141T
   2873   YNAHEAABBAABA0BDT     EAA   S19 XP_141T
   2874   YNAHEAABBAABA1166     EAA   S19 XP_141T
   2875   YNAHEAABBAABA10TY     EAA   S19 XP_141T
   2876   YNAHEAABBAABA10KN     EAA   S19 XP_141T
   2877    YNAHEAABBAJAJ0B6D    EAA   S19 XP_141T
   2878    YNAHEAABBAJAJ0B8E    EAA   S19 XP_141T
   2879    YNAHEAABBAJAJ0B7C    EAA   S19 XP_141T
   2880    YNAHEAABBAJAJ0B8A    EAA   S19 XP_141T
   2881    YNAHEAABBAJAJ0B7Y    EAA   S19 XP_141T
   2882   YNAHEAABBAJBH08ME     EAA   S19 XP_141T
   2883    YNAHEAABBAJBH0803    EAA   S19 XP_141T
   2884    YNAHEAABBAJAJ0B9A    EAA   S19 XP_141T
   2885    YNAHEAABBAJCA0ES3    EAA   S19 XP_141T
   2886    YNAHEAABBAJBH081Z    EAA   S19 XP_141T
   2887    YNAHEAABBAJBH07ZX    EAA   S19 XP_141T
   2888    YNAHEAABBAABA0KJS    EAA   S19 XP_141T
   2889   YNAHEAABBABCA053X     EAA   S19 XP_141T
   2890    YNAHEAABBAJBH080B    EAA   S19 XP_141T
   2891    YNAHEAABBAJBH0809    EAA   S19 XP_141T
   2892    YNAHEAABBAJBH080A    EAA   S19 XP_141T
   2893    YNAHEAABBAJCA0ERZ    EAA   S19 XP_141T
   2894    YNAHEAABBAJCA0ES1    EAA   S19 XP_141T
   2895    YNAHEAABBAJBH07ZZ    EAA   S19 XP_141T
   2896    YNAHEAABBAJCA0ES2    EAA   S19 XP_141T
   2897    YNAHEAABBAJCA0ERS    EAA   S19 XP_141T
   2898    YNAHEAABBAJAJ0E8C    EAA   S19 XP_141T
   2899    YNAHEAABBAJAJ00R1    EAA   S19 XP_141T
   2900    YNAHEAABBAJCA0ES0    EAA   S19 XP_141T



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   2901    YNAHEAABBAJBH080C     EAA   S19 XP_141T
   2902    YNAHEAABBAJCA0ERV     EAA   S19 XP_141T
   2903    YNAHEAABBAABA0KJH     EAA   S19 XP_141T
   2904     YNAHEAABBAJAJ02KJ    EAA   S19 XP_141T
   2905     YNAHEAABBAJAJ02PE    EAA   S19 XP_141T
   2906     YNAHEAABBAJAJ02JW    EAA   S19 XP_141T
   2907    YNAHEAABBAABA0KJX     EAA   S19 XP_141T
   2908    YNAHEAABBAJBH02AF     EAA   S19 XP_141T
   2909    YNAHEAABBAJBH02A5     EAA   S19 XP_141T
   2910     YNAHEAABBAJAJ00V8    EAA   S19 XP_141T
   2911     YNAHEAABBAJAJ044X    EAA   S19 XP_141T
   2912   YNAHEAABBAABA0KM4      EAA   S19 XP_141T
   2913    YNAHEAABBAABA0KNX     EAA   S19 XP_141T
   2914    YNAHEAABBAABA0KKB     EAA   S19 XP_141T
   2915    YNAHEAABBABCA0547     EAA   S19 XP_141T
   2916    YNAHEAABBABCA05FZ     EAA   S19 XP_141T
   2917    YNAHEAABBAABA0KPH     EAA   S19 XP_141T
   2918    YNAHEAABBAABA0KK4     EAA   S19 XP_141T
   2919    YNAHEAABBAJAJ0DVH     EAA   S19 XP_141T
   2920    YNAHEAABBAABA0BFK     EAA   S19 XP_141T
   2921    YNAHEAABBAABA0KKR     EAA   S19 XP_141T
   2922   YNAHEAABBAABA0KM8      EAA   S19 XP_141T
   2923   YNAHEAABBAABA0KMM      EAA   S19 XP_141T
   2924     YNAHEAABBAJAJ00PC    EAA   S19 XP_141T
   2925     YNAHEAABBAJAJ02N4    EAA   S19 XP_141T
   2926     YNAHEAABBAJAJ00YL    EAA   S19 XP_141T
   2927   YNAHEAABBAABA0KM7      EAA   S19 XP_141T
   2928    YNAHEAABBAABA0KK0     EAA   S19 XP_141T
   2929    YNAHEAABBAABA0KNV     EAA   S19 XP_141T
   2930    YNAHEAABBAABA0KNZ     EAA   S19 XP_141T
   2931    YNAHEAABBAJBH029M     EAA   S19 XP_141T
   2932     YNAHEAABBAJAJ02KK    EAA   S19 XP_141T
   2933    YNAHEAABBAABA0KNR     EAA   S19 XP_141T
   2934   YNAHEAABBAABA0KMX      EAA   S19 XP_141T
   2935     YNAHEAABBJHBI0P2Y    EAA   S19 XP_141T
   2936    YNAHEAABBAABA10D5     EAA   S19 XP_141T
   2937   YNAHEAABBAABA0KM5      EAA   S19 XP_141T
   2938    YNAHEAABBAABA0KK7     EAA   S19 XP_141T
   2939   YNAHEAABBAABA0KMH      EAA   S19 XP_141T
   2940    YNAHEAABBAABA0KV3     EAA   S19 XP_141T
   2941   YNAHEAABBAABA0KMZ      EAA   S19 XP_141T
   2942    YNAHEAABBAABA0KP0     EAA   S19 XP_141T
   2943   YNAHEAABBAABA0KMG      EAA   S19 XP_141T
   2944    YNAHEAABBABCA05FY     EAA   S19 XP_141T
   2945    YNAHEAABBAABA0B6F     EAA   S19 XP_141T
   2946    YNAHEAABBAABA0KK2     EAA   S19 XP_141T
   2947    YNAHEAABBABCA054D     EAA   S19 XP_141T
   2948     YNAHEAABBAJAJ04K5    EAA   S19 XP_141T
   2949    YNAHEAABBAJAJ04KM     EAA   S19 XP_141T
   2950     YNAHEAABBAJAJ04LE    EAA   S19 XP_141T



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   2951    YNAHEAABBAJAJ04K2    EAA   S19 XP_141T
   2952    YNAHEAABBAJAJ03EE    EAA   S19 XP_141T
   2953    YNAHEAABBAJAJ04KX    EAA   S19 XP_141T
   2954   YNAHEAABBABCA0NXF     EAA   S19 XP_141T
   2955   YNAHEAABBABCA064D     EAA   S19 XP_141T
   2956   YNAHEAABBABCA063N     EAA   S19 XP_141T
   2957   YNAHEAABBABCA064V     EAA   S19 XP_141T
   2958   YNAHEAABBABCA068P     EAA   S19 XP_141T
   2959   YNAHEAABBABCA064Y     EAA   S19 XP_141T
   2960    YNAHEAABBABCA07ES    EAA   S19 XP_141T
   2961   YNAHEAABBABCA063X     EAA   S19 XP_141T
   2962   YNAHEAABBAABA10K5     EAA   S19 XP_141T
   2963   YNAHEAABBABCA05ML     EAA   S19 XP_141T
   2964   YNAHEAABBAABA10KP     EAA   S19 XP_141T
   2965   YNAHEAABBAABA1168     EAA   S19 XP_141T
   2966   YNAHEAABBAABA114Z     EAA   S19 XP_141T
   2967   YNAHEAABBAABA1150     EAA   S19 XP_141T
   2968   YNAHEAABBAABA10LN     EAA   S19 XP_141T
   2969   YNAHEAABBAABA10KX     EAA   S19 XP_141T
   2970   YNAHEAABBAABA10K8     EAA   S19 XP_141T
   2971    YNAHEAABBAABA10KJ    EAA   S19 XP_141T
   2972   YNAHEAABBAABA10KW     EAA   S19 XP_141T
   2973   YNAHEAABBAABA10RG     EAA   S19 XP_141T
   2974   YNAHEAABBAABA10KZ     EAA   S19 XP_141T
   2975   YNAHEAABBAABA10MA     EAA   S19 XP_141T
   2976   YNAHEAABBABCA06RB     EAA   S19 XP_141T
   2977    YNAHEAABBABCA06RL    EAA   S19 XP_141T
   2978   YNAHEAABBABCA063M     EAA   S19 XP_141T
   2979   YNAHEAABBABCA063R     EAA   S19 XP_141T
   2980   YNAHEAABBABCA07MH     EAA   S19 XP_141T
   2981   YNAHEAABBABCA06P9     EAA   S19 XP_141T
   2982   YNAHEAABBABCA0548     EAA   S19 XP_141T
   2983   YNAHEAABBABCA063P     EAA   S19 XP_141T
   2984   YNAHEAABBABCA06RR     EAA   S19 XP_141T
   2985   YNAHEAABBABCA063V     EAA   S19 XP_141T
   2986    YNAHEAABBAJAJ00YK    EAA   S19 XP_141T
   2987    YNAHEAABBAJAJ00V6    EAA   S19 XP_141T
   2988    YNAHEAABBAJAJ00TV    EAA   S19 XP_141T
   2989   YNAHEAABBABCA0545     EAA   S19 XP_141T
   2990    YNAHEAABBAJAJ0CNG    EAA   S19 XP_141T
   2991    YNAHEAABBAJAJ00SM    EAA   S19 XP_141T
   2992   YNAHEAABBABCA07FM     EAA   S19 XP_141T
   2993   YNAHEAABBABCA07E2     EAA   S19 XP_141T
   2994   YNAHEAABBABCA061M     EAA   S19 XP_141T
   2995    YNAHEAABBABCA061L    EAA   S19 XP_141T
   2996   YNAHEAABBABCA05X3     EAA   S19 XP_141T
   2997   YNAHEAABBABCA066G     EAA   S19 XP_141T
   2998   YNAHEAABBABCA0666     EAA   S19 XP_141T
   2999   YNAHEAABBABCA07DE     EAA   S19 XP_141T
   3000   YNAHEAABBABCA066W     EAA   S19 XP_141T



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   3001   YNAHEAABBABCA07ET     EAA   S19 XP_141T
   3002   YNAHEAABBABCA0667     EAA   S19 XP_141T
   3003   YNAHEAABBABCA07DD     EAA   S19 XP_141T
   3004    YNAHEAABBABCA07EJ    EAA   S19 XP_141T
   3005   YNAHEAABBABCA066V     EAA   S19 XP_141T
   3006   YNAHEAABBABCA07DJ     EAA   S19 XP_141T
   3007   YNAHEAABBABCA05Z0     EAA   S19 XP_141T
   3008   YNAHEAABBABCA07FC     EAA   S19 XP_141T
   3009   YNAHEAABBABCA07EH     EAA   S19 XP_141T
   3010   YNAHEAABBAABA0CGG     EAA   S19 XP_141T
   3011   YNAHEAABBAABA0YHA     EAA   S19 XP_141T
   3012    YNAHEAABBAJAJ03XK    EAA   S19 XP_141T
   3013   YNAHEAABBAABA0FTV     EAA   S19 XP_141T
   3014   YNAHEAABBAABA0B72     EAA   S19 XP_141T
   3015    YNAHEAABBAJAJ04CP    EAA   S19 XP_141T
   3016    YNAHEAABBAJAJ047G    EAA   S19 XP_141T
   3017    YNAHEAABBAJAJ046E    EAA   S19 XP_141T
   3018   YNAHEAABBAABA10E9     EAA   S19 XP_141T
   3019   YNAHEAABBAABA0J6G     EAA   S19 XP_141T
   3020    YNAHEAABBAABA0J5K    EAA   S19 XP_141T
   3021   YNAHEAABBAABA0KPV     EAA   S19 XP_141T
   3022    YNAHEAABBAABA0J98    EAA   S19 XP_141T
   3023   YNAHEAABBAABA0HF2     EAA   S19 XP_141T
   3024   YNAHEAABBAABA0JG6     EAA   S19 XP_141T
   3025    YNAHEAABBAABA0J7T    EAA   S19 XP_141T
   3026   YNAHEAABBABCA053V     EAA   S19 XP_141T
   3027    YNAHEAABBAABA0JFK    EAA   S19 XP_141T
   3028   YNAHEAABBAABA0JG4     EAA   S19 XP_141T
   3029   YNAHEAABBAABA0HEN     EAA   S19 XP_141T
   3030    YNAHEAABBAABA0JFV    EAA   S19 XP_141T
   3031   YNAHEAABBAABA0JAN     EAA   S19 XP_141T
   3032    YNAHEAABBAABA0JF9    EAA   S19 XP_141T
   3033   YNAHEAABBAJCA001H     EAA   S19 XP_141T
   3034   YNAHEAABBABCA0F22     EAA   S19 XP_141T
   3035   YNAHEAABBAJBH01RG     EAA   S19 XP_141T
   3036   YNAHEAABBAJBH01VB     EAA   S19 XP_141T
   3037    YNAHEAABBAJBH01P3    EAA   S19 XP_141T
   3038   YNAHEAABBABCA0H5G     EAA   S19 XP_141T
   3039   YNAHEAABBAJBH01VP     EAA   S19 XP_141T
   3040    YNAHEAABBAJBH01RL    EAA   S19 XP_141T
   3041   YNAHEAABBAJBH01W7     EAA   S19 XP_141T
   3042   YNAHEAABBABCA0F1V     EAA   S19 XP_141T
   3043   YNAHEAABBABCA0EW5     EAA   S19 XP_141T
   3044    YNAHEAABBABCA0F3L    EAA   S19 XP_141T
   3045   YNAHEAABBABCA0F2W     EAA   S19 XP_141T
   3046   YNAHEAABBABCA0EW6     EAA   S19 XP_141T
   3047   YNAHEAABBABCA0EW7     EAA   S19 XP_141T
   3048   YNAHEAABBABCA0F20     EAA   S19 XP_141T
   3049   YNAHEAABBABCA0H3R     EAA   S19 XP_141T
   3050   YNAHEAABBABCA0H3P     EAA   S19 XP_141T



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   3051   YNAHEAABBABCA0H9E      EAA   S19 XP_141T
   3052   YNAHEAABBABCA0F3M      EAA   S19 XP_141T
   3053   YNAHEAABBABCA0H3W      EAA   S19 XP_141T
   3054   YNAHEAABBABCA0EWA      EAA   S19 XP_141T
   3055    YNAHEAABBABCA0F3K     EAA   S19 XP_141T
   3056   YNAHEAABBABCA0H3X      EAA   S19 XP_141T
   3057   YNAHEAABBABCA0GGE      EAA   S19 XP_141T
   3058    YNAHEAABBAABA0B7J     EAA   S19 XP_141T
   3059    YNAHEAABBABCA03Y9     EAA   S19 XP_141T
   3060   YNAHEAABBAABA0FVV      EAA   S19 XP_141T
   3061   YNAHEAABBAABA0FTH      EAA   S19 XP_141T
   3062   YNAHEAABBAABA0CGV      EAA   S19 XP_141T
   3063   YNAHEAABBAABA0YBD      EAA   S19 XP_141T
   3064    YNAHEAABBAJAJ04E2     EAA   S19 XP_141T
   3065    YNAHEAABBAJAJ041H     EAA   S19 XP_141T
   3066   YNAHEAABBAABA0CGR      EAA   S19 XP_141T
   3067   YNAHEAABBAABA0CGK      EAA   S19 XP_141T
   3068   YNAHEAABBAABA0YGP      EAA   S19 XP_141T
   3069   YNAHEAABBAABA0YCF      EAA   S19 XP_141T
   3070   YNAHEAABBAABA0CGJ      EAA   S19 XP_141T
   3071   YNAHEAABBAABA0CGC      EAA   S19 XP_141T
   3072   YNAHEAABBAABA0CGH      EAA   S19 XP_141T
   3073    YNAHEAABBAABA0FTY     EAA   S19 XP_141T
   3074    YNAHEAABBAJAJ00XF     EAA   S19 XP_141T
   3075    YNAHEAABBABCA04XJ     EAA   S19 XP_141T
   3076     YNAHEAABBAJAJ00YJ    EAA   S19 XP_141T
   3077    YNAHEAABBAJAJ00TB     EAA   S19 XP_141T
   3078    YNAHEAABBABCA054E     EAA   S19 XP_141T
   3079   YNAHEAABBABCA061G      EAA   S19 XP_141T
   3080    YNAHEAABBAJAJ00WY     EAA   S19 XP_141T
   3081     YNAHEAABBAJAJ00XJ    EAA   S19 XP_141T
   3082    YNAHEAABBABCA04Z2     EAA   S19 XP_141T
   3083   YNAHEAABBABCA054A      EAA   S19 XP_141T
   3084   YNAHEAABBABCA054B      EAA   S19 XP_141T
   3085    YNAHEAABBABCA04Y8     EAA   S19 XP_141T
   3086    YNAHEAABBABCA03Y6     EAA   S19 XP_141T
   3087   YNAHEAABBABCA062A      EAA   S19 XP_141T
   3088   YNAHEAABBABCA065W      EAA   S19 XP_141T
   3089   YNAHEAABBABCA04YD      EAA   S19 XP_141T
   3090    YNAHEAABBABCA04YT     EAA   S19 XP_141T
   3091   YNAHEAABBABCA0654      EAA   S19 XP_141T
   3092    YNAHEAABBABCA062J     EAA   S19 XP_141T
   3093    YNAHEAABBABCA04YY     EAA   S19 XP_141T
   3094    YNAHEAABBABCA03Y4     EAA   S19 XP_141T
   3095    YNAHEAABBABCA04Z0     EAA   S19 XP_141T
   3096    YNAHEAABBABCA062T     EAA   S19 XP_141T
   3097    YNAHEAABBAJAJ00W5     EAA   S19 XP_141T
   3098    YNAHEAABBAJAJ00XG     EAA   S19 XP_141T
   3099    YNAHEAABBABCA04Z3     EAA   S19 XP_141T
   3100    YNAHEAABBAJAJ00Y6     EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA        Doc. #: 1-2      Filed: 07/08/24   Page: 63 of 69 PageID #:
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   3101    YNAHEAABBAJAJ00SE    EAA   S19 XP_141T
   3102    YNAHEAABBAJAJ00S9    EAA   S19 XP_141T
   3103   YNAHEAABBABCA06R8     EAA   S19 XP_141T
   3104   YNAHEAABBABCA03Y5     EAA   S19 XP_141T
   3105   YNAHEAABBABCA06RA     EAA   S19 XP_141T
   3106   YNAHEAABBABCA06RM     EAA   S19 XP_141T
   3107   YNAHEAABBABCA06RS     EAA   S19 XP_141T
   3108   YNAHEAABBABCA06RP     EAA   S19 XP_141T
   3109   YNAHEAABBABCA04YC     EAA   S19 XP_141T
   3110   YNAHEAABBABCA06PA     EAA   S19 XP_141T
   3111   YNAHEAABBABCA06R9     EAA   S19 XP_141T
   3112   YNAHEAABBABCA06P8     EAA   S19 XP_141T
   3113   YNAHEAABBABCA04YS     EAA   S19 XP_141T
   3114   YNAHEAABBABCA04YF     EAA   S19 XP_141T
   3115   YNAHEAABBABCA06P7     EAA   S19 XP_141T
   3116   YNAHEAABBABCA04XY     EAA   S19 XP_141T
   3117   YNAHEAABBABCA04XH     EAA   S19 XP_141T
   3118   YNAHEAABBABCA06R7     EAA   S19 XP_141T
   3119   YNAHEAABBABCA04YB     EAA   S19 XP_141T
   3120   YNAHEAABBABCA04Y7     EAA   S19 XP_141T
   3121    YNAHEAABBAJCA042S    EAA   S19 XP_141T
   3122    YNAHEAABBAJCA0453    EAA   S19 XP_141T
   3123    YNAHEAABBAJCA0442    EAA   S19 XP_141T
   3124   YNAHEAABBAJAJ0DMN     EAA   S19 XP_141T
   3125   YNAHEAABBAJBH03AW     EAA   S19 XP_141T
   3126    YNAHEAABBAJAJ0DMJ    EAA   S19 XP_141T
   3127    YNAHEAABBAJCA056V    EAA   S19 XP_141T
   3128    YNAHEAABBAJCA0451    EAA   S19 XP_141T
   3129   YNAHEAABBAJBH032M     EAA   S19 XP_141T
   3130    YNAHEAABBAJCA0443    EAA   S19 XP_141T
   3131    YNAHEAABBAJBH032K    EAA   S19 XP_141T
   3132   YNAHEAABBAABA0B3A     EAA   S19 XP_141T
   3133    YNAHEAABBAJCA060K    EAA   S19 XP_141T
   3134    YNAHEAABBAJCA060F    EAA   S19 XP_141T
   3135   YNAHEAABBAJBH07D7     EAA   S19 XP_141T
   3136    YNAHEAABBAJCA047B    EAA   S19 XP_141T
   3137    YNAHEAABBAJCA042J    EAA   S19 XP_141T
   3138    YNAHEAABBAJCA0430    EAA   S19 XP_141T
   3139    YNAHEAABBAJCA01GJ    EAA   S19 XP_141T
   3140    YNAHEAABBAJCA042P    EAA   S19 XP_141T
   3141   YNAHEAABBAJBH075G     EAA   S19 XP_141T
   3142    YNAHEAABBAJCA0456    EAA   S19 XP_141T
   3143    YNAHEAABBAJCA042L    EAA   S19 XP_141T
   3144    YNAHEAABBAJCA0441    EAA   S19 XP_141T
   3145   YNAHEAABBAABA0KN9     EAA   S19 XP_141T
   3146   YNAHEAABBAABA0KPT     EAA   S19 XP_141T
   3147   YNAHEAABBAABA0KPA     EAA   S19 XP_141T
   3148   YNAHEAABBAABA0KHH     EAA   S19 XP_141T
   3149    YNAHEAABBAJAJ00XD    EAA   S19 XP_141T
   3150    YNAHEAABBAJAJ02PN    EAA   S19 XP_141T



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Case: 4:24-cv-00927-HEA         Doc. #: 1-2      Filed: 07/08/24   Page: 64 of 69 PageID #:
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   3151   YNAHEAABBAABA0KS3      EAA   S19 XP_141T
   3152   YNAHEAABBAABA0KKC      EAA   S19 XP_141T
   3153    YNAHEAABBAJAJ04P4     EAA   S19 XP_141T
   3154    YNAHEAABBAJAJ04RN     EAA   S19 XP_141T
   3155    YNAHEAABBAJAJ04RK     EAA   S19 XP_141T
   3156    YNAHEAABBAJAJ04NB     EAA   S19 XP_141T
   3157   YNAHEAABBABCA0284      EAA   S19 XP_141T
   3158     HKYQEAABCJAJC069Y    EAA   S19 XP_141T
   3159   YNAHEAABBABCA056D      EAA   S19 XP_141T
   3160   YNAHEAABBAABA0YFP      EAA   S19 XP_141T
   3161   YNAHEAABBAABA0KRG      EAA   S19 XP_141T
   3162    YNAHEAABBAJAJ03MJ     EAA   S19 XP_141T
   3163     YNAHEAABBAJAJ02LE    EAA   S19 XP_141T
   3164    YNAHEAABBAJAJ00TD     EAA   S19 XP_141T
   3165     YNAHEAABBJGJF052E    EAA   S19 XP_141T
   3166   YNAHEAABBABCA05WA      EAA   S19 XP_141T
   3167   YNAHEAABBABCA01WP      EAA   S19 XP_141T
   3168   YNAHEAABBAABA0KRB      EAA   S19 XP_141T
   3169    YNAHEAABBAABA0J5P     EAA   S19 XP_141T
   3170   YNAHEAABBAABA0KRE      EAA   S19 XP_141T
   3171   YNAHEAABBAABA0KPB      EAA   S19 XP_141T
   3172   YNAHEAABBAABA0KRK      EAA   S19 XP_141T
   3173   YNAHEAABBAABA0CC7      EAA   S19 XP_141T
   3174   YNAHEAABBAABA0KP8      EAA   S19 XP_141T
   3175   YNAHEAABBAABA0KHT      EAA   S19 XP_141T
   3176   YNAHEAABBAABA0GL2      EAA   S19 XP_141T
   3177    YNAHEAABBAJAJ03CX     EAA   S19 XP_141T
   3178    YNAHEAABBAJAJ04KW     EAA   S19 XP_141T
   3179    YNAHEAABBAJAJ04PK     EAA   S19 XP_141T
   3180    YNAHEAABBABCA05YS     EAA   S19 XP_141T
   3181    YNAHEAABBABCA06S3     EAA   S19 XP_141T
   3182    YNAHEAABBAJAJ03EF     EAA   S19 XP_141T
   3183     YNAHEAABBAJAJ04JX    EAA   S19 XP_141T
   3184    YNAHEAABBAJAJ04JW     EAA   S19 XP_141T
   3185   YNAHEAABBABCA05YV      EAA   S19 XP_141T
   3186   YNAHEAABBABCA0622      EAA   S19 XP_141T
   3187   YNAHEAABBABCA063D      EAA   S19 XP_141T
   3188   YNAHEAABBABCA061Y      EAA   S19 XP_141T
   3189   YNAHEAABBABCA05YN      EAA   S19 XP_141T
   3190   YNAHEAABBABCA061W      EAA   S19 XP_141T
   3191   YNAHEAABBABCA0623      EAA   S19 XP_141T
   3192   YNAHEAABBABCA05YP      EAA   S19 XP_141T
   3193   YNAHEAABBABCA0626      EAA   S19 XP_141T
   3194    YNAHEAABBABCA05YT     EAA   S19 XP_141T
   3195   YNAHEAABBABCA061X      EAA   S19 XP_141T
   3196   YNAHEAABBABCA063T      EAA   S19 XP_141T
   3197   YNAHEAABBABCA05YM      EAA   S19 XP_141T
   3198   YNAHEAABBABCA0620      EAA   S19 XP_141T
   3199   YNAHEAABBABCA05YR      EAA   S19 XP_141T
   3200    HKYQEAABCJAJC00AW     EAA   S19 XP_141T



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   3201   YNAHEAABBABCA0571     EAA   S19 XP_141T
   3202   YNAHEAABBABCA057F     EAA   S19 XP_141T
   3203   YNAHEAABBABCA056E     EAA   S19 XP_141T
   3204   YNAHEAABBABCA057D     EAA   S19 XP_141T
   3205   YNAHEAABBAABA0KKG     EAA   S19 XP_141T
   3206   YNAHEAABBABCA054T     EAA   S19 XP_141T
   3207   YNAHEAABBABCA056V     EAA   S19 XP_141T
   3208   YNAHEAABBABCA068R     EAA   S19 XP_141T
   3209   YNAHEAABBABCA063K     EAA   S19 XP_141T
   3210   YNAHEAABBABCA064C     EAA   S19 XP_141T
   3211    YNAHEAABBAJAJ0DCJ    EAA   S19 XP_141T
   3212    YNAHEAABBAJAJ0BDN    EAA   S19 XP_141T
   3213   YNAHEAABBABCA069Y     EAA   S19 XP_141T
   3214    YNAHEAABBAJAJ00RA    EAA   S19 XP_141T
   3215   YNAHEAABBABCA063F     EAA   S19 XP_141T
   3216    YNAHEAABBAJAJ08VV    EAA   S19 XP_141T
   3217    YNAHEAABBAJAJ02T1    EAA   S19 XP_141T
   3218    YNAHEAABBAJAJ00XH    EAA   S19 XP_141T
   3219   YNAHEAABBABCA064B     EAA   S19 XP_141T
   3220   YNAHEAABBABCA061Z     EAA   S19 XP_141T
   3221   YNAHEAABBABCA069Z     EAA   S19 XP_141T
   3222   YNAHEAABBABCA068X     EAA   S19 XP_141T
   3223   YNAHEAABBABCA069T     EAA   S19 XP_141T
   3224   YNAHEAABBABCA068S     EAA   S19 XP_141T
   3225   YNAHEAABBABCA064N     EAA   S19 XP_141T
   3226    YNAHEAABBABCA063J    EAA   S19 XP_141T
   3227   YNAHEAABBABCA064P     EAA   S19 XP_141T
   3228   YNAHEAABBABCA069W     EAA   S19 XP_141T
   3229   YNAHEAABBAJBH02AC     EAA   S19 XP_141T
   3230   YNAHEAABBABCA068W     EAA   S19 XP_141T
   3231   YNAHEAABBABCA068N     EAA   S19 XP_141T
   3232    YNAHEAABBAJAJ04NK    EAA   S19 XP_141T
   3233    YNAHEAABBAJAJ04P8    EAA   S19 XP_141T
   3234    YNAHEAABBAJAJ04PS    EAA   S19 XP_141T
   3235    YNAHEAABBAJAJ04HS    EAA   S19 XP_141T
   3236    YNAHEAABBAJAJ04LC    EAA   S19 XP_141T
   3237    YNAHEAABBAJAJ04LG    EAA   S19 XP_141T
   3238   YNAHEAABBABCA052N     EAA   S19 XP_141T
   3239   YNAHEAABBABCA059F     EAA   S19 XP_141T
   3240   YNAHEAABBABCA050X     EAA   S19 XP_141T
   3241   YNAHEAABBABCA052S     EAA   S19 XP_141T
   3242   YNAHEAABBABCA0505     EAA   S19 XP_141T
   3243    YNAHEAABBAJAJ00VT    EAA   S19 XP_141T
   3244   YNAHEAABBABCA052T     EAA   S19 XP_141T
   3245   YNAHEAABBABCA050W     EAA   S19 XP_141T
   3246    YNAHEAABBABCA05JT    EAA   S19 XP_141T
   3247   YNAHEAABBABCA052K     EAA   S19 XP_141T
   3248   YNAHEAABBAABA0KSR     EAA   S19 XP_141T
   3249   YNAHEAABBABCA03X9     EAA   S19 XP_141T
   3250   YNAHEAABBABCA06N5     EAA   S19 XP_141T



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   3251   YNAHEAABBABCA06LA      EAA   S19 XP_141T
   3252    YNAHEAABBAJAJ04R6     EAA   S19 XP_141T
   3253    YNAHEAABBAJAJ04HY     EAA   S19 XP_141T
   3254    YNAHEAABBAJAJ04M9     EAA   S19 XP_141T
   3255    YNAHEAABBAJAJ04S2     EAA   S19 XP_141T
   3256    YNAHEAABBABCA05JR     EAA   S19 XP_141T
   3257   YNAHEAABBABCA051P      EAA   S19 XP_141T
   3258   YNAHEAABBABCA0511      EAA   S19 XP_141T
   3259   YNAHEAABBABCA057G      EAA   S19 XP_141T
   3260   YNAHEAABBABCA051C      EAA   S19 XP_141T
   3261   YNAHEAABBABCA052R      EAA   S19 XP_141T
   3262   YNAHEAABBABCA052Y      EAA   S19 XP_141T
   3263   YNAHEAABBABCA0504      EAA   S19 XP_141T
   3264    YNAHEAABBAJAJ04GB     EAA   S19 XP_141T
   3265   YNAHEAABBAJAJ04MA      EAA   S19 XP_141T
   3266    YNAHEAABBAJAJ04GT     EAA   S19 XP_141T
   3267     YNAHEAABBAJAJ04J1    EAA   S19 XP_141T
   3268    YNAHEAABBAJAJ04RB     EAA   S19 XP_141T
   3269    YNAHEAABBAJAJ04GG     EAA   S19 XP_141T
   3270   YNAHEAABBABCA06HS      EAA   S19 XP_141T
   3271    YNAHEAABBABCA06J0     EAA   S19 XP_141T
   3272    YNAHEAABBABCA06S8     EAA   S19 XP_141T
   3273   YNAHEAABBABCA06RW      EAA   S19 XP_141T
   3274   YNAHEAABBABCA06CN      EAA   S19 XP_141T
   3275   YNAHEAABBABCA05MJ      EAA   S19 XP_141T
   3276    HKYQEAABCJAJC05WB     EAA   S19 XP_141T
   3277   YNAHEAABBABCA063C      EAA   S19 XP_141T
   3278   YNAHEAABBABCA06HN      EAA   S19 XP_141T
   3279   YNAHEAABBABCA06SA      EAA   S19 XP_141T
   3280    YNAHEAABBABCA06S0     EAA   S19 XP_141T
   3281   YNAHEAABBABCA06HM      EAA   S19 XP_141T
   3282   YNAHEAABBABCA0621      EAA   S19 XP_141T
   3283    YNAHEAABBAJAJ06KB     EAA   S19 XP_141T
   3284    YNAHEAABBABCA06S1     EAA   S19 XP_141T
   3285   YNAHEAABBABCA06HT      EAA   S19 XP_141T
   3286    YNAHEAABBAJAJ04E3     EAA   S19 XP_141T
   3287    YNAHEAABBAJAJ0459     EAA   S19 XP_141T
   3288    YNAHEAABBAJAJ0490     EAA   S19 XP_141T
   3289    YNAHEAABBAJAJ03BL     EAA   S19 XP_141T
   3290    YNAHEAABBAJAJ047A     EAA   S19 XP_141T
   3291    YNAHEAABBAABA0KLT     EAA   S19 XP_141T
   3292    YNAHEAABBAJAJ04H8     EAA   S19 XP_141T
   3293    YNAHEAABBAJAJ04S6     EAA   S19 XP_141T
   3294   YNAHEAABBABCA05BN      EAA   S19 XP_141T
   3295    YNAHEAABBABCA040L     EAA   S19 XP_141T
   3296    YNAHEAABBABCA057L     EAA   S19 XP_141T
   3297   YNAHEAABBABCA05BG      EAA   S19 XP_141T
   3298   YNAHEAABBABCA05C1      EAA   S19 XP_141T
   3299   YNAHEAABBAABA0KT5      EAA   S19 XP_141T
   3300   YNAHEAABBAABA0KR5      EAA   S19 XP_141T



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   3301    YNAHEAABBAABA0KLV     EAA   S19 XP_141T
   3302    YNAHEAABBAABA0KT8     EAA   S19 XP_141T
   3303    YNAHEAABBAABA0KSZ     EAA   S19 XP_141T
   3304   YNAHEAABBAABA0KK9      EAA   S19 XP_141T
   3305   YNAHEAABBAABA0KNP      EAA   S19 XP_141T
   3306    HKYQEAABBAAJG0EX4     EAA   S19 XP_141T
   3307    YNAHEAABBAABA0KLS     EAA   S19 XP_141T
   3308    YNAHEAABBABCA054F     EAA   S19 XP_141T
   3309    YNAHEAABBAABA0KS7     EAA   S19 XP_141T
   3310   YNAHEAABBAABA0KPX      EAA   S19 XP_141T
   3311   YNAHEAABBAABA0KHP      EAA   S19 XP_141T
   3312    YNAHEAABBAABA0KSS     EAA   S19 XP_141T
   3313   YNAHEAABBAABA0KMN      EAA   S19 XP_141T
   3314    YNAHEAABBAJAJ04NL     EAA   S19 XP_141T
   3315    YNAHEAABBAJAJ04N7     EAA   S19 XP_141T
   3316    YNAHEAABBAJAJ04PN     EAA   S19 XP_141T
   3317    YNAHEAABBAJAJ04PW     EAA   S19 XP_141T
   3318     YNAHEAABBAJAJ04RL    EAA   S19 XP_141T
   3319    YNAHEAABBAJAJ04NM     EAA   S19 XP_141T
   3320   YNAHEAABBABCA056H      EAA   S19 XP_141T
   3321   YNAHEAABBABCA056M      EAA   S19 XP_141T
   3322    YNAHEAABBABCA056P     EAA   S19 XP_141T
   3323    YNAHEAABBABCA04JB     EAA   S19 XP_141T
   3324   YNAHEAABBABCA056N      EAA   S19 XP_141T
   3325    YNAHEAABBABCA0522     EAA   S19 XP_141T
   3326    YNAHEAABBABCA056R     EAA   S19 XP_141T
   3327    YNAHEAABBABCA057E     EAA   S19 XP_141T
   3328    YNAHEAABBABCA056X     EAA   S19 XP_141T
   3329    YNAHEAABBABCA0574     EAA   S19 XP_141T
   3330    YNAHEAABBABCA051Z     EAA   S19 XP_141T
   3331    YNAHEAABBABCA056T     EAA   S19 XP_141T
   3332   YNAHEAABBABCA057M      EAA   S19 XP_141T
   3333   YNAHEAABBABCA057N      EAA   S19 XP_141T
   3334    YNAHEAABBABCA056Y     EAA   S19 XP_141T
   3335    YNAHEAABBABCA053R     EAA   S19 XP_141T
   3336    YNAHEAABBABCA054L     EAA   S19 XP_141T
   3337   YNAHEAABBABCA05MN      EAA   S19 XP_141T
   3338    YNAHEAABBABCA06SR     EAA   S19 XP_141T
   3339   YNAHEAABBABCA06G4      EAA   S19 XP_141T
   3340    YNAHEAABBAJCA0021     EAA   S19 XP_141T
   3341    YNAHEAABBAJBH02AD     EAA   S19 XP_141T
   3342   YNAHEAABBABCA06G9      EAA   S19 XP_141T
   3343   YNAHEAABBABCA06G7      EAA   S19 XP_141T
   3344   YNAHEAABBABCA06G3      EAA   S19 XP_141T
   3345   YNAHEAABBABCA06G8      EAA   S19 XP_141T
   3346    YNAHEAABBAJAJ0DZW     EAA   S19 XP_141T
   3347    YNAHEAABBAJCA001D     EAA   S19 XP_141T
   3348    YNAHEAABBAJAJ045X     EAA   S19 XP_141T
   3349    YNAHEAABBAJAJ04B1     EAA   S19 XP_141T
   3350    YNAHEAABBAJAJ049C     EAA   S19 XP_141T



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   3351     YNAHEAABBAJAJ044Z    EAA   S19 XP_141T
   3352     YNAHEAABBAJAJ046R    EAA   S19 XP_141T
   3353     YNAHEAABBAJAJ04C9    EAA   S19 XP_141T
   3354    YNAHEAABBABCA0CTG     EAA   S19 XP_141T
   3355    YNAHEAABBAABA0KST     EAA   S19 XP_141T
   3356    YNAHEAABBAABA0KSG     EAA   S19 XP_141T
   3357    YNAHEAABBAABA0KNS     EAA   S19 XP_141T
   3358    YNAHEAABBAABA0KT2     EAA   S19 XP_141T
   3359    YNAHEAABBAABA0KRN     EAA   S19 XP_141T
   3360    YNAHEAABBAABA0KNY     EAA   S19 XP_141T
   3361    YNAHEAABBAABA0KP9     EAA   S19 XP_141T
   3362   YNAHEAABBABCA04WM      EAA   S19 XP_141T
   3363    YNAHEAABBABCA06G6     EAA   S19 XP_141T
   3364    YNAHEAABBAABA0KT3     EAA   S19 XP_141T
   3365    YNAHEAABBAABA0KNB     EAA   S19 XP_141T
   3366    YNAHEAABBABCA06G2     EAA   S19 XP_141T
   3367     YNAHEAABBAJAJ03CH    EAA   S19 XP_141T
   3368   YNAHEAABBAABA0KNW      EAA   S19 XP_141T
   3369    YNAHEAABBAABA0KT9     EAA   S19 XP_141T
   3370    YNAHEAABBAJAJ04MH     EAA   S19 XP_141T
   3371    YNAHEAABBABCA06NR     EAA   S19 XP_141T
   3372     YNAHEAABBAJAJ04GF    EAA   S19 XP_141T
   3373     YNAHEAABBAJAJ04HZ    EAA   S19 XP_141T
   3374    YNAHEAABBAABA0KRJ     EAA   S19 XP_141T
   3375   YNAHEAABBAABA0KNN      EAA   S19 XP_141T
   3376   YNAHEAABBAABA0KNH      EAA   S19 XP_141T
   3377    YNAHEAABBAABA0KKE     EAA   S19 XP_141T
   3378    YNAHEAABBAJAJ04MG     EAA   S19 XP_141T
   3379   YNAHEAABBABCA05MT      EAA   S19 XP_141T
   3380    YNAHEAABBABCA06FD     EAA   S19 XP_141T
   3381    YNAHEAABBABCA06S7     EAA   S19 XP_141T
   3382    YNAHEAABBABCA06F6     EAA   S19 XP_141T
   3383     YNAHEAABBAJAJ04H6    EAA   S19 XP_141T
   3384     YNAHEAABBAJAJ04GC    EAA   S19 XP_141T
   3385    YNAHEAABBABCA06FC     EAA   S19 XP_141T
   3386    YNAHEABBBABCA0P2G     EAB   S19 XP_134T
   3387    YNAHEABBBABCA11KJ     EAB   S19 XP_134T
   3388     YNAHEAABBAJAJ03Z4    EAA   S19 XP_141T
   3389    YNAHEABBBABCA14VB     EAB   S19 XP_134T
   3390    NGSBEAABCJDAA071S     EAA   S19 XP_141T
   3391     YNAHEABBCJABD0PYT    EAB   S19 XP_134T
   3392    YNAHEABBBABCA0PT6     EAB   S19 XP_134T
   3393    YNAHEAABCJABD13DR     EAA   S19 XP_141T
   3394     HKYQEAABCJAJC04C9    EAA   S19 XP_141T
   3395   YNAHEAABBABCA0NJT      EAA   S19 XP_141T
   3396    YNAHEAABBJGJF041T     EAA   S19 XP_141T
   3397   NGSBEAABCJDAA07BC      EAA   S19 XP_141T
   3398   HKYQEAABBAABE06V2      EAA   S19 XP_141T
   3399   YNAHEAABBAABA0J3Y      EAA   S19 XP_141T
   3400   YNAHEAABBAABA0CCD      EAA   S19 XP_141T



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   3401   YNAHEAABBABCA0CBV     EAA   S19 XP_141T
   3402    NGSBEAABCJDAA0726    EAA   S19 XP_141T
   3403    YNAHEAABBAABA0ZX5    EAA   S19 XP_141T
   3404   YNAHEAABBABCA0SMT     EAA   S19 XP_141T
   3405   YNAHEAABBABCA040H     EAA   S19 XP_141T
   3406    HKYQEABBCJCAH06JB    EAB   S19 XP_134T
   3407   YNAHEAABBABCA06NW     EAA   S19 XP_141T




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